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                                                                           Twenty-Ninth Omnibus Objection
                                                                           Exhibit A - Exact Duplicate Claims
                                     CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
           NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
1 LUGO SANTOS, EMILIO           05/18/18   Employees Retirement           16809              Undetermined* LUGO SANTOS, EMILIO    05/18/18   Employees Retirement           20205        Undetermined*
  URB. VILLA DEL RIO                       System of the Government of                                     G-3 CALLE COAYUCO                 System of the Government of
  CALLE COAYUCO G 3                        the Commonwealth of Puerto                                      GUAYANILLA, PR 00656              the Commonwealth of Puerto
  GUAYANILLA, PR 00656                     Rico                                                                                              Rico
                                           17 BK 03566-LTS                                                                                   17 BK 03566-LTS
  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
2 LUQUIS GUADALUPE,             06/08/18   Employees Retirement           34632                 $ 83,034.23 LUQUIS GUADALUPE,     06/08/18   Employees Retirement           34794           $ 83,034.23
  NANCY                                    System of the Government of                                      NANCY                            System of the Government of
  PO BOX 7008                              the Commonwealth of Puerto                                       PO BOX 7008                      the Commonwealth of Puerto
  CAGUAS, PR 00726                         Rico                                                             CAGUAS, PR 00726                 Rico
                                           17 BK 03566-LTS                                                                                   17 BK 03566-LTS
  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
3 MALAVE CRESPO,                06/29/18   Employees Retirement           138276             Undetermined* MALAVE CRESPO,         06/29/18   Employees Retirement           138525       Undetermined*
  ROBERTO                                  System of the Government of                                     ROBERTO                           System of the Government of
  URB EXT ELISABETH                        the Commonwealth of Puerto                                      URB. EXT. ELIZABETH               the Commonwealth of Puerto
  5117 CALLE CANTARES                      Rico                                                            5117                              Rico
  CABO ROJO, PR 00623                      17 BK 03566-LTS                                                 CALLE CANTARES                    17 BK 03566-LTS
                                                                                                           CABO ROJO, PR 00623

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
4 MALDONADO CRUZ,               06/29/18   Employees Retirement           76757                 $ 67,355.24 MALDONADO CRUZ,       07/05/18   Employees Retirement           113482          $ 67,355.24
  NICOLAS                                  System of the Government of                                      NICOLAS                          System of the Government of
  URB. HILL VIEW                           the Commonwealth of Puerto                                       URB. HILL VIEW                   the Commonwealth of Puerto
  CALLE LAKE NUM. 328                      Rico                                                             CALLE LAKE NUM. 328              Rico
  YAUCO, PR 00698                          17 BK 03566-LTS                                                  YAUCO, PR 00698                  17 BK 03566-LTS

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
5 MALDONADO CRUZ,               06/29/18   Employees Retirement           81306                 $ 67,355.24 MALDONADO CRUZ,       07/05/18   Employees Retirement           113482          $ 67,355.24
  NICOLAS                                  System of the Government of                                      NICOLAS                          System of the Government of
  URB. HILL VIEW                           the Commonwealth of Puerto                                       URB. HILL VIEW                   the Commonwealth of Puerto
  CALLE LAKE NUM. 328                      Rico                                                             CALLE LAKE NUM. 328              Rico
  YAUCO, PR 00698                          17 BK 03566-LTS                                                  YAUCO, PR 00698                  17 BK 03566-LTS

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




            * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 1 of 97
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                                                                            Twenty-Ninth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
6 MALDONADO DE JESUS,            06/28/18   Employees Retirement           76656                $ 38,739.00* MALDONADO DE JESUS,   06/29/18   Employees Retirement           164679         $ 38,739.00*
  AIMET                                     System of the Government of                                      AIMET                            System of the Government of
  URB CONSTANCIA 2213                       the Commonwealth of Puerto                                       2213 CALLE IGUALDAD              the Commonwealth of Puerto
  CALLE IGUALDAD                            Rico                                                             URB. CONSTANIA                   Rico
  PONCE, PR 00717                           17 BK 03566-LTS                                                  PONCE, PR 00717                  17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
7 MALDONADO                      06/29/18   Employees Retirement           80747              Undetermined* MALDONADO              06/29/18   Employees Retirement           88424        Undetermined*
  HERNANDEZ, JOSE R                         System of the Government of                                     HERNANDEZ, JOSE R                 System of the Government of
  PMB 34 PO BOX 819                         the Commonwealth of Puerto                                      PMB 34 PO BOX 819                 the Commonwealth of Puerto
  LARES, PR 00669                           Rico                                                            LARES, PR 00669                   Rico
                                            17 BK 03566-LTS                                                                                   17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
8 MALDONADO MERCED,              06/13/18   Employees Retirement           45180                 $ 79,000.00 MALDONADO MERCED,     06/15/18   Employees Retirement           127998          $ 79,000.00
  CARMEN YOLANDA                            System of the Government of                                      CARMEN YOLANDA                   System of the Government of
  URB. COLINAS DE                           the Commonwealth of Puerto                                       URB COLINAS DE                   the Commonwealth of Puerto
  BAYOAN                                    Rico                                                             BAYOAN                           Rico
  401 CALLE GUARIONEX                       17 BK 03566-LTS                                                  401 CALLE GUARIONEX              17 BK 03566-LTS
  BAYAMON, PR 00956                                                                                          BAYAMON, PR 00956

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
9 MALDONADO                      06/05/18   Employees Retirement           49712                 $ 27,218.77 MALDONADO             06/05/18   Employees Retirement           167596          $ 27,218.77
  VAZQUEZ, ZENAIDA                          System of the Government of                                      VAZQUEZ, ZENAIDA                 System of the Government of
  PO BOX 1791                               the Commonwealth of Puerto                                       PO BOX 1791                      the Commonwealth of Puerto
  GUAYNABO, PR 00970-                       Rico                                                             GUAYNABO, PR 00970-              Rico
  1791                                      17 BK 03566-LTS                                                  1791                             17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
10 MANSO ESCOBAR,                05/25/18   Employees Retirement           163660                $ 38,255.40 MANSO ESCOBAR,        06/06/18   Employees Retirement           47494           $ 38,255.40
   YANIS                                    System of the Government of                                      YANIS                            System of the Government of
   SUITE 178-1980                           the Commonwealth of Puerto                                       SUITE 178-1980                   the Commonwealth of Puerto
   LOIZA, PR 00772                          Rico                                                             LOIZA, PR 00772                  Rico
                                            17 BK 03566-LTS                                                                                   17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 2 of 97
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                                                                            Twenty-Ninth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
11 MARCANO MORALES,              05/29/18   Employees Retirement           26187                $ 44,781.62* MARCANO MORALES,       06/22/18   Employees Retirement           77369         $ 44,781.62*
   LUIS A                                   System of the Government of                                      LUIS A                            System of the Government of
   HC-04 BOX 5330                           the Commonwealth of Puerto                                       HC-04 BOX 5330                    the Commonwealth of Puerto
   GUAYNABO, PR 00971                       Rico                                                             GUAYNABO, PR 00971                Rico
                                            17 BK 03566-LTS                                                                                    17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
12 MARCANO, LILIAN               06/28/18   Employees Retirement           72038                $ 40,216.95* MARCANO, LILIAN        06/28/18   Employees Retirement           72178          $ 40,216.95
   URB VILLA ESPANA                         System of the Government of                                      URB VILLA ESPANA                  System of the Government of
   D8 CALLE DE LA VERA                      the Commonwealth of Puerto                                       D8 CALLE DE LA VERA               the Commonwealth of Puerto
   BAYAMON, PR 00961                        Rico                                                             BAYAMON, PR 00961                 Rico
                                            17 BK 03566-LTS                                                                                    17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
13 MARIA DEL R. LEBRON           06/29/18   Employees Retirement           68846                 $ 75,156.31 MARIA DEL R. LEBRON    06/29/18   Employees Retirement           68887          $ 75,156.31
   RUIZ                                     System of the Government of                                      RUIZ                              System of the Government of
   URB.SAN AGUSTIN 404                      the Commonwealth of Puerto                                       URB SAN AGUSTIN 404               the Commonwealth of Puerto
   CALLE SOLSADO                            Rico                                                             CALLE SOLDADO                     Rico
   LIBRAN                                   17 BK 03566-LTS                                                  LIBRAN                            17 BK 03566-LTS
   SAN JUAN, PR 00923                                                                                        SAN JUAN, PR 00923

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
14 MARIN RODRIGUEZ,              06/19/18   Employees Retirement           50606                 $ 38,658.93 MARIN RODRIGUEZ,       06/26/18   Employees Retirement           97907          $ 38,658.93
   MARIA L                                  System of the Government of                                      MARIA L                           System of the Government of
   URB. VILLA DEL                           the Commonwealth of Puerto                                       URB. VILLA DEL                    the Commonwealth of Puerto
   CARMEN                                   Rico                                                             CARMEN                            Rico
   AVE CONTANCIA 4288                       17 BK 03566-LTS                                                  AVE CONTANCIA 4288                17 BK 03566-LTS
   PONCE, PR 00716-2411                                                                                      PONCE, PR 00716-2411

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
15 MARIN TORRES,                 07/06/18   Employees Retirement           104160               $ 52,791.50* MARIN TORRES,          07/06/18   Employees Retirement           164016        $ 52,791.50*
   VIRGINIA                                 System of the Government of                                      VIRGINIA                          System of the Government of
   PO BOX 614                               the Commonwealth of Puerto                                       PO BOX 614                        the Commonwealth of Puerto
   ADJUNTAS, PR 00601                       Rico                                                             ADJUNTAS, PR 00601                Rico
                                            17 BK 03566-LTS                                                                                    17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 3 of 97
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                                                                            Twenty-Ninth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
16 MARIN TORRES,                 07/06/18   Employees Retirement           153790               $ 52,791.50* MARIN TORRES,         07/06/18   Employees Retirement           164016         $ 52,791.50*
   VIRGINIA                                 System of the Government of                                      VIRGINIA                         System of the Government of
   PO BOX 614                               the Commonwealth of Puerto                                       PO BOX 614                       the Commonwealth of Puerto
   ADJUNTAS, PR 00601                       Rico                                                             ADJUNTAS, PR 00601               Rico
                                            17 BK 03566-LTS                                                                                   17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
17 MARQUEZ ESPINET,              06/01/18   Employees Retirement           45871                 $ 42,721.88 MARQUEZ ESPINET,      06/07/18   Employees Retirement           79191           $ 42,721.88
   MIGUEL                                   System of the Government of                                      MIGUEL                           System of the Government of
   CONDOMINIO                               the Commonwealth of Puerto                                       3 ESTANCIAS DEL SUR              the Commonwealth of Puerto
   PONCIANA 9140                            Rico                                                             APTO 218                         Rico
   CALLE MARINA APTO.                       17 BK 03566-LTS                                                  PONCE, PR 00728                  17 BK 03566-LTS
   605
   PONCE, PR 00717-2036

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
18 MARQUEZ RODRIGUEZ,            04/18/18   Employees Retirement            7747              Undetermined* MARQUEZ RODRIGUEZ,     04/19/18   Employees Retirement           7795         Undetermined*
   MAGDALIS                                 System of the Government of                                     MAGDALIS                          System of the Government of
   URB PARQUE                               the Commonwealth of Puerto                                      URB PARQUE                        the Commonwealth of Puerto
   ENCUESTRE                                Rico                                                            ENCUESTRE                         Rico
   J2 CALLE GALGO JR                        17 BK 03566-LTS                                                 J2 CALLE GALGO JR                 17 BK 03566-LTS
   CAROLINA, PR 00987                                                                                       CAROLINA, PR 00987

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
19 MARRERO MERCADO,              06/29/18   Employees Retirement           74131                   $ 6,287.43 MARRERO MERCADO,     07/06/18   Employees Retirement           139152           $ 6,287.43
   LAUDELINA                                System of the Government of                                       LAUDELINA                       System of the Government of
   URB. MAGNOLIA                            the Commonwealth of Puerto                                        URB. MAGNOLIA                   the Commonwealth of Puerto
   GARDENS                                  Rico                                                              GARDENS                         Rico
   CALLE 17 Q31                             17 BK 03566-LTS                                                   CALLE 17 Q31                    17 BK 03566-LTS
   BAYAMON, PR 00956                                                                                          BAYAMON, PR 00956

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
20 MARRERO MERCADO,              06/29/18   Employees Retirement           75641                   $ 6,287.43 MARRERO MERCADO,     07/06/18   Employees Retirement           139152           $ 6,287.43
   LAUDELINA                                System of the Government of                                       LAUDELINA                       System of the Government of
   CALLE 17 Q31                             the Commonwealth of Puerto                                        URB. MAGNOLIA                   the Commonwealth of Puerto
   URB. MAGNOLIA                            Rico                                                              GARDENS                         Rico
   GARDENS                                  17 BK 03566-LTS                                                   CALLE 17 Q31                    17 BK 03566-LTS
   BAYAMON, PR 00956                                                                                          BAYAMON, PR 00956

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 4 of 97
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                                                                            Twenty-Ninth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
21 MARRERO MERCADO,              07/06/18   Employees Retirement           90045                   $ 6,287.43 MARRERO MERCADO,     07/06/18   Employees Retirement           139152           $ 6,287.43
   LAUDELINA                                System of the Government of                                       LAUDELINA                       System of the Government of
   CALLE 17 Q31                             the Commonwealth of Puerto                                        URB. MAGNOLIA                   the Commonwealth of Puerto
   URB. MAGNOLIA                            Rico                                                              GARDENS                         Rico
   GARDENS                                  17 BK 03566-LTS                                                   CALLE 17 Q31                    17 BK 03566-LTS
   BAYAMON, PR 00956                                                                                          BAYAMON, PR 00956

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
22 MARRERO REYES,                06/05/18   Employees Retirement           29714                 $ 10,645.25 MARRERO REYES,        06/29/18   Employees Retirement           75241           $ 10,645.25
   GIOMAR                                   System of the Government of                                      GIOMAR                           System of the Government of
   URB. SILVYA                              the Commonwealth of Puerto                                       URB SILVYA CALLE 9               the Commonwealth of Puerto
   CALLE 9 A-8                              Rico                                                             A-8                              Rico
   COROZAL, PR 00783                        17 BK 03566-LTS                                                  COROZAL, PR 00783                17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
23 MARRERO REYES,                06/29/18   Employees Retirement           78983                 $ 10,645.25 MARRERO REYES,        06/29/18   Employees Retirement           75241           $ 10,645.25
   GIOMAR                                   System of the Government of                                      GIOMAR                           System of the Government of
   URB. SILVYA                              the Commonwealth of Puerto                                       URB SILVYA CALLE 9               the Commonwealth of Puerto
   CALLE 9 A-8                              Rico                                                             A-8                              Rico
   COROZAL, PR 00783                        17 BK 03566-LTS                                                  COROZAL, PR 00783                17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
24 MARRERO ROSADO,               06/27/18   Employees Retirement           43988              Undetermined* MARRERO ROSADO,        06/27/18   Employees Retirement           59067        Undetermined*
   FELICITA                                 System of the Government of                                     FELICITA                          System of the Government of
   HC 77 BUZON 9561                         the Commonwealth of Puerto                                      HC 77 BUZON 9561                  the Commonwealth of Puerto
   VEGA ALTA, PR 00692                      Rico                                                            VEGA ALTA, PR 00692-              Rico
                                            17 BK 03566-LTS                                                 9612                              17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
25 MARTE BAEZ, PEDRO J           05/07/18   Employees Retirement           11201              Undetermined* MARTE BAEZ, PEDRO J    05/07/18   Employees Retirement           11412        Undetermined*
   URB MADELINE                             System of the Government of                                     L-21 CALLE TOPACIO                System of the Government of
   L 21 CALLE TOPACIO                       the Commonwealth of Puerto                                      TOA BAJA, PR 00953                the Commonwealth of Puerto
   TOA BAJA, PR 00953                       Rico                                                                                              Rico
                                            17 BK 03566-LTS                                                                                   17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 5 of 97
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                                                                            Twenty-Ninth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
26 MARTINEZ AROCHO,              06/29/18   Employees Retirement           77132              Undetermined* MARTINEZ AROCHO,        06/29/18   Employees Retirement           125260       Undetermined*
   WILLIAM                                  System of the Government of                                     WILLIAM                            System of the Government of
   BDA. CABAN CALLE                         the Commonwealth of Puerto                                      BDA. CABAN CALLE                   the Commonwealth of Puerto
   PARQUE # 144                             Rico                                                            PARQUE #144                        Rico
   AGUADILLA, PR 00603                      17 BK 03566-LTS                                                 AGUADILLA, PR 00603                17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
27 MARTINEZ BAEZ,                06/29/18   Employees Retirement           78266              Undetermined* MARTINEZ BAEZ,          06/29/18   Employees Retirement           79766        Undetermined*
   HERIBERTO                                System of the Government of                                     HERIBERTO                          System of the Government of
   PO BOX 98                                the Commonwealth of Puerto                                      PO BOX 98                          the Commonwealth of Puerto
   ARROYO, PR 00714                         Rico                                                            ARROYO, PR 00714                   Rico
                                            17 BK 03566-LTS                                                                                    17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
28 MARTINEZ GONZALEZ,            05/25/18   Employees Retirement           25638                 $ 49,305.79 MARTINEZ GONZALEZ,     05/25/18   Employees Retirement           27405           $ 49,305.79
   ELSA                                     System of the Government of                                      ELSA                              System of the Government of
   128 ALTURAS                              the Commonwealth of Puerto                                       SU-68 CIRCULO MAGICO              the Commonwealth of Puerto
   SABANERAS                                Rico                                                             VALLE HERMOSO                     Rico
   SABANA GRANDE, PR                        17 BK 03566-LTS                                                  HORMIGUEROS, PR                   17 BK 03566-LTS
   00637-1605                                                                                                00660

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
29 MARTINEZ MARTINEZ,            06/27/18   Employees Retirement           39076                $ 104,682.24 MARTINEZ MARTINEZ,     06/27/18   Employees Retirement           53228          $ 104,682.24
   LUZ N.                                   System of the Government of                                      LUZ N.                            System of the Government of
   URB. STA. ELVIRA                         the Commonwealth of Puerto                                       URB STA. ELVIRA                   the Commonwealth of Puerto
   F-12 CALLE STA. ANA                      Rico                                                             F-12 CALLE STA. ANA               Rico
   CAGUAS, PR 00725                         17 BK 03566-LTS                                                  CAGUAS, PR 00725                  17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
30 MARTINEZ MARTINEZ,            06/27/18   Employees Retirement           53030                $ 104,682.24 MARTINEZ MARTINEZ,     06/27/18   Employees Retirement           53228          $ 104,682.24
   LUZ N.                                   System of the Government of                                      LUZ N.                            System of the Government of
   URB. STA. ELVIRA                         the Commonwealth of Puerto                                       URB STA. ELVIRA                   the Commonwealth of Puerto
   F-12 CALLE STA. ANA                      Rico                                                             F-12 CALLE STA. ANA               Rico
   CAGUAS, PR 00725                         17 BK 03566-LTS                                                  CAGUAS, PR 00725                  17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 6 of 97
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                                                                            Twenty-Ninth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
31 MARTINEZ MARTINEZ,            06/27/18   Employees Retirement           53164                $ 104,682.24 MARTINEZ MARTINEZ,    06/27/18   Employees Retirement           53228          $ 104,682.24
   LUZ N.                                   System of the Government of                                      LUZ N.                           System of the Government of
   URB STA. ELVIRA                          the Commonwealth of Puerto                                       URB STA. ELVIRA                  the Commonwealth of Puerto
   F-12 CALLE SANTA ANA                     Rico                                                             F-12 CALLE STA. ANA              Rico
   CAGUAS, PR 00725                         17 BK 03566-LTS                                                  CAGUAS, PR 00725                 17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
32 MARTINEZ MORALES,             05/18/18   Employees Retirement           17913              Undetermined* MARTINEZ MORALES,      05/18/18   Employees Retirement           18073        Undetermined*
   YAHAIRA                                  System of the Government of                                     YAHAIRA                           System of the Government of
   1206 BO JUAN SANCHEZ                     the Commonwealth of Puerto                                      BO. JUAN SANCHEZ                  the Commonwealth of Puerto
   BAYAMON, PR 00956                        Rico                                                            #262 CALLE 6                      Rico
                                            17 BK 03566-LTS                                                 BAYAMON, PR 00956                 17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
33 MARTINEZ PAGAN,               03/21/18   Employees Retirement            4129                $ 68,833.71* MARTINEZ PAGAN,       03/21/18   Employees Retirement           4141            $ 68,833.71
   EDITH R                                  System of the Government of                                      EDITH R                          System of the Government of
   PUERTO NUEVO                             the Commonwealth of Puerto                                       URB PUERTO NUEVO                 the Commonwealth of Puerto
   1161 CALLE 16 NE                         Rico                                                             1161 CALLE 16 NE                 Rico
   SAN JUAN, PR 00920                       17 BK 03566-LTS                                                  SAN JUAN, PR 00920               17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
34 MARTINEZ PEREZ,               06/06/18   Employees Retirement           22046                 $ 50,382.17 MARTINEZ PEREZ,       06/13/18   Employees Retirement           50087           $ 50,382.17
   AMERICO                                  System of the Government of                                      AMERICO                          System of the Government of
   COND LUCERNA                             the Commonwealth of Puerto                                       COND. LUCERNA                    the Commonwealth of Puerto
   EDIF A-5 APT K2                          Rico                                                             EDIF. A-5 APT. K 2               Rico
   CAROLINA, PR 00983                       17 BK 03566-LTS                                                  CAROLINA, PR 00983               17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
35 MARTINEZ RODRIGUEZ,           05/22/18   Employees Retirement           17809               $ 127,742.74* MARTINEZ RODRIGUEZ,   05/23/18   Employees Retirement           28921         $ 127,742.74*
   GERARDO                                  System of the Government of                                      GERARDO                          System of the Government of
   P.O. BOX 1982                            the Commonwealth of Puerto                                       P.O. BOX 1982                    the Commonwealth of Puerto
   ANASCO, PR 00610                         Rico                                                             ANASCO, PR 00610                 Rico
                                            17 BK 03566-LTS                                                                                   17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 7 of 97
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                                                                            Twenty-Ninth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                  NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
36 MARTINEZ RODRIGUEZ,           05/21/18   Employees Retirement           16886              Undetermined* MARTINEZ RODRIGUEZ,       05/21/18   Employees Retirement           17152        Undetermined*
   MARIA M                                  System of the Government of                                     MARIA M                              System of the Government of
   PUNTA DIAMANTE                           the Commonwealth of Puerto                                      2247 CALLE RIAL                      the Commonwealth of Puerto
   2247 CALLE RIAL                          Rico                                                            PUNTA DIAMANTE                       Rico
   PONCE, PR 00628                          17 BK 03566-LTS                                                 PONCE, PR 00628                      17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
37 MARTINEZ RODRIGUEZ,           05/21/18   Employees Retirement           17117              Undetermined* MARTINEZ RODRIGUEZ,       05/21/18   Employees Retirement           17152        Undetermined*
   MARIA M                                  System of the Government of                                     MARIA M                              System of the Government of
   PUNTA DIAMANTE                           the Commonwealth of Puerto                                      2247 CALLE RIAL                      the Commonwealth of Puerto
   2247 CALLE RIAL                          Rico                                                            PUNTA DIAMANTE                       Rico
   PONCE, PR 00628                          17 BK 03566-LTS                                                 PONCE, PR 00628                      17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
38 MARTINEZ RODRIGUEZ,           06/28/18   Employees Retirement           64069                 $ 45,937.22 MARTINEZ RODRIGUEZ,      06/28/18   Employees Retirement           64845           $ 45,937.22
   MARIE                                    System of the Government of                                      MARIE                               System of the Government of
   URB. VILLA MARIA                         the Commonwealth of Puerto                                       URB. VILLA MARIA                    the Commonwealth of Puerto
   A-7 CALLE 1                              Rico                                                             A-7 CALLE 1                         Rico
   TOA ALTA, PR 00953                       17 BK 03566-LTS                                                  TOA ALTA, PR 00953                  17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
39 MARTINEZ RODRIGUEZ,           06/29/18   Employees Retirement           138978             Undetermined* MARTINEZ RODRIGUEZ,       06/29/18   Employees Retirement           143985       Undetermined*
   RAFAEL                                   System of the Government of                                     RAFAEL                               System of the Government of
   HC-3 BOX 9866                            the Commonwealth of Puerto                                      HC-3 BOX 9866                        the Commonwealth of Puerto
   PENUELAS, PR 00624                       Rico                                                            PENUELAS, PR 00624                   Rico
                                            17 BK 03566-LTS                                                                                      17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
40 MARTINEZ SANTANA,             06/04/18   Employees Retirement           22087                   $ 9,732.67 MARTINEZ SANTANA,       06/04/18   Employees Retirement           30723           $ 9,732.67*
   ANA                                      System of the Government of                                       ANA                                System of the Government of
   HC 04 BOX 4421                           the Commonwealth of Puerto                                        HC-04 BOX 4421                     the Commonwealth of Puerto
   LAS PIEDRAS, PR 00771                    Rico                                                              LAS PIEDRAS, PR 00771              Rico
                                            17 BK 03566-LTS                                                                                      17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
41 MARTINEZ-LOPEZ,               07/02/18   Employees Retirement           103912               $ 75,000.00* MARTINEZ-LOPEZ,          07/02/18   Employees Retirement           122143         $ 75,000.00*
   YADIRA                                   System of the Government of                                      YADIRA                              System of the Government of
   6502 COOL CREEK DR.                      the Commonwealth of Puerto                                       6502 COOL CREEK DR.                 the Commonwealth of Puerto
   KILLEEN, TX 76549                        Rico                                                             KILLEEN, TX 76549                   Rico
                                            17 BK 03566-LTS                                                                                      17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 8 of 97
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                                                                            Twenty-Ninth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME              FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
42 MASA LEON,                    07/03/18   Employees Retirement           125861               $ 54,874.64* MASA LEON,              06/26/18   Employees Retirement           52779         $ 54,874.64*
   ELIZABETH                                System of the Government of                                      ELIZABETH                          System of the Government of
   212 VIA SAN LUIS URB                     the Commonwealth of Puerto                                       #212 VIA SAN LUIS                  the Commonwealth of Puerto
   VALLE SAN LUIS                           Rico                                                             URB VALLE SAN LUIS                 Rico
   CAGUAS, PR 00725                         17 BK 03566-LTS                                                  CAGUAS, PR 00725                   17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
43 MATEO CASTRO, JORGE           06/27/18   Employees Retirement           46168                 $ 1,094.55* MATEO CASTRO, JORGE     06/28/18   Employees Retirement           75101          $ 1,094.55*
   LUIS                                     System of the Government of                                      LUIS                               System of the Government of
   ESTANCIAS DEL                            the Commonwealth of Puerto                                       ESTANCIAS DEL                      the Commonwealth of Puerto
   LAUREL                                   Rico                                                             LAUREL                             Rico
   CALLE CACAO #3807                        17 BK 03566-LTS                                                  CALLE CACAO 3807                   17 BK 03566-LTS
   COTO LAUREL, PR 00780                                                                                     COTO LAUREL, PR 00780

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
44 MATEO CASTRO, JORGE           06/28/18   Employees Retirement           71845                 $ 1,094.55* MATEO CASTRO, JORGE     06/28/18   Employees Retirement           75101          $ 1,094.55*
   LUIS                                     System of the Government of                                      LUIS                               System of the Government of
   ESTANCIAS DEL                            the Commonwealth of Puerto                                       ESTANCIAS DEL                      the Commonwealth of Puerto
   LAUREL CALLE CACAO                       Rico                                                             LAUREL                             Rico
   #3807                                    17 BK 03566-LTS                                                  CALLE CACAO 3807                   17 BK 03566-LTS
   COTO LAUREL, PR 00780                                                                                     COTO LAUREL, PR 00780

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
45 MATEO SANTIAGO,               06/26/18   Employees Retirement           52118                 $ 29,000.00 MATEO SANTIAGO,         07/06/18   Employees Retirement           158172         $ 29,000.00
   MARIANELA                                System of the Government of                                      MARIANELA                          System of the Government of
   APARTADO 1683                            the Commonwealth of Puerto                                       APARTADO 1683                      the Commonwealth of Puerto
   COAMO, PR 00769                          Rico                                                             COAMO, PR 00769                    Rico
                                            17 BK 03566-LTS                                                                                     17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
46 MATIAS ROMAN,                 07/02/18   Employees Retirement           125279               $ 22,256.12* MATIAS ROMAN,           07/03/18   Employees Retirement           132279        $ 22,256.12*
   YESENIA                                  System of the Government of                                      YESENIA                            System of the Government of
   SECTOR LA CEIBA 515                      the Commonwealth of Puerto                                       SECOR LA CEIBA 515                 the Commonwealth of Puerto
   CARR. 419                                Rico                                                             CARR 419                           Rico
   AGUADA, PR 00602                         17 BK 03566-LTS                                                  AGUADA, PR 00602                   17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 9 of 97
                                      Case:17-03283-LTS Doc#:6278-1 Filed:04/15/19 Entered:04/15/19 21:12:54                                               Desc:
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                                                                            Twenty-Ninth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
47 MATIAS SANTIAGO,              05/29/18   Employees Retirement           27941                 $ 49,624.09 MATIAS SANTIAGO,        06/14/18   Employees Retirement           64304           $ 49,624.09
   IVONNE                                   System of the Government of                                      IVONNE                             System of the Government of
   P.O. BOX 1257                            the Commonwealth of Puerto                                       P.O. BOX 1257                      the Commonwealth of Puerto
   SAINT JUST, PR 00978                     Rico                                                             SAINT JUST, PR 00978               Rico
                                            17 BK 03566-LTS                                                                                     17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
48 MATIAS SEMIDEY,               06/28/18   Employees Retirement           65784                 $ 64,657.94 MATIAS SEMIDEY,         07/03/18   Employees Retirement           109553          $ 64,657.94
   CARELY                                   System of the Government of                                      CARELY                             System of the Government of
   HC2 14660                                the Commonwealth of Puerto                                       HC2 14660                          the Commonwealth of Puerto
   CAROLINA, PR 00987                       Rico                                                             CAROLINA, PR 00987                 Rico
                                            17 BK 03566-LTS                                                                                     17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
49 MATOS ACOSTA, IRIS            04/27/18   Employees Retirement            9358              Undetermined* MATOS ACOSTA, IRIS       04/27/18   Employees Retirement           9535         Undetermined*
   URB MONTE SOL                            System of the Government of                                     MONTE SOL                           System of the Government of
   F25 CALLE 1                              the Commonwealth of Puerto                                      F25 CALLE 1                         the Commonwealth of Puerto
   TOA ALTA, PR 00953-                      Rico                                                            TOA ALTA, PR 00953-                 Rico
   3522                                     17 BK 03566-LTS                                                 4221                                17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
50 MATOS LABOY, VICTOR           06/26/18   Employees Retirement           43471                $ 75,000.00* MATOS LABOY, VICTOR     07/02/18   Employees Retirement           114318          $ 75,000.00
   V.                                       System of the Government of                                      V.                                 System of the Government of
   HC 3 BOX 79662                           the Commonwealth of Puerto                                       HC 3 BOX 79662                     the Commonwealth of Puerto
   LAS PIEDRAS, PR 00771                    Rico                                                             LAS PIEDRAS, PR 00771              Rico
                                            17 BK 03566-LTS                                                                                     17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
51 MATOS NEGRON,                 06/28/18   Employees Retirement           63032                 $ 51,405.81 MATOS NEGRON,           07/03/18   Employees Retirement           108523          $ 51,405.81
   DAMARIS                                  System of the Government of                                      DAMARIS                            System of the Government of
   URB SAN AGUSTIN                          the Commonwealth of Puerto                                       URB SAN AGUSTIN                    the Commonwealth of Puerto
   CALLE 13 M 56                            Rico                                                             CALLE 13 M 56                      Rico
   BAYAMON, PR 00959                        17 BK 03566-LTS                                                  BAYAMON, PR 00959                  17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
52 MATTA ROSARIO,                06/08/18   Employees Retirement           34667                 $ 49,348.98 MATTA ROSARIO,          06/13/18   Employees Retirement           60335           $ 49,348.98
   EDITH                                    System of the Government of                                      EDITH                              System of the Government of
   BO. SABANA BRANCH                        the Commonwealth of Puerto                                       BO. SABANA BRANCH                  the Commonwealth of Puerto
   PARC. 412 CALLE 6                        Rico                                                             PARC. 412 CALLE 6                  Rico
   VEGA BAJA, PR 00693                      17 BK 03566-LTS                                                  VEGA BAJA, PR 00693                17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 10 of 97
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                                                                            Twenty-Ninth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
53 MEDINA APONTE,                07/03/18   Employees Retirement           131992             Undetermined* MEDINA APONTE,          07/03/18   Employees Retirement           166191       Undetermined*
   BENJAMIN                                 System of the Government of                                     BENJAMIN                           System of the Government of
   268 APARTADO                             the Commonwealth of Puerto                                      268 APARTADO                       the Commonwealth of Puerto
   CAJAS, PR 00667                          Rico                                                            LAJAS, PR 00667                    Rico
                                            17 BK 03566-LTS                                                                                    17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
54 MEDINA GUZMAN,                06/07/18   Employees Retirement           38586                 $ 64,984.84 MEDINA GUZMAN,         06/07/18   Employees Retirement           162376          $ 64,984.84
   MARIBEL                                  System of the Government of                                      MARIBEL                           System of the Government of
   F14 ROBLE BLANCO                         the Commonwealth of Puerto                                       URB. SANTA CLARA                  the Commonwealth of Puerto
   URBANIZACION SANTA                       Rico                                                             F-14 CALLE ROBLE                  Rico
   CLARA                                    17 BK 03566-LTS                                                  BLANCO                            17 BK 03566-LTS
   GUAYNABO, PR 00969                                                                                        GUAYNABO, PR 00969

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
55 MEDINA RIVERA,                06/28/18   Employees Retirement           71017                 $ 29,565.33 MEDINA RIVERA,         06/28/18   Employees Retirement           64692           $ 29,565.33
   MARITZA                                  System of the Government of                                      MARITZA                           System of the Government of
   HC 02 BUZON 17906                        the Commonwealth of Puerto                                       HC 02 BUZON 17906                 the Commonwealth of Puerto
   RIO GRANDE, PR 00745                     Rico                                                             RIO GRANDE, PR 00745              Rico
                                            17 BK 03566-LTS                                                                                    17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
56 MEDINA TORRES,                06/25/18   Employees Retirement           48138                $ 22,639.53* MEDINA TORRES,         06/25/18   Employees Retirement           50380          $ 22,639.53*
   MARICRUZ                                 System of the Government of                                      MARICRUZ                          System of the Government of
   HC-03 BOX 12515                          the Commonwealth of Puerto                                       HC- 03 BOX 12515                  the Commonwealth of Puerto
   YABUCOA, PR 00767                        Rico                                                             YABUCOA, PR 00767                 Rico
                                            17 BK 03566-LTS                                                                                    17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
57 MEDINA VEGA, GERALD           04/28/18   Employees Retirement            9520                $ 100,000.00 MEDINA VEGA, GERALD    04/28/18   Employees Retirement           9522           $ 100,000.00
   URB. LAS MARGARITAS,                     System of the Government of                                      URB. LAS MARGARITAS               System of the Government of
   CALLE R. HERNANDEZ                       the Commonwealth of Puerto                                       CALLE R. HERNANDEZ                the Commonwealth of Puerto
   #220                                     Rico                                                             #220                              Rico
   PONCE, PR 00728                          17 BK 03566-LTS                                                  PONCE, PR 00728                   17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 11 of 97
                                      Case:17-03283-LTS Doc#:6278-1 Filed:04/15/19 Entered:04/15/19 21:12:54                                              Desc:
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                                                                            Twenty-Ninth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
58 MELENDEZ CALDERON,            05/18/18   Employees Retirement           20153                 $ 38,121.94 MELENDEZ CALDERON,     05/18/18   Employees Retirement           20169          $ 38,121.94*
   MILAGROS                                 System of the Government of                                      MILAGROS                          System of the Government of
   URB LA PONDEROSA                         the Commonwealth of Puerto                                       URB LA PONDEROSA                  the Commonwealth of Puerto
   470 CALLE DALIA                          Rico                                                             470 CALLE DALIA                   Rico
   RIO GRANDE, PR 00745                     17 BK 03566-LTS                                                  RIO GRANDE, PR 00745              17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
59 MELENDEZ GONZALEZ,            05/14/18   Employees Retirement           15037              Undetermined* MELENDEZ GONZALEZ,      05/14/18   Employees Retirement           15350        Undetermined*
   ELEAZER                                  System of the Government of                                     ELEAZER                            System of the Government of
   SECTOR MOGOTE                            the Commonwealth of Puerto                                      BO MOGOTE                          the Commonwealth of Puerto
   #44                                      Rico                                                            44 CALLE EVARISTO                  Rico
   CAYEY, PR 00736                          17 BK 03566-LTS                                                 HERNANDEZ                          17 BK 03566-LTS
                                                                                                            CAYEY, PR 00736-3125

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
60 MELENDEZ RIVERA,              05/22/18   Employees Retirement           21277                 $ 60,000.00 MELENDEZ RIVERA,       05/22/18   Employees Retirement           21920           $ 60,000.00
   ANA I                                    System of the Government of                                      ANA I                             System of the Government of
   URB. MONTE SABACIO                       the Commonwealth of Puerto                                       URB. MONTE SUBACIO                the Commonwealth of Puerto
   CALLE 9 L-13                             Rico                                                             CALLE 9L- 13                      Rico
   GARABO, PR 00778                         17 BK 03566-LTS                                                  JURABO, PR 00778                  17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
61 MELENDEZ                      05/29/18   Employees Retirement           27481                 $ 67,172.74 MELENDEZ               05/29/18   Employees Retirement           30713           $ 67,172.74
   RODRIGUEZ, FRANCES                       System of the Government of                                      RODRIGUEZ, FRANCES                System of the Government of
   P O BOX 252                              the Commonwealth of Puerto                                       URB. MONTE BRISAS                 the Commonwealth of Puerto
   CEIBA, PR 00735-0252                     Rico                                                             CALLE S - O -13                   Rico
                                            17 BK 03566-LTS                                                  FAJARDO, PR 00738                 17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
62 MELENDEZ VALLE,               06/27/18   Employees Retirement           93383                $ 52,168.00* MELENDEZ VALLE,        06/27/18   Employees Retirement           103058         $ 52,168.00*
   SONIA                                    System of the Government of                                      SONIA                             System of the Government of
   COLINAS DEL OESTE                        the Commonwealth of Puerto                                       COLINAS DEL OESTE                 the Commonwealth of Puerto
   CALLE 11 I-22                            Rico                                                             CALLE 11 I-22                     Rico
   HORMIGUEROS, PR                          17 BK 03566-LTS                                                  HORMIGUEROS, PR                   17 BK 03566-LTS
   00660                                                                                                     00660

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 12 of 97
                                      Case:17-03283-LTS Doc#:6278-1 Filed:04/15/19 Entered:04/15/19 21:12:54                                            Desc:
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                                                                            Twenty-Ninth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME          FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
63 MELENDEZ VALLE,               06/27/18   Employees Retirement           98555                $ 52,168.00* MELENDEZ VALLE,      06/27/18   Employees Retirement           103058         $ 52,168.00*
   SONIA                                    System of the Government of                                      SONIA                           System of the Government of
   COLINAS DE OESTE                         the Commonwealth of Puerto                                       COLINAS DEL OESTE               the Commonwealth of Puerto
   CALLE 11 I-22                            Rico                                                             CALLE 11 I-22                   Rico
   HORMIGUEROS, PR                          17 BK 03566-LTS                                                  HORMIGUEROS, PR                 17 BK 03566-LTS
   00660                                                                                                     00660

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
64 MENDEZ CORDERO,               05/04/18   Employees Retirement           13818                $ 57,531.36* MENDEZ CORDERO,      05/09/18   Employees Retirement           9789           $ 57,531.36*
   JESUS F                                  System of the Government of                                      JESUS F                         System of the Government of
   PO BOX 2569                              the Commonwealth of Puerto                                       PO BOX 2569                     the Commonwealth of Puerto
   MOCA, PR 00676                           Rico                                                             MOCA, PR 00676                  Rico
                                            17 BK 03566-LTS                                                                                  17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
65 MENDEZ CRUZ,                  06/29/18   Employees Retirement           76431                       $ 0.00 MENDEZ CRUZ,        06/29/18   Employees Retirement           79093        Undetermined*
   ROSAURO                                  System of the Government of                                       ROSAURO                        System of the Government of
   JARDINES VENTURINI                       the Commonwealth of Puerto                                        URB VENTURINI                  the Commonwealth of Puerto
   A 10 CALLE 2                             Rico                                                              A10 CALLE 2                    Rico
   SAN SEBASTIAN, PR                        17 BK 03566-LTS                                                   SAN SEBASTIAN, PR              17 BK 03566-LTS
   00685                                                                                                      00685-2713

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
66 MENDEZ GUERRA,                06/28/18   Employees Retirement           69621                 $ 60,468.63 MENDEZ GUERRA,       06/28/18   Employees Retirement           69835           $ 60,468.63
   IVELISSE                                 System of the Government of                                      IVELISSE                        System of the Government of
   PMB 2275                                 the Commonwealth of Puerto                                       PMB 2275                        the Commonwealth of Puerto
   PO BOX 6029                              Rico                                                             CAROLINA, PR 00984              Rico
   CAROLINA, PR 00984-                      17 BK 03566-LTS                                                                                  17 BK 03566-LTS
   6017

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
67 MENDEZ LACLAUSTRA,            05/29/18   Employees Retirement           26210                $ 49,000.00* MENDEZ LACLAUSTRA,   05/29/18   Employees Retirement           26513          $ 49,000.00*
   JOSE A                                   System of the Government of                                      JOSE A                          System of the Government of
   URB COUNTRY CLUB                         the Commonwealth of Puerto                                       URB COUNTRY CLUB                the Commonwealth of Puerto
   906 CALLE URANETA                        Rico                                                             906 CALLE URANETA               Rico
   SAN JUAN, PR 00925                       17 BK 03566-LTS                                                  SAN JUAN, PR 00925              17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 13 of 97
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                                                                            Twenty-Ninth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
68 MENDEZ NIEVES,                05/29/18   Employees Retirement           31954                 $ 40,000.00 MENDEZ NIEVES,        06/07/18   Employees Retirement           52266           $ 40,000.00
   DAVID                                    System of the Government of                                      DAVID                            System of the Government of
   161 CALLE BLANCA E                       the Commonwealth of Puerto                                       161 CALLE BLANCA E               the Commonwealth of Puerto
   CHICO                                    Rico                                                             CHICO                            Rico
   MOCA, PR 00676-4160                      17 BK 03566-LTS                                                  MOCA, PR 00676-4160              17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
69 MENDEZ QUINONES,              05/29/18   Employees Retirement           24805              Undetermined* MENDEZ QUINONES,       06/05/18   Employees Retirement           48469        Undetermined*
   RAFAEL                                   System of the Government of                                     RAFAEL                            System of the Government of
   URBANIZACION BRISAS                      the Commonwealth of Puerto                                      URBANIZACION BRISAS               the Commonwealth of Puerto
   DE CAMUY I-9                             Rico                                                            DE CAMUY I-9                      Rico
   CAMUY, PR 00627                          17 BK 03566-LTS                                                 CAMUY, PR 00627                   17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
70 MENDOZA GUZMAN,               05/23/18   Employees Retirement           23763                $ 29,092.77* MENDOZA GUZMAN,       05/23/18   Employees Retirement           29850          $ 29,092.77*
   RAUL                                     System of the Government of                                      RAUL                             System of the Government of
   JARDINES DE CAYEY                        the Commonwealth of Puerto                                       JARDINES DE CAYEY                the Commonwealth of Puerto
   C 10 CALLE 5                             Rico                                                             1 CALLE SC-10                    Rico
   CAYEY, PR 00736                          17 BK 03566-LTS                                                  CAYEY, PR 00736                  17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
71 MENDOZA RODRIGUEZ,            05/29/18   Employees Retirement           27041                 $ 73,000.00 MENDOZA RODRIGUEZ,    05/29/18   Employees Retirement           27257           $ 73,000.00
   WILFREDO                                 System of the Government of                                      WILFREDO                         System of the Government of
   C -SANJUSTO                              the Commonwealth of Puerto                                       217 CALLE SAN JUSTO              the Commonwealth of Puerto
   217 ALTOS                                Rico                                                             ALTOS                            Rico
   QUEBRADILLA, PR 00678                    17 BK 03566-LTS                                                  QUEBRADILLAS, PR                 17 BK 03566-LTS
                                                                                                             00678

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
72 MERCADO BELARDO,              06/26/18   Employees Retirement           36474                 $ 76,218.90 MERCADO BELARDO,      06/26/18   Employees Retirement           52619           $ 76,218.90
   MARIBEL                                  System of the Government of                                      MARIBEL                          System of the Government of
   COND CHALETS DE SAN                      the Commonwealth of Puerto                                       COND CHALETS DE SAN              the Commonwealth of Puerto
   FERNANDO                                 Rico                                                             FERNANDO                         Rico
   APT 1404                                 17 BK 03566-LTS                                                  APT 1404                         17 BK 03566-LTS
   CAROLINA, PR 00987                                                                                        CAROLINA, PR 00987

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 14 of 97
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                                                                            Twenty-Ninth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME           FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
73 MERCADO BELARDO,              06/19/18   Employees Retirement           41636                 $ 76,218.90 MERCADO BELARDO,      06/26/18   Employees Retirement           52619           $ 76,218.90
   MARIBEL                                  System of the Government of                                      MARIBEL                          System of the Government of
   COND. CHALETS DE                         the Commonwealth of Puerto                                       COND CHALETS DE SAN              the Commonwealth of Puerto
   SAN FERNANDO                             Rico                                                             FERNANDO                         Rico
   APTO.1404                                17 BK 03566-LTS                                                  APT 1404                         17 BK 03566-LTS
   CAROLINA, PR 00987                                                                                        CAROLINA, PR 00987

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
74 MERCADO BELARDO,              06/26/18   Employees Retirement           51908                 $ 76,218.90 MERCADO BELARDO,      06/26/18   Employees Retirement           52619           $ 76,218.90
   MARIBEL                                  System of the Government of                                      MARIBEL                          System of the Government of
   PUERTO REAL                              the Commonwealth of Puerto                                       COND CHALETS DE SAN              the Commonwealth of Puerto
   PO BOX 163                               Rico                                                             FERNANDO                         Rico
   FAJARDO, PR 00740                        17 BK 03566-LTS                                                  APT 1404                         17 BK 03566-LTS
                                                                                                             CAROLINA, PR 00987

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
75 MERCADO BELARDO,              06/26/18   Employees Retirement           52140                 $ 76,621.90 MERCADO BELARDO,      06/26/18   Employees Retirement           52195           $ 76,621.90
   MARIBEL                                  System of the Government of                                      MARIBEL                          System of the Government of
   COND CHALETS SAN                         the Commonwealth of Puerto                                       PUERTO REAL                      the Commonwealth of Puerto
   FERNANDO APT 1404                        Rico                                                             PO BOX 163                       Rico
   CAROLINA, PR 00987                       17 BK 03566-LTS                                                  FAJARDO, PR 00740                17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
76 MERCADO FIGUEROA,             06/29/18   Employees Retirement           137919             Undetermined* MERCADO FIGUEROA,      06/29/18   Employees Retirement           151478       Undetermined*
   LUISA ESTHER                             System of the Government of                                     LUISA ESTHER                      System of the Government of
   URB HILL VIEW                            the Commonwealth of Puerto                                      URB. HILL VIEW 318                the Commonwealth of Puerto
   318 LAKE ST                              Rico                                                            LAKE ST                           Rico
   YAUCO, PR 00698                          17 BK 03566-LTS                                                 YAUCO, PR 00698                   17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
77 MERCADO OJEDA,                05/16/18   Employees Retirement           14208                $ 23,372.68* MERCADO OJEDA,        05/17/18   Employees Retirement           13673          $ 23,372.68*
   ELISABE                                  System of the Government of                                      ELISABE                          System of the Government of
   PMB 431 PO BOX 7105                      the Commonwealth of Puerto                                       PMB 431 PO BOX 7105              the Commonwealth of Puerto
   PONCE, PR 00732                          Rico                                                             PONCE, PR 00732                  Rico
                                            17 BK 03566-LTS                                                                                   17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 15 of 97
                                      Case:17-03283-LTS Doc#:6278-1 Filed:04/15/19 Entered:04/15/19 21:12:54                                               Desc:
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                                                                            Twenty-Ninth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
78 MERCADO PEREZ,                06/06/18   Employees Retirement           35923              Undetermined* MERCADO PEREZ,           06/25/18   Employees Retirement           90735        Undetermined*
   ALEXANDRA                                System of the Government of                                     ALEXANDRA                           System of the Government of
   HC 01 BOX 4844                           the Commonwealth of Puerto                                      HC 1 BOX 4844                       the Commonwealth of Puerto
   CAMUY, PR 00627-9610                     Rico                                                            CAMUY, PR 00627-9610                Rico
                                            17 BK 03566-LTS                                                                                     17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
79 MERCADO RODRIGUEZ,            05/25/18   Employees Retirement           20048                $ 21,117.64* MERCADO RODRIGUEZ,      05/25/18   Employees Retirement           23359           $ 21,117.64
   GEOVANNIE O                              System of the Government of                                      GEOVANNIE O                        System of the Government of
   CALLE SOL 404                            the Commonwealth of Puerto                                       CALLE SOL 404                      the Commonwealth of Puerto
   APT E                                    Rico                                                             APT E                              Rico
   SAN JUAN, PR 00901                       17 BK 03566-LTS                                                  SAN JUAN, PR 00901                 17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
80 MERCADO ROMAN,                05/29/18   Employees Retirement           27251                 $ 85,000.00 MERCADO ROMAN,          06/24/18   Employees Retirement           49556           $ 85,000.00
   EDGARDO                                  System of the Government of                                      EDGARDO                            System of the Government of
   PO BOX 1278                              the Commonwealth of Puerto                                       PO BOX 1278                        the Commonwealth of Puerto
   SABANA GRANDE, PR                        Rico                                                             SABANA GRANDE, PR                  Rico
   00637-1278                               17 BK 03566-LTS                                                  00637-1278                         17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
81 MERCADO SILVA,                06/28/18   Employees Retirement           115624                $ 9,600.00* MERCADO SILVA,          06/28/18   Employees Retirement           122722          $ 9,600.00*
   ZORAIDA                                  System of the Government of                                      ZORAIDA                            System of the Government of
   PORTICOS DE                              the Commonwealth of Puerto                                       PORTICOS DE                        the Commonwealth of Puerto
   GUAYNABO 1 CALLE                         Rico                                                             GUAYNABO                           Rico
   VILLEGAS 2302                            17 BK 03566-LTS                                                  1 CALLE VILLEGAS                   17 BK 03566-LTS
   GUAYNABO, PR 00971                                                                                        #2302
                                                                                                             GUAYNABO, PR 00971

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
82 MERCED CALDERON,              06/13/18   Employees Retirement           97473                 $ 30,000.00 MERCED CALDERON,        06/13/18   Employees Retirement           75697           $ 30,000.00
   NESMARIE                                 System of the Government of                                      NESMARIE                           System of the Government of
   HC06 BOX 75877                           the Commonwealth of Puerto                                       HC06 BOX 75877                     the Commonwealth of Puerto
   CAGUAS, PR 00725-9517                    Rico                                                             CAGUAS, PR 00725-9517              Rico
                                            17 BK 03566-LTS                                                                                     17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 16 of 97
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                                                                            Twenty-Ninth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
83 MERCED CALDERON,              06/13/18   Employees Retirement           102033                $ 30,000.00 MERCED CALDERON,        06/13/18   Employees Retirement           75697          $ 30,000.00
   NESMARIE                                 System of the Government of                                      NESMARIE                           System of the Government of
   HC 6 BOX 75877                           the Commonwealth of Puerto                                       HC06 BOX 75877                     the Commonwealth of Puerto
   CAGUAS, PR 00725-9517                    Rico                                                             CAGUAS, PR 00725-9517              Rico
                                            17 BK 03566-LTS                                                                                     17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
84 MERETTE PICHARDO,             06/28/18   Employees Retirement           60670                 $ 56,133.66 MERETTE PICHARDO,       07/03/18   Employees Retirement           109818         $ 56,133.66
   VILMA                                    System of the Government of                                      VILMA                              System of the Government of
   URB JARDINES DE                          the Commonwealth of Puerto                                       URB JARDINES DE                    the Commonwealth of Puerto
   CAPARRA                                  Rico                                                             CAPARRA                            Rico
   CALLE 1 D/ 5                             17 BK 03566-LTS                                                  CALLE1 D-5                         17 BK 03566-LTS
   BAYAMON, PR 00959                                                                                         BAYAMON, PR 00959

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
85 MI ACOUVERTIER,               06/29/18   Employees Retirement           140761               $ 50,000.00* MI ACOUVERTIER,         06/29/18   Employees Retirement           151068        $ 50,000.00*
   MIGUEL                                   System of the Government of                                      MIGUEL                             System of the Government of
   URB. METROPOLIS                          the Commonwealth of Puerto                                       URB METROPOLIS                     the Commonwealth of Puerto
   S10 CALLE 25                             Rico                                                             S10 CALLE 25                       Rico
   CAROLINA, PR 00987                       17 BK 03566-LTS                                                  CAROLINA, PR 00987                 17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
86 MILKA VEGA FIGUEROA           06/30/18   Employees Retirement           68558                 $ 72,833.80 MILKA VEGA FIGUEROA     06/30/18   Employees Retirement           68595          $ 72,833.80
   URB. VILLA SERENA                        System of the Government of                                      URB.VILLA SERENA                   System of the Government of
   CALLE ISABEL 2 M-12                      the Commonwealth of Puerto                                       CALLE ISABEL 2 M-12                the Commonwealth of Puerto
   ARECIBO, PR 00612                        Rico                                                             ARECIBO, PR 00612                  Rico
                                            17 BK 03566-LTS                                                                                     17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
87 MIRABAL, DORIANNE             06/29/18   Employees Retirement           84311                $ 22,088.37* MIRABAL, DORIANNE       07/06/18   Employees Retirement           143022        $ 22,088.37*
   PO BOX 96                                System of the Government of                                      PO BOX 96                          System of the Government of
   ADJUNTAS, PR 00601-                      the Commonwealth of Puerto                                       ADJUNTAS, PR 00601-                the Commonwealth of Puerto
   0096                                     Rico                                                             0096                               Rico
                                            17 BK 03566-LTS                                                                                     17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 17 of 97
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                                                                            Twenty-Ninth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME               FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
88 MIRANDA MARTINEZ,             06/20/18   Employees Retirement           45020                 $ 28,874.60 MIRANDA MARTINEZ,         06/29/18   Employees Retirement           141439          $ 28,874.60
   ARACELIS                                 System of the Government of                                      ARACELIS                             System of the Government of
   URB VILLA MADRID                         the Commonwealth of Puerto                                       B-18 CALLE 2 URB.                    the Commonwealth of Puerto
   B 18 CALLE 2                             Rico                                                             VILLA MADRID                         Rico
   COAMO, PR 00769                          17 BK 03566-LTS                                                  COAMO, PR 00769                      17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
89 MIRANDA MARTINEZ,             06/28/18   Employees Retirement           59481                 $ 15,167.91 MIRANDA MARTINEZ,         06/28/18   Employees Retirement           150847          $ 15,167.91
   LUZMARIE                                 System of the Government of                                      LUZMARIE                             System of the Government of
   B-18 CALLE 2 URB.                        the Commonwealth of Puerto                                       B-18 CALLE 2                         the Commonwealth of Puerto
   VILLA MADRID                             Rico                                                             URB. VILLA MADRID                    Rico
   COAMO, PR 00769                          17 BK 03566-LTS                                                  COAMO, PR 00769                      17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
90 MIRANDA MATOS,                05/29/18   Employees Retirement           25777               $ 135,000.00* MIRANDA MATOS,            06/01/18   Employees Retirement           22883         $ 135,000.00*
   JAMIEL                                   System of the Government of                                      JAMIEL                               System of the Government of
   COND CAPITOLIO                           the Commonwealth of Puerto                                       COND CAPITOLIO                       the Commonwealth of Puerto
   PLAZA 100 CALLE DEL                      Rico                                                             PLAZA                                Rico
   MUELLE, APTO 3804                        17 BK 03566-LTS                                                  100 CALLE DEL MUELLE                 17 BK 03566-LTS
   SAN JUAN, PR 00901-2624                                                                                   APT 3804
                                                                                                             SAN JUAN, PR 00901-2624

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
91 MIRANDA ROBLEDO,              06/28/18   Employees Retirement           61723                $ 75,000.00* MIRANDA ROBLEDO,          07/06/18   Employees Retirement           159395         $ 75,000.00*
   LUZ E.                                   System of the Government of                                      LUZ E.                               System of the Government of
   P.O BOX 132                              the Commonwealth of Puerto                                       PO BOX 132                           the Commonwealth of Puerto
   TOA BAJA, PR 00951-0132                  Rico                                                             TOA BAJA, PR 00951-0132              Rico
                                            17 BK 03566-LTS                                                                                       17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
92 MIRANDA SANTIAGO,             06/18/18   Employees Retirement           41019                $ 51,679.64* MIRANDA SANTIAGO,         06/22/18   Employees Retirement           90452          $ 51,679.64*
   EVANGELINA                               System of the Government of                                      EVANGELINA                           System of the Government of
   COND MARBELLA ESTE                       the Commonwealth of Puerto                                       COND MARBELLA ESTE                   the Commonwealth of Puerto
   5349 AVE ISLA VERDE                      Rico                                                             5349 AVE ISLA VERDE                  Rico
   APTO 402                                 17 BK 03566-LTS                                                  APTO 402                             17 BK 03566-LTS
   CAROLINA, PR 00979                                                                                        CAROLINA, PR 00979

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                            Page 18 of 97
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                                                                            Twenty-Ninth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
93 MOJICA AYALA,                 03/28/18   Employees Retirement            3226                 $ 64,671.90 MOJICA AYALA,          03/28/18   Employees Retirement           5295          $ 64,671.90*
   LETICIA                                  System of the Government of                                      LETICIA                           System of the Government of
   EXT SAN ISIDRO 34                        the Commonwealth of Puerto                                       EXT. SAN ISIDRO                   the Commonwealth of Puerto
   FELIX RIGAU CARRERA                      Rico                                                             34 CALLE FELIX RIGAU              Rico
   SABANA GRANDE, PR                        17 BK 03566-LTS                                                  SABANA GRANDE, PR                 17 BK 03566-LTS
   00637                                                                                                     00637

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
94 MOJICA AYALA,                 03/28/18   Employees Retirement            3232                 $ 64,671.90 MOJICA AYALA,          03/28/18   Employees Retirement           5295          $ 64,671.90*
   LETICIA                                  System of the Government of                                      LETICIA                           System of the Government of
   EXT SAN ISIDRO                           the Commonwealth of Puerto                                       EXT. SAN ISIDRO                   the Commonwealth of Puerto
   34 CALLE FELIX RIGAU                     Rico                                                             34 CALLE FELIX RIGAU              Rico
   SABANA GRANDE, PR                        17 BK 03566-LTS                                                  SABANA GRANDE, PR                 17 BK 03566-LTS
   00637                                                                                                     00637

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
95 MOJICA AYALA,                 03/28/18   Employees Retirement            3240                $ 64,671.90* MOJICA AYALA,          03/28/18   Employees Retirement           5295          $ 64,671.90*
   LETICIA                                  System of the Government of                                      LETICIA                           System of the Government of
   EXT SAN ISIDRO                           the Commonwealth of Puerto                                       EXT. SAN ISIDRO                   the Commonwealth of Puerto
   34 CALLE FELIX RIGAU                     Rico                                                             34 CALLE FELIX RIGAU              Rico
   SABANA GRANDE, PR                        17 BK 03566-LTS                                                  SABANA GRANDE, PR                 17 BK 03566-LTS
   00637                                                                                                     00637

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
96 MOJICA ROHENA, JUAN           05/29/18   Employees Retirement           31663                 $ 56,708.82 MOJICA ROHENA, JUAN    05/29/18   Employees Retirement           33286          $ 56,708.82
   L                                        System of the Government of                                      L                                 System of the Government of
   PO BOX 7702                              the Commonwealth of Puerto                                       PO BOX 7702                       the Commonwealth of Puerto
   CAROLINA, PR 00986                       Rico                                                             CAROLINA, PR 00986                Rico
                                            17 BK 03566-LTS                                                                                    17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
97 MOJICA ROHENA, JUAN           05/29/18   Employees Retirement           32433                 $ 56,708.82 MOJICA ROHENA, JUAN    05/29/18   Employees Retirement           33286          $ 56,708.82
   L                                        System of the Government of                                      L                                 System of the Government of
   PO BOX 7702                              the Commonwealth of Puerto                                       PO BOX 7702                       the Commonwealth of Puerto
   CAROLINA, PR 00986                       Rico                                                             CAROLINA, PR 00986                Rico
                                            17 BK 03566-LTS                                                                                    17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 19 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME               FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
98 MOLINA NEGRON,                 04/12/18   Employees Retirement            4704                 $ 30,000.00 MOLINA NEGRON,            04/12/18   Employees Retirement           5711          $ 30,000.00*
   OLGA                                      System of the Government of                                      OLGA                                 System of the Government of
   HC 1 BOX 2017                             the Commonwealth of Puerto                                       HC-1 BOX 2017                        the Commonwealth of Puerto
   MOROVIS, PR 00687                         Rico                                                             MOROVIS, PR 00687                    Rico
                                             17 BK 03566-LTS                                                                                       17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
99 MOLINA NEGRON,                 04/12/18   Employees Retirement            4739                 $ 30,000.00 MOLINA NEGRON,            04/12/18   Employees Retirement           5711          $ 30,000.00*
   OLGA                                      System of the Government of                                      OLGA                                 System of the Government of
   HC-1 BOX 2017                             the Commonwealth of Puerto                                       HC-1 BOX 2017                        the Commonwealth of Puerto
   MOROVIS, PR 00687                         Rico                                                             MOROVIS, PR 00687                    Rico
                                             17 BK 03566-LTS                                                                                       17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
100 MOLINA QUINONES,              05/21/18   Employees Retirement           16991                $ 64,307.89* MOLINA QUINONES,          05/21/18   Employees Retirement           17430         $ 64,307.89*
    MERCEDES                                 System of the Government of                                      MERCEDES                             System of the Government of
    PO BOX 190216                            the Commonwealth of Puerto                                       PO BOX 190216                        the Commonwealth of Puerto
    SAN JUAN, PR 00919-0216                  Rico                                                             SAN JUAN, PR 00919-0216              Rico
                                             17 BK 03566-LTS                                                                                       17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
101 MOLINA RIVERA,                06/27/18   Employees Retirement           54690                $ 105,704.83 MOLINA RIVERA,            07/03/18   Employees Retirement           153922        $ 105,704.83
    CARLOS R.                                System of the Government of                                      CARLOS R.                            System of the Government of
    URB. SANTA MARTA                         the Commonwealth of Puerto                                       URB. SANTA MARTA                     the Commonwealth of Puerto
    D CALLE C11                              Rico                                                             D CALLE C11                          Rico
    SAN GERMÁN, PR 00683                     17 BK 03566-LTS                                                  SAN GERMAN, PR 00683                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
102 MOLINA RIVERA,                06/30/18   Employees Retirement           82321                 $ 51,654.75 MOLINA RIVERA,            06/30/18   Employees Retirement           113684         $ 51,654.75
    JOMARA                                   System of the Government of                                      JOMARA                               System of the Government of
    500 BOULEVARD DEL                        the Commonwealth of Puerto                                       500 BOULEVARD DEL                    the Commonwealth of Puerto
    RIO                                      Rico                                                             RIO                                  Rico
    CONDOMINIO PASEO                         17 BK 03566-LTS                                                  CONDOMINIO PASEO                     17 BK 03566-LTS
    DEL RIO APTO 5603                                                                                         DEL RIO APTO 5603
    HUMACAO, PR 00791                                                                                         HUMACAO, PR 00791

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                            Page 20 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
103 MOLINA RIVERA,                06/30/18   Employees Retirement           109802                $ 51,654.75 MOLINA RIVERA,        06/30/18   Employees Retirement           113684          $ 51,654.75
    JOMARA                                   System of the Government of                                      JOMARA                           System of the Government of
    500 BOULEVARD DEL                        the Commonwealth of Puerto                                       500 BOULEVARD DEL                the Commonwealth of Puerto
    RÍO                                      Rico                                                             RIO                              Rico
    CONDOMINIO PASEO                         17 BK 03566-LTS                                                  CONDOMINIO PASEO                 17 BK 03566-LTS
    DEL RÍO APTO 5603                                                                                         DEL RIO APTO 5603
    HUMACAO, PR 00791                                                                                         HUMACAO, PR 00791

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
104 MOLINA, ANGIE                 06/27/18   Employees Retirement           46331                 $ 57,919.22 MOLINA, ANGIE         06/27/18   Employees Retirement           59155          $ 57,919.22*
    4 AVE. LAGUNA APTO.                      System of the Government of                                      4 AVE. LAGUNA APTO.              System of the Government of
    3-D                                      the Commonwealth of Puerto                                       3-D                              the Commonwealth of Puerto
    CAROLINA, PR 00979-                      Rico                                                             CAROLINA, PR 00979-              Rico
    6568                                     17 BK 03566-LTS                                                  6569                             17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
105 MONSERRATE GARCIA,            04/27/18   Employees Retirement            9390                 $ 16,098.45 MONSERRATE GARCIA,    04/27/18   Employees Retirement           9562            $ 16,098.45
    MARIA E                                  System of the Government of                                      MARIA E                          System of the Government of
    COOP TORRES DE                           the Commonwealth of Puerto                                       COOP TORRES DE                   the Commonwealth of Puerto
    CAROLINA                                 Rico                                                             CAROLINA APT A 1311              Rico
    100 CJOAQUINA APT                        17 BK 03566-LTS                                                  CAROLINA, PR 00979               17 BK 03566-LTS
    A1311
    CAROLINA, PR 00979

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
106 MONTALVO AVILES,              05/09/18   Employees Retirement           12846              Undetermined* MONTALVO AVILES,       05/09/18   Employees Retirement           13211        Undetermined*
    LUIS A                                   System of the Government of                                     LUIS A                            System of the Government of
    URB REXVILLE                             the Commonwealth of Puerto                                      URB. REXVILLE                     the Commonwealth of Puerto
    F-3 C-7                                  Rico                                                            F 3 C7                            Rico
    BAYAMON, PR 00957                        17 BK 03566-LTS                                                 BAYAMON, PR 00957                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
107 MONTES RIBOT, NAIDA           06/25/18   Employees Retirement           48421                 $ 41,378.36 MONTES RIBOT, NAIDA   06/25/18   Employees Retirement           48797           $ 41,378.36
    M                                        System of the Government of                                      M                                System of the Government of
    PO BOX 1194                              the Commonwealth of Puerto                                       PO BOX 1194                      the Commonwealth of Puerto
    OROCOVIS, PR 00720                       Rico                                                             OROCOVIS, PR 00720               Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 21 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME               FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
108 MORALES ARROYO,               06/22/18   Employees Retirement           33128              Undetermined* MORALES ARROYO,            06/25/18   Employees Retirement           90144        Undetermined*
    EMILIA                                   System of the Government of                                     EMILIA                                System of the Government of
    URB. VILLAS DEL                          the Commonwealth of Puerto                                      URB. VILLAS DEL                       the Commonwealth of Puerto
    CAFETAL I                                Rico                                                            CAFETAL I                             Rico
    CALLE 8 I-35                             17 BK 03566-LTS                                                 CALLE 8 I-35                          17 BK 03566-LTS
    YAUCO, PR 00698                                                                                          YAUCO, PR 00698

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
109 MORALES BERRIOS,              07/06/18   Employees Retirement           156517               $ 37,520.84* MORALES BERRIOS,          07/06/18   Employees Retirement           158653         $ 37,520.84*
    NORMA I.                                 System of the Government of                                      NORMA I.                             System of the Government of
    HC 02 BOX 11727                          the Commonwealth of Puerto                                       HC 02 BOX 11727                      the Commonwealth of Puerto
    SAN GERMAN, PR 00683                     Rico                                                             SAN GERMAN, PR 00683                 Rico
                                             17 BK 03566-LTS                                                                                       17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
110 MORALES DIAZ,                 06/22/18   Employees Retirement           51041                $ 40,457.16* MORALES DIAZ,             06/28/18   Employees Retirement           122419         $ 40,457.16*
    LILLIAM                                  System of the Government of                                      LILLIAM                              System of the Government of
    CALLE 3 BLOQ 5 #9                        the Commonwealth of Puerto                                       PO BOX 20215                         the Commonwealth of Puerto
    MIRAFLORES                               Rico                                                             SAN JUAN, PR 00928-0215              Rico
    BAYAMON, PR 00957                        17 BK 03566-LTS                                                                                       17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
111 MORALES ESQUILIN,             05/18/18   Employees Retirement           28960                $ 26,965.10* MORALES ESQUILIN,         05/18/18   Employees Retirement           29206          $ 26,965.10*
    CORAN LI                                 System of the Government of                                      CORAN LI                             System of the Government of
    APT C-104 3 LOS                          the Commonwealth of Puerto                                       APT. C-104 3 LOS                     the Commonwealth of Puerto
    CANTIZALES                               Rico                                                             CANTIZALES                           Rico
    SAN JUAN, PR 00926                       17 BK 03566-LTS                                                  SAN JUAN, PR 00926                   17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
112 MORALES LOPEZ,                07/06/18   Employees Retirement           127025                $ 39,879.87 MORALES LOPEZ,            07/09/18   Employees Retirement           155618          $ 39,879.87
    IVONNE                                   System of the Government of                                      IVONNE                               System of the Government of
    PO BOX 1729                              the Commonwealth of Puerto                                       PO BOX 1729                          the Commonwealth of Puerto
    AGUADA, PR 00602                         Rico                                                             AGUADA, PR 00602                     Rico
                                             17 BK 03566-LTS                                                                                       17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                            Page 22 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
113 MORALES MONTANEZ,             07/10/18   Employees Retirement           126599             Undetermined* MORALES MONTANEZ,       07/10/18   Employees Retirement           154504       Undetermined*
    MAYRA                                    System of the Government of                                     MAYRA                              System of the Government of
    HC 1 BOX 2630                            the Commonwealth of Puerto                                      HC 01 BOX 2630                     the Commonwealth of Puerto
    JAYUYA, PR 00664                         Rico                                                            JAYUYA, PR 00664-9703              Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
114 MORALES MONTANEZ,             07/10/18   Employees Retirement           132776             Undetermined* MORALES MONTANEZ,       07/10/18   Employees Retirement           154504       Undetermined*
    MAYRA                                    System of the Government of                                     MAYRA                              System of the Government of
    HC 1 BOX 2630                            the Commonwealth of Puerto                                      HC 01 BOX 2630                     the Commonwealth of Puerto
    JAYUYA, PR 00664-8611                    Rico                                                            JAYUYA, PR 00664-9703              Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
115 MORALES MORALES,              07/05/18   Employees Retirement           137003             Undetermined* MORALES MORALES,        07/05/18   Employees Retirement           137527       Undetermined*
    IRIS M.                                  System of the Government of                                     IRIS M.                            System of the Government of
    1004 SAN MIGUEL                          the Commonwealth of Puerto                                      1004 SAN MIGUEL                    the Commonwealth of Puerto
    QUEBRADILLOS, PR                         Rico                                                            QUEBRADILLAS, PR                   Rico
    00678                                    17 BK 03566-LTS                                                 00678                              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
116 MORALES MORALES,              05/25/18   Employees Retirement           27545              Undetermined* MORALES MORALES,        05/30/18   Employees Retirement           42094        Undetermined*
    LUDY                                     System of the Government of                                     LUDY                               System of the Government of
    HC-74 BOX 5581                           the Commonwealth of Puerto                                      HC-74 BOX 5581                     the Commonwealth of Puerto
    NARANJITO, PR 00719                      Rico                                                            NARANJITO, PR 00719                Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
117 MORALES PADILLA,              06/28/18   Employees Retirement           68422                 $ 48,624.37 MORALES PADILLA,       06/29/18   Employees Retirement           157544          $ 48,624.37
    YESENIA                                  System of the Government of                                      YESENIA                           System of the Government of
    HC - 04 BOX 7033                         the Commonwealth of Puerto                                       HC 04 BOX 7033                    the Commonwealth of Puerto
    COROZAL, PR 00783-9687                   Rico                                                             COROZAL, PR 00783                 Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
118 MORALES PEREZ,                06/28/18   Employees Retirement           111376             Undetermined* MORALES PEREZ,          06/28/18   Employees Retirement           123282       Undetermined*
    MILTON                                   System of the Government of                                     MILTON                             System of the Government of
    B-11 URB. JARDINES DE                    the Commonwealth of Puerto                                      B-11 URB. JARDINES DE              the Commonwealth of Puerto
    MARIBEL                                  Rico                                                            MARIBEL                            Rico
    AGUADILLA, PR 00603                      17 BK 03566-LTS                                                 AGUADILLA, PR 00603                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 23 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME               FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
119 MORALES QUILES,               05/25/18   Employees Retirement           22052                $ 19,802.02* MORALES QUILES,           05/30/18   Employees Retirement           48624          $ 19,802.02*
    NORBERTO                                 System of the Government of                                      NORBERTO                             System of the Government of
    URB. PARQUE DE                           the Commonwealth of Puerto                                       URB. PARQUE DE                       the Commonwealth of Puerto
    CANDELERO                                Rico                                                             CANDELERO                            Rico
    172 CALLE LUBINA                         17 BK 03566-LTS                                                  172 CALLE LUBINA                     17 BK 03566-LTS
    HUMACAO, PR 00791                                                                                         HUMACAO, PR 00791

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
120 MORALES ROMAN,                06/27/18   Employees Retirement           108634               $ 75,000.00* MORALES ROMAN,            06/28/18   Employees Retirement           75704           $ 75,000.00
    NANCY I.                                 System of the Government of                                      NANCY I.                             System of the Government of
    PO BOX 401                               the Commonwealth of Puerto                                       PO BOX 401                           the Commonwealth of Puerto
    CANOVANAS, PR 00729                      Rico                                                             CANOVANAS, PR 00729                  Rico
                                             17 BK 03566-LTS                                                                                       17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
121 MORALES ROSARIO,              05/25/18   Employees Retirement           22165                $ 63,266.95* MORALES ROSARIO,          05/24/18   Employees Retirement           19892          $ 63,266.95*
    ELBA                                     System of the Government of                                      ELBA                                 System of the Government of
    URB SAN IGNACIO                          the Commonwealth of Puerto                                       URB SAN IGNACIO                      the Commonwealth of Puerto
    1794 CALLE SAN                           Rico                                                             1794 C SAN ALEJANDRO                 Rico
    ALEJANDRO                                17 BK 03566-LTS                                                  SAN JUAN, PR 00927-6816              17 BK 03566-LTS
    SAN JUAN, PR 00927-6816

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
122 MORALES SANTIAGO,             03/26/18   Employees Retirement            2649              Undetermined* MORALES SANTIAGO,          03/26/18   Employees Retirement           2878         Undetermined*
    JUSTO                                    System of the Government of                                     JUSTO                                 System of the Government of
    CAMINO DEL MAR                           the Commonwealth of Puerto                                      URB CAMINO DEL MAR                    the Commonwealth of Puerto
    9542 PLAZA DEL                           Rico                                                            9542 CALLE PLAZA DEL                  Rico
    PALMAR                                   17 BK 03566-LTS                                                 PALMAR                                17 BK 03566-LTS
    TOA BAJA, PR 00949                                                                                       TOA BAJA, PR 00949

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
123 MORALES SERRANO,              07/06/18   Employees Retirement           111826             Undetermined* MORALES SERRANO,           07/06/18   Employees Retirement           147679       Undetermined*
    JACINTA                                  System of the Government of                                     JACINTA                               System of the Government of
    HC-46 BOX 5424                           the Commonwealth of Puerto                                      HC 46 BOX 5424                        the Commonwealth of Puerto
    DORADO, PR 00646                         Rico                                                            DORADO, PR 00646                      Rico
                                             17 BK 03566-LTS                                                                                       17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                            Page 24 of 97
                                       Case:17-03283-LTS Doc#:6278-1 Filed:04/15/19 Entered:04/15/19 21:12:54                                             Desc:
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME           FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
124 MORALES VALDES,               05/22/18   Employees Retirement           15101                $ 70,000.00* MORALES VALDES,       05/22/18   Employees Retirement           18526          $ 70,000.00*
    RUBEN A                                  System of the Government of                                      RUBEN A                          System of the Government of
    12 EUCALIPTO STREET                      the Commonwealth of Puerto                                       12 EUCALIPTO STREET              the Commonwealth of Puerto
    PARCELAS MARQUES                         Rico                                                             PARCELAS MARQUEZ                 Rico
    MANATI, PR 00674                         17 BK 03566-LTS                                                  MANATI, PR 00674                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
125 MORALES VELEZ,                06/27/18   Employees Retirement           162632             Undetermined* MORALES VELEZ,         07/03/18   Employees Retirement           149914       Undetermined*
    GUSTAVO                                  System of the Government of                                     GUSTAVO                           System of the Government of
    106 GRUBBS BASE                          the Commonwealth of Puerto                                      106 GRUBBS BASE                   the Commonwealth of Puerto
    RAMEY                                    Rico                                                            RAMEY                             Rico
    AGUADILLA, PR 00603                      17 BK 03566-LTS                                                 AGUADILLA, PR 00603               17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
126 MORALES                       06/21/18   Employees Retirement           39320                $ 49,390.57* MORALES               06/27/18   Employees Retirement           55246          $ 49,390.57*
    VILLANUEVA, DAISY                        System of the Government of                                      VILLANUEVA, DAISY                System of the Government of
    P O BOX 3002                             the Commonwealth of Puerto                                       PO BOX 3002                      the Commonwealth of Puerto
    GUAYNABO, PR 00970                       Rico                                                             GUAYNABO, PR 00970               Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
127 MOREIRA MOJICA,               06/14/18   Employees Retirement           26610                 $ 43,305.71 MOREIRA MOJICA,       06/14/18   Employees Retirement           27260           $ 43,305.71
    JANETTE                                  System of the Government of                                      JANETTE                          System of the Government of
    URB VILLA PRADES                         the Commonwealth of Puerto                                       URB VILLA PRADES                 the Commonwealth of Puerto
    815 CALLE JOSE                           Rico                                                             815 CALLE JOSE                   Rico
    QUINTON                                  17 BK 03566-LTS                                                  QUINTON                          17 BK 03566-LTS
    SAN JUAN, PR 00924                                                                                        SAN JUAN, PR 00924

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
128 MORENO MARRERO,               05/28/18   Employees Retirement           25675                 $ 64,100.00 MORENO MARRERO,       05/28/18   Employees Retirement           24947           $ 64,100.00
    MARIA M                                  System of the Government of                                      MARIA M                          System of the Government of
    7423 102ND ST                            the Commonwealth of Puerto                                       7423 102ND ST                    the Commonwealth of Puerto
    LUBBOCK, TX 79424                        Rico                                                             LUBBOCK, TX 79424                Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 25 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
129 MORFE MERCADO,                06/21/18   Employees Retirement           45439                $ 55,538.33* MORFE MERCADO,         06/21/18   Employees Retirement           38530          $ 55,538.33*
    MARIA                                    System of the Government of                                      MARIA                             System of the Government of
    CALLE GREGORIO                           the Commonwealth of Puerto                                       GREGORIO ORTIZ 6508               the Commonwealth of Puerto
    ORTIZ 6508                               Rico                                                             BO. MONTELLANO AC                 Rico
    BO MONTELLANO AC 74                      17 BK 03566-LTS                                                  74 B                              17 BK 03566-LTS
    B                                                                                                         CAYEY, PR 00736
    CAYEY, PR 00736

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
130 MOSSETTY MORENO,              06/28/18   Employees Retirement           119125                $ 20,621.08 MOSSETTY MORENO,       07/02/18   Employees Retirement           142311          $ 20,621.08
    MILAGROS                                 System of the Government of                                      MILAGROS                          System of the Government of
    URB. MONTE SORIA II                      the Commonwealth of Puerto                                       #120 CALLE CAREY                  the Commonwealth of Puerto
    #120 CALLE CAREY                         Rico                                                             URB. MONTE SORIA II               Rico
    AGUIRRE, PR 00704                        17 BK 03566-LTS                                                  AGUIRRE, PR 00704                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
131 MOSSETY MORENO,               05/29/18   Employees Retirement           32574                $ 20,198.65* MOSSETY MORENO,        05/31/18   Employees Retirement           28058          $ 20,198.65*
    MILAGROS                                 System of the Government of                                      MILAGROS                          System of the Government of
    CALLE CAREY #120                         the Commonwealth of Puerto                                       CALLE CAREY #120                  the Commonwealth of Puerto
    COM. MONTESORIA II                       Rico                                                             COM. MONTESORIA II                Rico
    AGUIRRE                                  17 BK 03566-LTS                                                  AGUIRRE                           17 BK 03566-LTS
    SALINAS, PR 00704                                                                                         SALINAS, PR 00704

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
132 MOYA MORALES,                 07/06/18   Employees Retirement           156459                $ 61,113.33 MOYA MORALES,          07/10/18   Employees Retirement           149019          $ 61,113.33
    LEONIDES                                 System of the Government of                                      LEONIDES                          System of the Government of
    URB PARQUE ECUESTRE                      the Commonwealth of Puerto                                       URB PARQUE ECUESTRE               the Commonwealth of Puerto
    CALLE 39 J1                              Rico                                                             CALLE 39 J1                       Rico
    CAROLINA, PR 00987                       17 BK 03566-LTS                                                  CAROLINA, PR 00987                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
133 MULERO FELIX,                 07/05/18   Employees Retirement           148029             Undetermined* MULERO FELIX,           07/05/18   Employees Retirement           166896       Undetermined*
    ALBERTO                                  System of the Government of                                     ALBERTO                            System of the Government of
    PO BOX 400                               the Commonwealth of Puerto                                      P.O. BOX 400                       the Commonwealth of Puerto
    SABANA SECA, PR 00952                    Rico                                                            SABANA SECA, PR 00952              Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 26 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
134 MULERO SANTOS,                06/29/18   Employees Retirement           163321                $ 79,400.00 MULERO SANTOS,          06/29/18   Employees Retirement           163542         $ 79,400.00
    HAROLD                                   System of the Government of                                      HAROLD                             System of the Government of
    C/ TINTILLO ZONA M96                     the Commonwealth of Puerto                                       C/ TINTILLO ZONA                   the Commonwealth of Puerto
    BO JUAN DOMINGO                          Rico                                                             M96 BOJAN DOMINGO                  Rico
    GUAYNABO, PR 00966                       17 BK 03566-LTS                                                  GUAYNABO, PR 00965                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
135 MULERO VELEZ,                 06/28/18   Employees Retirement           64468                 $ 42,194.40 MULERO VELEZ,           07/03/18   Employees Retirement           133100         $ 42,194.40
    ADILEN                                   System of the Government of                                      ADILEN                             System of the Government of
    RIVER EDGE HILLS 29                      the Commonwealth of Puerto                                       RIVER EDGE HILLS #29               the Commonwealth of Puerto
    CALLE RIO MAMEYES                        Rico                                                             CALLE RIO MAMEYES                  Rico
    LUQUILLO, PR 00773                       17 BK 03566-LTS                                                  LUQUILLO, PR 00773                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
136 MUNIZ GARCIA,                 06/28/18   Employees Retirement           65831                 $ 75,000.00 MUNIZ GARCIA,           07/05/18   Employees Retirement           136999         $ 75,000.00
    MIGDALIA                                 System of the Government of                                      MIGDALIA                           System of the Government of
    RR01 BOX 2083                            the Commonwealth of Puerto                                       RR 01 BOX 2083                     the Commonwealth of Puerto
    ANASCO, PR 00610                         Rico                                                             ANASCO, PR 00610                   Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
137 MUNIZ GONZALEZ,               06/28/18   Employees Retirement           166613                $ 13,872.22 MUNIZ GONZALEZ,         06/27/18   Employees Retirement           56968          $ 13,872.22
    GABRIEL                                  System of the Government of                                      GABRIEL                            System of the Government of
    EDIF 2412 RIBERAS DE                     the Commonwealth of Puerto                                       EDIF. 2412                         the Commonwealth of Puerto
    BUCANA                                   Rico                                                             RIVERAS DE BUCANA III              Rico
    111 APT 283                              17 BK 03566-LTS                                                  APT 283                            17 BK 03566-LTS
    PONCE, PR 00731-5054                                                                                      PONCE, PR 00731-5054

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
138 MUNIZ MENDEZ,                 06/26/18   Employees Retirement           52063                $ 43,875.99* MUNIZ MENDEZ,           06/26/18   Employees Retirement           52075         $ 43,875.99*
    MARGARITA                                System of the Government of                                      MARGARITA                          System of the Government of
    BO OBRERO 412 CALLE                      the Commonwealth of Puerto                                       BO OBRERO                          the Commonwealth of Puerto
    LUTZ                                     Rico                                                             CALLE LUTZ 412                     Rico
    SAN JUAN, PR 00915                       17 BK 03566-LTS                                                  SAN JUAN, PR 00915                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 27 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
139 MUNOZ DIAZ, VILMA S.          06/28/18   Employees Retirement           147490             Undetermined* MUNOZ DIAZ, VILMA S.     06/28/18   Employees Retirement           164978       Undetermined*
    5 TOPACIO VILLA                          System of the Government of                                     5 TOPACIO VILLA                     System of the Government of
    BLANCA                                   the Commonwealth of Puerto                                      BLANCA                              the Commonwealth of Puerto
    CAGUAS, PR 00725                         Rico                                                            CAGUAS, PR 00725                    Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
140 MUNOZ MARTINEZ,               06/29/18   Employees Retirement           114115                $ 75,000.00 MUNOZ MARTINEZ,         06/29/18   Employees Retirement           129779          $ 75,000.00
    DIANA                                    System of the Government of                                      DIANA                              System of the Government of
    VISTA REAL II R- 147                     the Commonwealth of Puerto                                       VISTA REAL II R-147                the Commonwealth of Puerto
    CAGUAS, PR 00727                         Rico                                                             CAGUAS, PR 00727                   Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
141 MUNOZ PAGAN,                  06/27/18   Employees Retirement           98718              Undetermined* MUNOZ PAGAN,             06/27/18   Employees Retirement           105389       Undetermined*
    ARLEEN                                   System of the Government of                                     ARLEEN                              System of the Government of
    I-17 CALLE 4 URB. LAS                    the Commonwealth of Puerto                                      I-17 CALLE 4 LAS                    the Commonwealth of Puerto
    FLORES                                   Rico                                                            FLORES                              Rico
    JUANA DIAZ, PR 00795                     17 BK 03566-LTS                                                 JUANA DIAZ, PR 00795                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
142 MUNOZ PAGAN,                  06/27/18   Employees Retirement           106916             Undetermined* MUNOZ PAGAN,             06/27/18   Employees Retirement           105389       Undetermined*
    ARLEEN                                   System of the Government of                                     ARLEEN                              System of the Government of
    I-17 CALLE 4 LAS                         the Commonwealth of Puerto                                      I-17 CALLE 4 LAS                    the Commonwealth of Puerto
    FLORES                                   Rico                                                            FLORES                              Rico
    JUANA DIAZ, PR 00795                     17 BK 03566-LTS                                                 JUANA DIAZ, PR 00795                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
143 MUNOZ PEREZ, EUNICE           06/28/18   Employees Retirement           118531             Undetermined* MUNOZ PEREZ, EUNICE      06/28/18   Employees Retirement           125667       Undetermined*
    JARDINES SAN                             System of the Government of                                     JARDINES SAN                        System of the Government of
    FRANCISCO APT 213                        the Commonwealth of Puerto                                      FRANCISCO                           the Commonwealth of Puerto
    EDIF 2                                   Rico                                                            APT 213- EDIF-2                     Rico
    SAN JUAN, PR 00927                       17 BK 03566-LTS                                                 SAN JUAN, PR 00927                  17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
144 NARVAEZ DIAZ,                 06/30/18   Employees Retirement           167265                $ 75,000.00 NARVAEZ DIAZ,           07/06/18   Employees Retirement           151104          $ 75,000.00
    GRACIELA                                 System of the Government of                                      GRACIELA                           System of the Government of
    CALLE 22 T6 TURABO                       the Commonwealth of Puerto                                       CALLE 22 T6 TURABO                 the Commonwealth of Puerto
    GARDENS II                               Rico                                                             GARDENS II                         Rico
    CAGUAS, PR 00727-6050                    17 BK 03566-LTS                                                  CAGUAS, PR 00727-6050              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 28 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
145 NAVARRO ALVAREZ,              05/24/18   Employees Retirement           24197              Undetermined* NAVARRO ALVAREZ,         05/24/18   Employees Retirement           28656        Undetermined*
    ALEXIS                                   System of the Government of                                     ALEXIS                              System of the Government of
    URB VALLE VERDE                          the Commonwealth of Puerto                                      F-67 C/GRANADA                      the Commonwealth of Puerto
    F67 CGRANADA                             Rico                                                            HATILLO, PR 00659                   Rico
    HATILLO, PR 00659                        17 BK 03566-LTS                                                                                     17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
146 NAVARRO ALVAREZ,              05/24/18   Employees Retirement           25564              Undetermined* NAVARRO ALVAREZ,         05/24/18   Employees Retirement           28656        Undetermined*
    ALEXIS                                   System of the Government of                                     ALEXIS                              System of the Government of
    URB. VALLE VERDE                         the Commonwealth of Puerto                                      F-67 C/GRANADA                      the Commonwealth of Puerto
    F-67                                     Rico                                                            HATILLO, PR 00659                   Rico
    HATILLO, PR 00659                        17 BK 03566-LTS                                                                                     17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
147 NAVARRO DELGADO,              06/29/18   Employees Retirement           95924                 $ 30,173.53 NAVARRO DELGADO,        07/05/18   Employees Retirement           142679          $ 30,173.53
    EVYMAR                                   System of the Government of                                      EVYMAR                             System of the Government of
    JARDINES DE SAN                          the Commonwealth of Puerto                                       CALLE 4 E12A                       the Commonwealth of Puerto
    LORENZO CALLE 4 E12                      Rico                                                             JARDINES DE SAN                    Rico
    A                                        17 BK 03566-LTS                                                  LORENZO                            17 BK 03566-LTS
    SAN LORENZO, PR 00754                                                                                     SAN LORENZO, PR 00754

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
148 NAZARIO LEBRON,               05/16/18   Employees Retirement           15024                $ 100,000.00 NAZARIO LEBRON,         05/16/18   Employees Retirement           15860          $ 100,000.00
    CARLOS J                                 System of the Government of                                      CARLOS J                           System of the Government of
    PO BOX 403                               the Commonwealth of Puerto                                       PO BOX 403                         the Commonwealth of Puerto
    RIO GRANDE, PR 00745                     Rico                                                             RIO GRANDE, PR 00745               Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
149 NEGRON BERRIOS,               06/27/18   Employees Retirement           106137             Undetermined* NEGRON BERRIOS,          06/29/18   Employees Retirement           143784       Undetermined*
    RUBEN                                    System of the Government of                                     RUBEN                               System of the Government of
    URB. VILLA DE                            the Commonwealth of Puerto                                      URB. VILLA DEL                      the Commonwealth of Puerto
    CARMEN                                   Rico                                                            CARMEN                              Rico
    CALLE SENTINA 1365                       17 BK 03566-LTS                                                 1365 C/SENTINA                      17 BK 03566-LTS
    PONCE, PR 00716                                                                                          PONCE, PR 00716

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 29 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME               FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
150 NEGRON MIRANDA,               06/26/18   Employees Retirement           42699                 $ 40,000.00 NEGRON MIRANDA,           07/03/18   Employees Retirement           119297         $ 40,000.00
    JOANNY                                   System of the Government of                                      JOANNY                               System of the Government of
    APARTADO 1506                            the Commonwealth of Puerto                                       APARTADO 1506                        the Commonwealth of Puerto
    COAMO, PR 00769                          Rico                                                             COAMO, PR 00769                      Rico
                                             17 BK 03566-LTS                                                                                       17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
151 NEGRON QUILES,                05/15/18   Employees Retirement           13915                $ 58,208.42* NEGRON QUILES,            05/29/18   Employees Retirement           26174          $ 58,208.42
    YOLANDA I                                System of the Government of                                      YOLANDA I                            System of the Government of
    1294 CALLE JUAN BAIZ                     the Commonwealth of Puerto                                       1294 CALLE JUAN BAIZ                 the Commonwealth of Puerto
    APTO. 2308                               Rico                                                             APTO 2308                            Rico
    SAN JUAN, PR 00924-4647                  17 BK 03566-LTS                                                  SAN JUAN, PR 00924-4647              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
152 NEGRON QUINONES,              06/28/18   Employees Retirement           65111                 $ 75,000.00 NEGRON QUINONES,          07/03/18   Employees Retirement           99213          $ 75,000.00
    ANA D                                    System of the Government of                                      ANA D                                System of the Government of
    HC 01 BOX 3705                           the Commonwealth of Puerto                                       HC01 BOX 3705                        the Commonwealth of Puerto
    UTUADO, PR 00641                         Rico                                                             UTUADO, PR 00641                     Rico
                                             17 BK 03566-LTS                                                                                       17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
153 NEGRON VARGAS,                06/05/18   Employees Retirement           47782                 $ 88,780.56 NEGRON VARGAS,            06/08/18   Employees Retirement           78989         $ 88,780.56*
    SANTOS                                   System of the Government of                                      SANTOS                               System of the Government of
    PO BOX 191491                            the Commonwealth of Puerto                                       PO BOX 191491                        the Commonwealth of Puerto
    SAN JUAN, PR 00919-1491                  Rico                                                             SAN JUAN, PR 00919-1491              Rico
                                             17 BK 03566-LTS                                                                                       17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
154 NIEVES CRUZ, MAYRA S          06/29/18   Employees Retirement           83161                 $ 18,352.67 NIEVES CRUZ, MAYRA S      06/29/18   Employees Retirement           87121          $ 18,352.67
    AE 36 CALLE 31                           System of the Government of                                      URB INTERAMERICANA                   System of the Government of
    URB INTERAMERICANA                       the Commonwealth of Puerto                                       AE 36 CALLE 31                       the Commonwealth of Puerto
    TRUJILLO ALTO, PR                        Rico                                                             TRUJILLO ALTO, PR                    Rico
    00976                                    17 BK 03566-LTS                                                  00976                                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                            Page 30 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME               FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
155 NIEVES HERNANDEZ,             05/22/18   Employees Retirement           22852              Undetermined* NIEVES HERNANDEZ,          05/22/18   Employees Retirement           23743        Undetermined*
    BILLY                                    System of the Government of                                     BILLY                                 System of the Government of
    URB SANTIAGO                             the Commonwealth of Puerto                                      URB SANTIAGO                          the Commonwealth of Puerto
    IGLESIAS                                 Rico                                                            IGLESIAS                              Rico
    1456 INT C MANUEL                        17 BK 03566-LTS                                                 1456 CALLE MANUEL                     17 BK 03566-LTS
    TEXIDOR                                                                                                  TEXIDOR
    SAN JUAN, PR 00921                                                                                       SAN JUAN, PR 00921

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
156 NIEVES LUGO, OLGA             06/12/18   Employees Retirement           41213                 $ 67,014.40 NIEVES LUGO, OLGA         06/27/18   Employees Retirement           154476          $ 67,014.40
    PO BOX 22374                             System of the Government of                                      PO BOX 22374                         System of the Government of
    SAN JUAN, PR 00931-2374                  the Commonwealth of Puerto                                       SAN JUAN, PR 00931-2374              the Commonwealth of Puerto
                                             Rico                                                                                                  Rico
                                             17 BK 03566-LTS                                                                                       17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
157 NIEVES PAGAN, FAVIAN          06/06/18   Employees Retirement           31664                 $ 15,781.80 NIEVES PAGAN, FAVIAN      06/13/18   Employees Retirement           50092           $ 15,781.80
    VISTA DEL RIO II CARR.                   System of the Government of                                      VISTA DEL RIO                        System of the Government of
    8860 APTO. M1520                         the Commonwealth of Puerto                                       2 CARR. 8860                         the Commonwealth of Puerto
    TRUJILLO ALTO, PR                        Rico                                                             APTO. M1520                          Rico
    00976                                    17 BK 03566-LTS                                                  TRUJILLO ALTO, PR                    17 BK 03566-LTS
                                                                                                              00976

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
158 NIEVES RIVAS,                 06/25/18   Employees Retirement           88214              Undetermined* NIEVES RIVAS,              06/27/18   Employees Retirement           129713       Undetermined*
    MARGARITA                                System of the Government of                                     MARGARITA                             System of the Government of
                                             the Commonwealth of Puerto                                      PO BOX 515                            the Commonwealth of Puerto
                                             Rico                                                            PATILLAS, PR 00723-0515               Rico
                                             17 BK 03566-LTS                                                                                       17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
159 NIEVES RUIZ, ROSE V           05/18/18   Employees Retirement           12572                 $ 49,332.75 NIEVES RUIZ, ROSE V       05/18/18   Employees Retirement           16028          $ 49,332.75*
    106 CAMINO DE LA                         System of the Government of                                      106 CAMINO DE LA                     System of the Government of
    FUENTE                                   the Commonwealth of Puerto                                       FUENTE                               the Commonwealth of Puerto
    URB. MIRADERO                            Rico                                                             URB. MIRADERO                        Rico
    HUMACAO, PR 00791                        17 BK 03566-LTS                                                  HUMACAO, PR 00791                    17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                            Page 31 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME           FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
160 NIGAGLIONI                    05/23/18   Employees Retirement           14370               $ 109,895.00* NIGAGLIONI            05/23/18   Employees Retirement           18011         $ 109,895.00*
    RODRIGUEZ, MAYRA L.                      System of the Government of                                      RODRIGUEZ, MAYRA L.              System of the Government of
    URB ANTILLANA -                          the Commonwealth of Puerto                                       URB ANTILLANA                    the Commonwealth of Puerto
    ENCANTADA                                Rico                                                             ENCANTADA                        Rico
    AN 63 CALLE SAN                          17 BK 03566-LTS                                                  AN 63 PLAZA SAN                  17 BK 03566-LTS
    THOMAS                                                                                                    THOMAS
    TRUJILLO ALTO, PR                                                                                         TRUJILLO ALTO, PR
    00976-6126                                                                                                00976-6126

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
161 NISTAL REYES,                 07/03/18   Employees Retirement           48654                   $ 9,899.70 NISTAL REYES,        07/03/18   Employees Retirement           58924            $ 9,899.70
    VERONICA                                 System of the Government of                                       VERONICA                        System of the Government of
    HC 52 BOX 2820                           the Commonwealth of Puerto                                        HC 52 BOX 2820                  the Commonwealth of Puerto
    GARROCHALES, PR                          Rico                                                              GARROCHALES, PR                 Rico
    00652                                    17 BK 03566-LTS                                                   00652                           17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
162 NUNEZ ALICEA, NANCY           05/29/18   Employees Retirement           43337               $ 115,927.84* NUNEZ ALICEA, NANCY   05/29/18   Employees Retirement           43574         $ 115,927.84*
    M                                        System of the Government of                                      M                                System of the Government of
    COND VILLAMIL 163                        the Commonwealth of Puerto                                       COND VILLAMIL 163                the Commonwealth of Puerto
    APT C 4 CALLE                            Rico                                                             CALLE VILLAMIL APT               Rico
    VILLAMIL                                 17 BK 03566-LTS                                                  C4                               17 BK 03566-LTS
    SAN JUAN, PR 00907                                                                                        SAN JUAN, PR 00908

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
163 OCASIO BORGES, JUAN           06/27/18   Employees Retirement           85292                 $ 52,604.50 OCASIO BORGES, JUAN   06/27/18   Employees Retirement           101437          $ 52,604.50
    P                                        System of the Government of                                      P                                System of the Government of
    HC 3 BOX 41071                           the Commonwealth of Puerto                                       HO 03 BOX 41071                  the Commonwealth of Puerto
    CAGUAS, PR 00725                         Rico                                                             TOMAS DE CASTRO                  Rico
                                             17 BK 03566-LTS                                                  CAGUAS, PR 00754                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
164 OCASIO BORGES,                06/27/18   Employees Retirement           63524                 $ 71,250.00 OCASIO BORGES,        06/27/18   Employees Retirement           104221         $ 71,250.00*
    MAGDA LIZ                                System of the Government of                                      MAGDA LIZ                        System of the Government of
    HC 03 BOX 41072                          the Commonwealth of Puerto                                       HC 03 BOX 41072                  the Commonwealth of Puerto
    CAGUAS, PR 00725                         Rico                                                             CAGUAS, PR 00725                 Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 32 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
165 OCASIO BORGES,                06/27/18   Employees Retirement           89629                 $ 71,250.00 OCASIO BORGES,         06/27/18   Employees Retirement           104221        $ 71,250.00*
    MAGDA LIZ                                System of the Government of                                      MAGDA LIZ                         System of the Government of
    HC 03 BOX 41072                          the Commonwealth of Puerto                                       HC 03 BOX 41072                   the Commonwealth of Puerto
    CAGUAS, PR 00725                         Rico                                                             CAGUAS, PR 00725                  Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
166 OCASIO LLOPIZ,                06/05/18   Employees Retirement           46250                 $ 8,982.94* OCASIO LLOPIZ,         06/28/18   Employees Retirement           58858          $ 8,982.94*
    MARIBEL                                  System of the Government of                                      MARIBEL                           System of the Government of
    HC 01 BOX 29030, PMB                     the Commonwealth of Puerto                                       HC 01 BOX 29030, PMB              the Commonwealth of Puerto
    573                                      Rico                                                             573                               Rico
    CAGUAS, PR 00725                         17 BK 03566-LTS                                                  CAGUAS, PR 00725                  17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
167 OCASIO MONTALVO,              06/28/18   Employees Retirement           63839                $ 55,000.00* OCASIO MONTALVO,       07/11/18   Employees Retirement           116700        $ 55,000.00*
    CARLOS J                                 System of the Government of                                      CARLOS J                          System of the Government of
    HC 04 BOX 14842                          the Commonwealth of Puerto                                       HC 04 BOX 14842                   the Commonwealth of Puerto
    ARECIBO, PR 00612                        Rico                                                             ARECIBO, PR 00612                 Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
168 OCASIO ORTEGA,                07/03/18   Employees Retirement           41831                 $ 4,010.91* OCASIO ORTEGA,         07/03/18   Employees Retirement           65573          $ 4,010.91*
    GISELA M.                                System of the Government of                                      GISELA M.                         System of the Government of
    RR8 BOX 1430                             the Commonwealth of Puerto                                       RR 8 BOX 1430                     the Commonwealth of Puerto
    BAYAMON, PR 00956                        Rico                                                             BAYAMON, PR 00956                 Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
169 OLIVERAS VARGAS,              06/13/18   Employees Retirement           23993                   $ 8,910.12 OLIVERAS VARGAS,      06/13/18   Employees Retirement           42483           $ 8,910.12
    ALIS Y.                                  System of the Government of                                       ALIS Y.                          System of the Government of
    HC 1 BOX 3803                            the Commonwealth of Puerto                                        HC 1 BOX 3003                    the Commonwealth of Puerto
    UTUADO, PR 00641                         Rico                                                              UTUADO, PR 00641                 Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
170 OLMO VAZQUEZ, LYDIA           05/25/18   Employees Retirement           22461                $ 44,424.27* OLMO VAZQUEZ, LYDIA    06/06/18   Employees Retirement           59869          $ 44,424.27
    ESTHER                                   System of the Government of                                      ESTHER                            System of the Government of
    HC 02 BOX 7205                           the Commonwealth of Puerto                                       HC 02 BOX 7205                    the Commonwealth of Puerto
    LOIZA, PR 00772-9741                     Rico                                                             LOIZA, PR 00772-9741              Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 33 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
171 OQUENDO OQUENDO,              06/28/18   Employees Retirement           52697              Undetermined* OQUENDO OQUENDO,       06/28/18   Employees Retirement           60477        Undetermined*
    CANDIDA R.                               System of the Government of                                     CANDIDA R.                        System of the Government of
    HC-02 BOX 6968                           the Commonwealth of Puerto                                      HC-02 BOX 6968                    the Commonwealth of Puerto
    ADJUNTAS, PR 00601                       Rico                                                            ADJUNTAS, PR 00601                Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
172 OQUENDO TORRES,               06/28/18   Employees Retirement           114729             Undetermined* OQUENDO TORRES,        06/29/18   Employees Retirement           116886       Undetermined*
    JOSE LUIS                                System of the Government of                                     JOSE LUIS                         System of the Government of
    URB. 462 PO BOX 20000                    the Commonwealth of Puerto                                      PMB 462 PO BOX 20000              the Commonwealth of Puerto
    CANOVANAS, PR 00729                      Rico                                                            CANOVANAS, PR 00729               Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
173 OROZCO BETANCOURT,            06/18/18   Employees Retirement           78314                 $ 44,391.93 OROZCO BETANCOURT,    06/18/18   Employees Retirement           162851          $ 44,391.93
    AWILDA                                   System of the Government of                                      AWILDA                           System of the Government of
    RR 6 BOX 10945                           the Commonwealth of Puerto                                       RR NO. 6 BOX 10945               the Commonwealth of Puerto
    SAN JUAN, PR 00926                       Rico                                                             SAN JUAN, PR 00926               Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
174 OROZCO BETANCOURT,            06/18/18   Employees Retirement           79017                 $ 44,391.93 OROZCO BETANCOURT,    06/18/18   Employees Retirement           162851          $ 44,391.93
    AWILDA                                   System of the Government of                                      AWILDA                           System of the Government of
    CUPEY ALTO                               the Commonwealth of Puerto                                       RR NO. 6 BOX 10945               the Commonwealth of Puerto
    RR NUM. 6 BOX 10945                      Rico                                                             SAN JUAN, PR 00926               Rico
    RIO PIEDRAS, PR 00928-                   17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    0000

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
175 OROZCO BETANCOURT,            06/18/18   Employees Retirement           80640                 $ 44,391.93 OROZCO BETANCOURT,    06/18/18   Employees Retirement           162851          $ 44,391.93
    AWILDA                                   System of the Government of                                      AWILDA                           System of the Government of
    RR 6 BOX 10945                           the Commonwealth of Puerto                                       RR NO. 6 BOX 10945               the Commonwealth of Puerto
    SAN JUAN, PR 00926                       Rico                                                             SAN JUAN, PR 00926               Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
176 OROZCO BETANCOURT,            06/18/18   Employees Retirement           89396                 $ 44,391.93 OROZCO BETANCOURT,    06/18/18   Employees Retirement           162851          $ 44,391.93
    AWILDA                                   System of the Government of                                      AWILDA                           System of the Government of
    RR 6 BOX 10945                           the Commonwealth of Puerto                                       RR NO. 6 BOX 10945               the Commonwealth of Puerto
    SAN JUAN, PR 00926                       Rico                                                             SAN JUAN, PR 00926               Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 34 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
177 ORTA-RIVERA, MARIA            06/28/18   Employees Retirement           49198                 $ 56,545.44 ORTA-RIVERA, MARIA    06/28/18   Employees Retirement           62637          $ 56,545.44
    YOLANDA                                  System of the Government of                                      YOLANDA                          System of the Government of
    APTO 101-A VEREDAS                       the Commonwealth of Puerto                                       APTO 101-A VEREDAS               the Commonwealth of Puerto
    DE LA ESPINOSA                           Rico                                                             DE LA ESPINOSA                   Rico
    VEGA ALTA, PR 00692                      17 BK 03566-LTS                                                  VEGA ALTA, PR 00692              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
178 ORTEGA CABRERA,               06/21/18   Employees Retirement           66965                 $ 4,536.59* ORTEGA CABRERA,       06/21/18   Employees Retirement           80252          $ 4,536.59*
    MINERVA                                  System of the Government of                                      MINERVA                          System of the Government of
    PO BOX 3605                              the Commonwealth of Puerto                                       PO BOX 3605 BAYAMON              the Commonwealth of Puerto
    BAYAMON GARDEN                           Rico                                                             GARDEN                           Rico
    BAYAMON, PR 00958                        17 BK 03566-LTS                                                  BAYAMON, PR 00958                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
179 ORTEGA RIOS, GRISEL           05/08/18   Employees Retirement           10942                 $ 32,892.33 ORTEGA RIOS, GRISEL   05/08/18   Employees Retirement           11489         $ 32,892.33*
    SAINT JUST                               System of the Government of                                      SAINT JUST                       System of the Government of
    63 CALLE 6                               the Commonwealth of Puerto                                       63 CALLE 6                       the Commonwealth of Puerto
    TRUJILLO ALTO, PR                        Rico                                                             TRUJILLO ALTO, PR                Rico
    00976                                    17 BK 03566-LTS                                                  00976                            17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
180 ORTEGA SANTIAGO,              04/04/18   Employees Retirement            6550                $ 20,847.21* ORTEGA SANTIAGO,      04/04/18   Employees Retirement           6553          $ 20,847.21*
    ELIZABETH                                System of the Government of                                      ELIZABETH                        System of the Government of
    RR 3 BOX 4561                            the Commonwealth of Puerto                                       URB VENUS GARDENS                the Commonwealth of Puerto
    SAN JUAN, PR 00926                       Rico                                                             AF5 CALLE TORREON                Rico
                                             17 BK 03566-LTS                                                  SAN JUAN, PR 00926               17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
181 ORTEGA SANTIAGO,              04/04/18   Employees Retirement            6551                $ 20,847.21* ORTEGA SANTIAGO,      04/04/18   Employees Retirement           6553          $ 20,847.21*
    ELIZABETH                                System of the Government of                                      ELIZABETH                        System of the Government of
    RR 3 BOX 4561                            the Commonwealth of Puerto                                       URB VENUS GARDENS                the Commonwealth of Puerto
    SAN JUAN, PR 00926                       Rico                                                             AF5 CALLE TORREON                Rico
                                             17 BK 03566-LTS                                                  SAN JUAN, PR 00926               17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 35 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME          FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
182 ORTIZ COLLAZO,                04/04/18   Employees Retirement            4589                $ 45,740.34* ORTIZ COLLAZO,       04/04/18   Employees Retirement           6942           $ 45,740.34
    AIDELIZA                                 System of the Government of                                      AIDELIZA                        System of the Government of
    VILLA OLIMPICA                           the Commonwealth of Puerto                                       600 PASEO 4                     the Commonwealth of Puerto
    600 PASEO 4                              Rico                                                             SAN JUAN, PR 00924              Rico
    SAN JUAN, PR 00924                       17 BK 03566-LTS                                                                                  17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
183 ORTIZ COLLAZO,                04/04/18   Employees Retirement            4720                $ 45,740.34* ORTIZ COLLAZO,       04/04/18   Employees Retirement           6942           $ 45,740.34
    AIDELIZA                                 System of the Government of                                      AIDELIZA                        System of the Government of
    VIL OLIMPICA 600                         the Commonwealth of Puerto                                       600 PASEO 4                     the Commonwealth of Puerto
    PASEO 4                                  Rico                                                             SAN JUAN, PR 00924              Rico
    SAN JUAN, PR 00924                       17 BK 03566-LTS                                                                                  17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
184 ORTIZ COLLAZO,                04/04/18   Employees Retirement            6282                $ 45,740.34* ORTIZ COLLAZO,       04/04/18   Employees Retirement           6942           $ 45,740.34
    AIDELIZA                                 System of the Government of                                      AIDELIZA                        System of the Government of
    VILLA OLIMPICA                           the Commonwealth of Puerto                                       600 PASEO 4                     the Commonwealth of Puerto
    600 PASEO 4                              Rico                                                             SAN JUAN, PR 00924              Rico
    SAN JUAN, PR 00924                       17 BK 03566-LTS                                                                                  17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
185 ORTIZ COLLAZO,                04/04/18   Employees Retirement            6529                $ 45,740.34* ORTIZ COLLAZO,       04/04/18   Employees Retirement           6942           $ 45,740.34
    AIDELIZA                                 System of the Government of                                      AIDELIZA                        System of the Government of
    URB VILLA OLIMPICA                       the Commonwealth of Puerto                                       600 PASEO 4                     the Commonwealth of Puerto
    600 PASEO 4                              Rico                                                             SAN JUAN, PR 00924              Rico
    SAN JUAN, PR 00924                       17 BK 03566-LTS                                                                                  17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
186 ORTIZ COLLAZO,                04/04/18   Employees Retirement            6532                $ 45,740.34* ORTIZ COLLAZO,       04/04/18   Employees Retirement           6942           $ 45,740.34
    AIDELIZA                                 System of the Government of                                      AIDELIZA                        System of the Government of
    URB VILLA OLIMPICA                       the Commonwealth of Puerto                                       600 PASEO 4                     the Commonwealth of Puerto
    600 PASEO 4                              Rico                                                             SAN JUAN, PR 00924              Rico
    SAN JUAN, PR 00924                       17 BK 03566-LTS                                                                                  17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 36 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME              FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
187 ORTIZ DIAZ, AWILDA            05/25/18   Employees Retirement           27392              Undetermined* ORTIZ DIAZ, AWILDA       05/25/18   Employees Retirement           37246        Undetermined*
    525 CARR 8860 APT 2473                   System of the Government of                                     525 CARR 8860 APT 2473              System of the Government of
    TRUJILLO ALTO, PR                        the Commonwealth of Puerto                                      TRUJILLO ALTO, PR                   the Commonwealth of Puerto
    00976                                    Rico                                                            00976                               Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
188 ORTIZ LABOY,                  08/31/18   Employees Retirement           166119                $ 48,120.07 ORTIZ LABOY,            09/07/18   Employees Retirement           166714         $ 48,120.07*
    LOURDES M.                               System of the Government of                                      LOURDES M.                         System of the Government of
    CONDO. BAYAMONTE                         the Commonwealth of Puerto                                       CONDO. BAYAMONTE                   the Commonwealth of Puerto
    APTO. 401                                Rico                                                             APTO. 401                          Rico
    BAYAMON, PR 00959-                       17 BK 03566-LTS                                                  BAYAMON, PR 00956-                 17 BK 03566-LTS
    6601                                                                                                      6601

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
189 ORTIZ MORALES,                06/05/18   Employees Retirement           121142             Undetermined* ORTIZ MORALES,           07/02/18   Employees Retirement           143211       Undetermined*
    RUBEN                                    System of the Government of                                     RUBEN                               System of the Government of
    PO BOX 40654                             the Commonwealth of Puerto                                      PO BOX 40654                        the Commonwealth of Puerto
    SAN JUAN, PR 00940                       Rico                                                            SAN JUAN, PR 00940                  Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
190 ORTIZ NEGRON, ELVIRA          06/22/18   Employees Retirement           47930              Undetermined* ORTIZ NEGRON, ELVIRA     07/05/18   Employees Retirement           110590       Undetermined*
    EXT ALTA VISTA CALLE                     System of the Government of                                     EXT ALTA VISTA CALLE                System of the Government of
    25 V V 6                                 the Commonwealth of Puerto                                      25 V V 6                            the Commonwealth of Puerto
    PONCE, PR 00716                          Rico                                                            PONCE, PR 00716                     Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
191 ORTIZ PEREZ, JOSEFINA         06/28/18   Employees Retirement           145399             Undetermined* ORTIZ PEREZ, JOSEFINA    06/28/18   Employees Retirement           145484       Undetermined*
    BO. SANADORA                             System of the Government of                                     BO. SUMIDERO INT.                   System of the Government of
    INTERIOR SECTOR LOS                      the Commonwealth of Puerto                                      SECTOR LOS HUCARES                  the Commonwealth of Puerto
    HILARES                                  Rico                                                            CARR. 174 KM 21.9                   Rico
    CARR 174 KM 219                          17 BK 03566-LTS                                                 AGUAS BUENAS, PR                    17 BK 03566-LTS
    AGUAS BUENAS, PR                                                                                         00703
    00703

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 37 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
192 ORTIZ REYES, JESUS            06/29/18   Employees Retirement           147809                $ 50,169.04 ORTIZ REYES, JESUS    06/29/18   Employees Retirement           143183          $ 50,169.04
    19 NARANJITO                             System of the Government of                                      19 NARANJITO                     System of the Government of
    CAGUAS, PR 00727                         the Commonwealth of Puerto                                       CAGUAS, PR 00727                 the Commonwealth of Puerto
                                             Rico                                                                                              Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
193 ORTIZ RODRIGUEZ,              06/28/18   Employees Retirement           111582             Undetermined* ORTIZ RODRIGUEZ,       07/09/18   Employees Retirement           86198        Undetermined*
    HILDA                                    System of the Government of                                     HILDA                             System of the Government of
    PO BOX 952                               the Commonwealth of Puerto                                      PO BOX 952                        the Commonwealth of Puerto
    SAN GERMAN, PR 00683                     Rico                                                            SAN GERMAN, PR 00683              Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
194 ORTIZ SANTIAGO,               06/29/18   Employees Retirement           73213                 $ 75,000.00 ORTIZ SANTIAGO,       06/29/18   Employees Retirement           146881         $ 75,000.00*
    MARIE CARMEN                             System of the Government of                                      MARIE CARMEN                     System of the Government of
    URB. BRISAS DE MONTE                     the Commonwealth of Puerto                                       527 CALLE CONUCO                 the Commonwealth of Puerto
    CASINO                                   Rico                                                             URB. BRISAS DE                   Rico
    527 CALLE CONUCO                         17 BK 03566-LTS                                                  MONTECASINO                      17 BK 03566-LTS
    TOA ALTA, PR 00953                                                                                        TOA ALATA, PR 00953

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
195 ORTIZ SANTIAGO,               05/23/18   Employees Retirement           30657              Undetermined* ORTIZ SANTIAGO,        05/23/18   Employees Retirement           31349        Undetermined*
    WANDA I.                                 System of the Government of                                     WANDA I.                          System of the Government of
    URB LAS LEANDRAS                         the Commonwealth of Puerto                                      URB LAS LEANDRAS JJ5              the Commonwealth of Puerto
    JJ5 CALLE 21                             Rico                                                            CLALE 21                          Rico
    HUMACAO, PR 00791-                       17 BK 03566-LTS                                                 HUMACAO, PR 00791                 17 BK 03566-LTS
    3052

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
196 ORTIZ VEGA, YOLANDA           06/28/18   Employees Retirement           72903                 $ 47,255.50 ORTIZ VEGA, YOLANDA   06/29/18   Employees Retirement           164852         $ 47,255.50*
    864 CALLE 37 S.O. URB.                   System of the Government of                                      864 37 S.O URB. LAS              System of the Government of
    LAS LOMAS                                the Commonwealth of Puerto                                       LOMAS                            the Commonwealth of Puerto
    SAN JUAN, PR 00921                       Rico                                                             SAN JUAN, PR 00921               Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 38 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
197 ORTIZ, LUET                   05/24/18   Employees Retirement           16224                 $ 9,181.59* ORTIZ, LUET            05/24/18   Employees Retirement           20340          $ 9,181.59*
    D5 CALLE JAZMIN                          System of the Government of                                      D5 CALLE JAZMIN                   System of the Government of
    REPTO VALENCIA                           the Commonwealth of Puerto                                       REPTO VALENCIA                    the Commonwealth of Puerto
    BAYAMON, PR 00959                        Rico                                                             BAYAMON, PR 00959                 Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
198 OSORIO OSORIO,                06/27/18   Employees Retirement           56266                $ 75,000.00* OSORIO OSORIO,         06/27/18   Employees Retirement           122718        $ 75,000.00*
    HECTOR                                   System of the Government of                                      HECTOR                            System of the Government of
    HC-2 BOX 7106                            the Commonwealth of Puerto                                       HC-2 BOX 7106                     the Commonwealth of Puerto
    LOÍZA, PR 00772                          Rico                                                             LOIZA, PR 00772                   Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
199 OSSORIO JIMENEZ,              05/16/18   Employees Retirement           15524                $ 43,015.10* OSSORIO JIMENEZ,       05/16/18   Employees Retirement           15621          $ 43,015.10
    INGRID                                   System of the Government of                                      INGRID                            System of the Government of
    PO BOX 1827                              the Commonwealth of Puerto                                       URB. MONTE GRANDE                 the Commonwealth of Puerto
    CABO ROJO, PR 00623                      Rico                                                             CALLE AMALIA # 100                Rico
                                             17 BK 03566-LTS                                                  CABO ROJO, PR 00623               17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
200 OSTOLAZA CRUZ,                06/28/18   Employees Retirement           63166                 $ 47,711.56 OSTOLAZA CRUZ,         06/28/18   Employees Retirement           63707          $ 47,711.56
    GISELA                                   System of the Government of                                      GISELA                            System of the Government of
    509 CALLE LIMONSILLO                     the Commonwealth of Puerto                                       509 CALLE LIMONSILLO              the Commonwealth of Puerto
    URB. LOS ARBOLES                         Rico                                                             URB. LOS ARBOLES                  Rico
    RIO GRANDE, PR 00745                     17 BK 03566-LTS                                                  RIO GRANDE, PR 00745              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
201 OTERO MALAVE,                 06/28/18   Employees Retirement           53472                $ 29,000.00* OTERO MALAVE,          06/28/18   Employees Retirement           63312         $ 29,000.00*
    IVETTE                                   System of the Government of                                      IVETTE                            System of the Government of
    CALLE LOS PINOS #392                     the Commonwealth of Puerto                                       CALLE LOS PINOS #392              the Commonwealth of Puerto
    ALTOS                                    Rico                                                             PLANTA ALTA                       Rico
    EDUARDO CONDE                            17 BK 03566-LTS                                                  EDUARDO CONDE                     17 BK 03566-LTS
    FINAL                                                                                                     FINAL
    SAN JUAN, PR 00915                                                                                        SAN JUAN, PR 00915

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 39 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
202 OTERO ORTIZ, SYLVIA           06/20/18   Employees Retirement           44854                $ 41,514.52* OTERO ORTIZ, SYLVIA     06/25/18   Employees Retirement           71235          $ 41,514.52*
    ROSA                                     System of the Government of                                      ROSA                               System of the Government of
    URB. LEVITTOWN                           the Commonwealth of Puerto                                       URB.LEVITTOWN                      the Commonwealth of Puerto
    LAKES                                    Rico                                                             LAKES CALLE DR.COLL                Rico
    CALLE DR. COLL Y                         17 BK 03566-LTS                                                  Y TOSTE BB-1                       17 BK 03566-LTS
    TOSTE BB-1                                                                                                TOA BAJA, PR 00949
    TOA BAJA, PR 00949

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
203 OTERO ROSADO, JORGE           06/29/18   Employees Retirement           124057                $ 56,228.62 OTERO ROSADO, JORGE     06/29/18   Employees Retirement           165765          $ 56,228.62
    L                                        System of the Government of                                      L                                  System of the Government of
    REPARTO SAN ANTONIO                      the Commonwealth of Puerto                                       REPTO. SAN ANTONIO                 the Commonwealth of Puerto
    6070 CALLE TOPACIO                       Rico                                                             6070 CALLE TOPACIO                 Rico
    ISABELA, PR 00662                        17 BK 03566-LTS                                                  ISABELA, PR 00662                  17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
204 OTERO, EVELYN                 06/24/18   Employees Retirement           47283                 $ 64,073.17 OTERO, EVELYN           07/02/18   Employees Retirement           130039          $ 64,073.17
    200 SIERRA ALTA                          System of the Government of                                      200 SIERRA ALTA                    System of the Government of
    CARRETERA 842 BOX                        the Commonwealth of Puerto                                       CARR 842 BOX 135                   the Commonwealth of Puerto
    135                                      Rico                                                             SAN JUAN, PR 00926                 Rico
    SAN JUAN, PR 00926-9671                  17 BK 03566-LTS                                                                                     17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
205 OTERO, WILMER                 05/09/18   Employees Retirement           13156                $ 51,152.39* OTERO, WILMER           05/09/18   Employees Retirement           13284           $ 51,152.39
    LEBRON                                   System of the Government of                                      LEBRON                             System of the Government of
    743 ESTANCIAS DEL RIO                    the Commonwealth of Puerto                                       743 ESTANCIAS DEL RIO              the Commonwealth of Puerto
    HORMIGUEROS, PR                          Rico                                                             HORMIGUEROS, PR                    Rico
    00660                                    17 BK 03566-LTS                                                  00660                              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
206 OYOLA CRUZ, MILDRED           06/29/18   Employees Retirement           91546              Undetermined* OYOLA CRUZ, MILDRED      07/19/18   Employees Retirement           145198       Undetermined*
    APARTADO 141853                          System of the Government of                                     APARTADO 141853                     System of the Government of
    ARECIBO, PR 00614                        the Commonwealth of Puerto                                      ARECIBO, PR 00614                   the Commonwealth of Puerto
                                             Rico                                                                                                Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 40 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
207 PABON RIVERA,                 06/18/18   Employees Retirement           80487                 $ 6,937.44* PABON RIVERA,          06/26/18   Employees Retirement           50064            $ 6,937.44
    ROSALIA                                  System of the Government of                                      ROSALIA                           System of the Government of
    RR 9 BOX 1143                            the Commonwealth of Puerto                                       RR2 BOX 1143                      the Commonwealth of Puerto
    SAN JUAN, PR 00926                       Rico                                                             SAN JUAN, PR 00926                Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
208 PADILLA ORTIZ,                04/23/18   Employees Retirement            7994              Undetermined* PADILLA ORTIZ,          04/23/18   Employees Retirement           8067         Undetermined*
    MARISEL                                  System of the Government of                                     MARISEL                            System of the Government of
    PO BOX 561136                            the Commonwealth of Puerto                                      P O BOX 561136                     the Commonwealth of Puerto
    GUAYANILLA, PR 00656-                    Rico                                                            GUAYANILLA, PR 00656-              Rico
    3136                                     17 BK 03566-LTS                                                 3136                               17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
209 PADILLA ORTIZ,                04/23/18   Employees Retirement            8000              Undetermined* PADILLA ORTIZ,          04/23/18   Employees Retirement           8067         Undetermined*
    MARISEL                                  System of the Government of                                     MARISEL                            System of the Government of
    PO BOX 561136                            the Commonwealth of Puerto                                      P O BOX 561136                     the Commonwealth of Puerto
    GUAYANILLA, PR 00656                     Rico                                                            GUAYANILLA, PR 00656-              Rico
                                             17 BK 03566-LTS                                                 3136                               17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
210 PADILLA RAMOS, EDITH          06/27/18   Employees Retirement           84621              Undetermined* PADILLA RAMOS, EDITH    06/27/18   Employees Retirement           99419        Undetermined*
    HC 3 BOX 17725                           System of the Government of                                     HC 3 BOX 17725                     System of the Government of
    COAMO, PR 00769                          the Commonwealth of Puerto                                      COAMO, PR 00769                    the Commonwealth of Puerto
                                             Rico                                                                                               Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
211 PADILLA SOLER,                04/24/18   Employees Retirement            6820                 $ 41,799.13 PADILLA SOLER,         04/24/18   Employees Retirement           6859            $ 41,799.13
    MARIANGELLY                              System of the Government of                                      MARIANGELLY                       System of the Government of
    ESTANCIAS                                the Commonwealth of Puerto                                       PO BOX 194484                     the Commonwealth of Puerto
    TORTUGUERO 550                           Rico                                                             SAN JUAN, PR 00919                Rico
    TULIPA                                   17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    VEGA BAJA, PR 00693

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 41 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
212 PAGAN COLON, EVELYN           06/29/18   Employees Retirement           85278                 $ 21,600.00 PAGAN COLON, EVELYN    06/29/18   Employees Retirement           88765           $ 21,600.00
    PO BOX1767                               System of the Government of                                      PO BOX 1767                       System of the Government of
    MANATI, PR 00674                         the Commonwealth of Puerto                                       MANATI, PR 00674                  the Commonwealth of Puerto
                                             Rico                                                                                               Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
213 PAGAN LAUREANO,               06/29/18   Employees Retirement           67992                $ 50,927.25* PAGAN LAUREANO,        06/29/18   Employees Retirement           73242          $ 50,927.25*
    CARLOS A                                 System of the Government of                                      CARLOS A                          System of the Government of
    URB CANA AA 7 CALLE                      the Commonwealth of Puerto                                       URB CANA                          the Commonwealth of Puerto
    32                                       Rico                                                             AA7 CALLE 32                      Rico
    BAYAMON, PR 00957                        17 BK 03566-LTS                                                  BAYAMON, PR 00957-                17 BK 03566-LTS
                                                                                                              6204

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
214 PAGAN MALAVE,                 06/25/18   Employees Retirement           41107                 $ 27,942.79 PAGAN MALAVE,          06/25/18   Employees Retirement           49229           $ 27,942.79
    ARLEEN                                   System of the Government of                                      ARLEEN                            System of the Government of
    REPARTO DEL CARMEN                       the Commonwealth of Puerto                                       REPARTO DEL CARMEN                the Commonwealth of Puerto
    BOX 924                                  Rico                                                             BOX 924                           Rico
    COAMO, PR 00769-0000                     17 BK 03566-LTS                                                  COAMO, PR 00769-0000              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
215 PAGAN MENDEZ,                 06/29/18   Employees Retirement           134113             Undetermined* PAGAN MENDEZ,           06/29/18   Employees Retirement           150818       Undetermined*
    CARLOS J                                 System of the Government of                                     CARLOS J                           System of the Government of
    N 52 CALLE DEGETAU                       the Commonwealth of Puerto                                      N 52 CALLE DEGETAU                 the Commonwealth of Puerto
    JUANA DIAZ, PR 00795                     Rico                                                            JUANA DIAZ, PR 00795               Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
216 PAGAN MORALES,                06/26/18   Employees Retirement           53371                 $ 53,349.89 PAGAN MORALES,         07/06/18   Employees Retirement           160740          $ 53,349.89
    REINALDO                                 System of the Government of                                      REINALDO                          System of the Government of
    URB. EL CIBAO                            the Commonwealth of Puerto                                       URB. EL CIBAO                     the Commonwealth of Puerto
    CALLE BRAU # 4                           Rico                                                             CALLE BRAU # 4                    Rico
    CABO ROJO, PR 00623                      17 BK 03566-LTS                                                  CABO ROJO, PR 00623               17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 42 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
217 PAGAN RESTO,                  06/28/18   Employees Retirement           64518                 $ 32,184.80 PAGAN RESTO,           06/28/18   Employees Retirement           53440           $ 32,184.80
    MARGARITA                                System of the Government of                                      MARGARITA                         System of the Government of
    RR 04 BOX 3691                           the Commonwealth of Puerto                                       RR 04 BOX 3691                    the Commonwealth of Puerto
    CIDRA, PR 00739                          Rico                                                             CIDRA, PR 00739                   Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
218 PAGAN RIVERA,                 05/24/18   Employees Retirement           32876              Undetermined* PAGAN RIVERA,           05/29/18   Employees Retirement           38408        Undetermined*
    MIGUEL ANGEL                             System of the Government of                                     MIGUEL ANGEL                       System of the Government of
    PO BOX 435                               the Commonwealth of Puerto                                      PO BOX 435                         the Commonwealth of Puerto
    ARROYO, PR 00714                         Rico                                                            ARROYO, PR 00714                   Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
219 PAGAN, YAJAIRA                06/29/18   Employees Retirement           142735                $ 13,549.51 PAGAN, YAJAIRA         06/29/18   Employees Retirement           143681          $ 13,549.51
    AJ-10 39 JARDINES DE                     System of the Government of                                      AJ-10 39 JARDINES DE              System of the Government of
    COUNTRY CLUB                             the Commonwealth of Puerto                                       COUNTRY CLUB                      the Commonwealth of Puerto
    CAROLINA, PR 00983                       Rico                                                             CAROLINA, PR 00983                Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
220 PELLOT CRUZ, HECTOR           05/25/18   Employees Retirement           21244              Undetermined* PELLOT CRUZ, HECTOR     05/25/18   Employees Retirement           30338        Undetermined*
    SECTOR TOCONES 509                       System of the Government of                                     SECTOR TOCONES 509                 System of the Government of
    CALLE VIRTUD                             the Commonwealth of Puerto                                      CALLE VIRTUD                       the Commonwealth of Puerto
    ISABELA, PR 00662                        Rico                                                            ISABELA, PR 00662                  Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
221 PENA CORTES,                  06/25/18   Employees Retirement           41067                 $ 67,631.25 PENA CORTES,           06/25/18   Employees Retirement           52860           $ 67,631.25
    MILAGROS                                 System of the Government of                                      MILAGROS                          System of the Government of
    VILLA PRADES                             the Commonwealth of Puerto                                       VILLA PRADES                      the Commonwealth of Puerto
    632 CASIMIRO                             Rico                                                             632 CCASIMIRO                     Rico
    DUCHESNE                                 17 BK 03566-LTS                                                  DUCHESNE                          17 BK 03566-LTS
    SAN JUAN, PR 00924                                                                                        SAN JUAN, PR 00924

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
222 PENA HERNANDEZ,               07/02/18   Employees Retirement           96090                $ 52,309.43* PENA HERNANDEZ,        07/02/18   Employees Retirement           130487          $ 52,309.43
    MINERVA                                  System of the Government of                                      MINERVA                           System of the Government of
    FLAMBOYAN GARDENS                        the Commonwealth of Puerto                                       FLAMBOYAN GARDENS                 the Commonwealth of Puerto
    031 CALLE 19                             Rico                                                             0-31CALLE 19                      Rico
    BAYAMON, PR 00959                        17 BK 03566-LTS                                                  BAYAMON, PR 00959                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 43 of 97
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                                                                            Twenty-Ninth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
223 PENA HERNANDEZ,              07/02/18   Employees Retirement           122335               $ 52,309.43* PENA HERNANDEZ,       07/02/18   Employees Retirement           130487          $ 52,309.43
    MINERVA                                 System of the Government of                                      MINERVA                          System of the Government of
    FLAMBOYAN GARDENS                       the Commonwealth of Puerto                                       FLAMBOYAN GARDENS                the Commonwealth of Puerto
    031 CALLE 19                            Rico                                                             0-31CALLE 19                     Rico
    BAYAMON, PR 00959                       17 BK 03566-LTS                                                  BAYAMON, PR 00959                17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
224 PENA QUINTERO, NORA          05/24/18   Employees Retirement           31345                $ 60,000.00* PENA QUINTERO, NORA   05/24/18   Employees Retirement           129109         $ 60,000.00*
    M                                       System of the Government of                                      M                                System of the Government of
    PO BOX 270                              the Commonwealth of Puerto                                       PO BOX 270                       the Commonwealth of Puerto
    CATANO, PR 00963                        Rico                                                             CATANO, PR 00963                 Rico
                                            17 BK 03566-LTS                                                                                   17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
225 PERDOMO RAMIREZ,             06/29/18   Employees Retirement           90324                   $ 200.00* PERDOMO RAMIREZ,      06/29/18   Employees Retirement           90481            $ 200.00*
    ELSA ROSARIO                            System of the Government of                                      ELSA ROSARIO                     System of the Government of
    G-4 CALLE 6 URB.                        the Commonwealth of Puerto                                       G-4 CALLE 6 URB.                 the Commonwealth of Puerto
    MEDINA                                  Rico                                                             MEDINA                           Rico
    ISABELA, PR 00662                       17 BK 03566-LTS                                                  ISABELA, PR 00662                17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
226 PEREZ APONTE,                06/29/18   Employees Retirement           94529              Undetermined* PEREZ APONTE,          07/05/18   Employees Retirement           155146       Undetermined*
    IGDALIA E.                              System of the Government of                                     IGDALIA E.                        System of the Government of
    7207 GLENMOOR DRIVE                     the Commonwealth of Puerto                                      7207 GLENMOOR DR                  the Commonwealth of Puerto
    WEST PALM BEACH, FL                     Rico                                                            WEST PALM BEACH, FL               Rico
    33409                                   17 BK 03566-LTS                                                 33409-2828                        17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
227 PEREZ APONTE,                06/29/18   Employees Retirement           95014              Undetermined* PEREZ APONTE,          07/05/18   Employees Retirement           161816       Undetermined*
    IGDALIA E.                              System of the Government of                                     IGDALIA E.                        System of the Government of
    7207 GLENMOOR DRIVE                     the Commonwealth of Puerto                                      7207 GLENMOOR DR.                 the Commonwealth of Puerto
    WEST PALM BEACH, FL                     Rico                                                            WEST PALM BEACH, FL               Rico
    33409                                   17 BK 03566-LTS                                                 33409-2828                        17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
228 PEREZ BARRETO, JOEL          06/11/18   Employees Retirement           38878                $ 60,000.00* PEREZ BARRETO, JOEL   06/19/18   Employees Retirement           44591          $ 60,000.00*
    HC 04 BOX 14958                         System of the Government of                                      HC 04 BOX 14958                  System of the Government of
    MOCA, PR 00676                          the Commonwealth of Puerto                                       MOCA, PR 00676                   the Commonwealth of Puerto
                                            Rico                                                                                              Rico
                                            17 BK 03566-LTS                                                                                   17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 44 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
229 PEREZ CARABALLO,              06/28/18   Employees Retirement           53123              Undetermined* PEREZ CARABALLO,        06/29/18   Employees Retirement           58797        Undetermined*
    YVETTE                                   System of the Government of                                     YVETTE                             System of the Government of
    HC 02 BOX 6650                           the Commonwealth of Puerto                                      HC 02 BOX 6650                     the Commonwealth of Puerto
    JAYUYA, PR 00664-9606                    Rico                                                            JAYUYA, PR 00664-9606              Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
230 PEREZ DIAZ, IVETTE            06/29/18   Employees Retirement           69357                 $ 75,000.00 PEREZ DIAZ, IVETTE     06/29/18   Employees Retirement           78715           $ 75,000.00
    CONDOMINIO                               System of the Government of                                      CONDOMINIO                        System of the Government of
    ANDALUCIA                                the Commonwealth of Puerto                                       ANDALUCIA                         the Commonwealth of Puerto
    APARTAMENTO 503                          Rico                                                             APT 503                           Rico
    CAROLINA, PR 00987                       17 BK 03566-LTS                                                  CAROLINA, PR 00987                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
231 PEREZ GONZALEZ,               06/05/18   Employees Retirement           46732                $ 75,000.00* PEREZ GONZALEZ,        06/25/18   Employees Retirement           87345           $ 75,000.00
    YESENIA                                  System of the Government of                                      YESENIA                           System of the Government of
    HC-4 BOX 41905                           the Commonwealth of Puerto                                       HC-BOX 41905                      the Commonwealth of Puerto
    HATILLO, PR 00659                        Rico                                                             HATILLO, PR 00659                 Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
232 PEREZ IRIZARRY,               06/21/18   Employees Retirement           35610                 $ 57,354.27 PEREZ IRIZARRY,        06/21/18   Employees Retirement           60426           $ 57,354.27
    ROSAMARY                                 System of the Government of                                      ROSAMARY                          System of the Government of
    URB LOS CAOBOS                           the Commonwealth of Puerto                                       URB. LOS CALLE MOCA               the Commonwealth of Puerto
    CALLE MOCA #2079                         Rico                                                             # 2079                            Rico
    PONCE, PR 00716                          17 BK 03566-LTS                                                  PONCE, PR 00716                   17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
233 PEREZ MARTINEZ,               07/20/18   Employees Retirement           128696               $ 75,000.00* PEREZ MARTINEZ,        07/20/18   Employees Retirement           129086         $ 75,000.00*
    MARIA I                                  System of the Government of                                      MARIA I                           System of the Government of
    LAS BRISAS                               the Commonwealth of Puerto                                       LAS BRISAS                        the Commonwealth of Puerto
    131 CALLE 3                              Rico                                                             131 CALLE 3                       Rico
    ARECIBO, PR 00612                        17 BK 03566-LTS                                                  ARECIBO, PR 00612                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
234 PEREZ MORALES,                07/06/18   Employees Retirement           156894              $ 500,000.00* PEREZ MORALES,         07/06/18   Employees Retirement           158749        $ 500,000.00*
    DAMASO                                   System of the Government of                                      DAMASO                            System of the Government of
    PO BOX 6391                              the Commonwealth of Puerto                                       PO BOX 6391                       the Commonwealth of Puerto
    MAYAGUEZ, PR 00681                       Rico                                                             MAYAGUEZ, PR 00681                Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 45 of 97
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                                                                            Twenty-Ninth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
235 PEREZ PAGAN, CARMEN          06/05/18   Employees Retirement           60069                 $ 47,468.89 PEREZ PAGAN, CARMEN    06/05/18   Employees Retirement           74512           $ 47,468.89
    A.                                      System of the Government of                                      A.                                System of the Government of
    URB COLINAS DE                          the Commonwealth of Puerto                                       URB COLINAS DEL                   the Commonwealth of Puerto
    PLATA                                   Rico                                                             PLATA                             Rico
    14 CALLE CAMINO LAS                     17 BK 03566-LTS                                                  14 CALLE CAMINO LAS               17 BK 03566-LTS
    RIVERAS                                                                                                  RIBERAS
    TOA ALTA, PR 00953                                                                                       TOA ALTA, PR 00953

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
236 PEREZ RAMIREZ, MARIA         03/23/18   Employees Retirement            4352                 $ 35,609.64 PEREZ RAMIREZ, MARIA   03/23/18   Employees Retirement           4359            $ 35,609.64
    C                                       System of the Government of                                      C                                 System of the Government of
    URB JARDNINES DE                        the Commonwealth of Puerto                                       URB JARDINES DE                   the Commonwealth of Puerto
    BORINQUEN                               Rico                                                             BORINQUEN                         Rico
    CALLE PETUNIA U 11                      17 BK 03566-LTS                                                  U11 CALLE PETUNIA                 17 BK 03566-LTS
    CAROLINA, PR 00982                                                                                       CAROLINA, PR 00985

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
237 PEREZ SANTIAGO,              07/02/18   Employees Retirement           101843                $ 45,000.00 PEREZ SANTIAGO,        07/02/18   Employees Retirement           121660         $ 45,000.00*
    GLADYS                                  System of the Government of                                      GLADYS                            System of the Government of
    URB. EL ALAMO                           the Commonwealth of Puerto                                       D3 CALLE SAN                      the Commonwealth of Puerto
    CALLE SAN ANTONIO                       Rico                                                             ANTONIO                           Rico
    D-3                                     17 BK 03566-LTS                                                  URB. ALAMO                        17 BK 03566-LTS
    GUAYNABO, PR 00969                                                                                       GUAYNABO, PR 00969-
                                                                                                             0000

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
238 PEREZ TORRES,                06/28/18   Employees Retirement           113673               $ 67,053.17* PEREZ TORRES,          06/28/18   Employees Retirement           127775         $ 67,053.17*
    MADELINE                                System of the Government of                                      MADELINE                          System of the Government of
    PO BOX 1439                             the Commonwealth of Puerto                                       PO BOX 1439                       the Commonwealth of Puerto
    AGUAS BUENAS, PR                        Rico                                                             AGUAS BUENAS, PR                  Rico
    00703                                   17 BK 03566-LTS                                                  00703                             17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
239 PÉREZ VELÁZQUEZ,             06/20/18   Employees Retirement           43157              Undetermined* PÉREZ VELÁZQUEZ,        06/20/18   Employees Retirement           44428        Undetermined*
    CELSO G.                                System of the Government of                                     CELSO G.                           System of the Government of
    HC 3 BOX 15286                          the Commonwealth of Puerto                                      HC 3 BOX 15286                     the Commonwealth of Puerto
    YAUCO, PR 00698                         Rico                                                            YAUCO, PR 00698                    Rico
                                            17 BK 03566-LTS                                                                                    17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 46 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME           FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
240 PEREZ VELAZQUEZ,              05/22/18   Employees Retirement           16994                 $ 24,080.52 PEREZ VELAZQUEZ,      05/22/18   Employees Retirement           17234           $ 24,080.52
    OMAR                                     System of the Government of                                      OMAR                             System of the Government of
    URB SANTA ISIDRA LL                      the Commonwealth of Puerto                                       URB SANTA ISIDRA II              the Commonwealth of Puerto
    219 CALLE 1                              Rico                                                             219 CALLE 1                      Rico
    FAJARDO, PR 00738-4181                   17 BK 03566-LTS                                                  FAJARDO, PR 00738                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
241 PEREZ VELEZ, MOISES           06/29/18   Employees Retirement           79592              Undetermined* PEREZ VELEZ, MOISES    07/03/18   Employees Retirement           142054       Undetermined*
    URB MIRAFLORES                           System of the Government of                                     URB MIRAFLORES                    System of the Government of
    BLOQUE 1 4 CALLE                         the Commonwealth of Puerto                                      BLOQUE 1 4 CALLE                  the Commonwealth of Puerto
    ALBAR                                    Rico                                                            ALBAR                             Rico
    BAYAMON, PR 00957                        17 BK 03566-LTS                                                 BAYAMON, PR 00957                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
242 PIÑEIRO MONTERO,              06/01/18   Employees Retirement           29748                 $ 7,729.33* PIÑEIRO MONTERO,      06/01/18   Employees Retirement           29802            $ 7,729.33
    IVELITH                                  System of the Government of                                      IVELITH                          System of the Government of
    COOPERATIVA                              the Commonwealth of Puerto                                       COOPERATIVA                      the Commonwealth of Puerto
    JARDINES DE SAN                          Rico                                                             JARDINES DE SAN                  Rico
    IGNACIO                                  17 BK 03566-LTS                                                  IGNACIO                          17 BK 03566-LTS
    APTO. 1609 B                                                                                              APTO. 1609 B
    SAN JUAN, PR 00927                                                                                        SAN JUAN, PR 00927

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
243 PINEIRO SANCHEZ,              06/26/18   Employees Retirement           93801               $ 216,320.68* PINEIRO SANCHEZ,      06/26/18   Employees Retirement           95578         $ 216,320.68*
    MARITZA                                  System of the Government of                                      MARITZA                          System of the Government of
    URB. LAS HACIENDAS                       the Commonwealth of Puerto                                       URB COUNTRY CLUB                 the Commonwealth of Puerto
    15019 VEREDA VERDE                       Rico                                                             HT 14 CALLE 232                  Rico
    CANOVANAS, PR 00729                      17 BK 03566-LTS                                                  CAROLINA, PR 00982               17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
244 PINERO ROSARIO,               06/28/18   Employees Retirement           65980              Undetermined* PINERO ROSARIO,        07/05/18   Employees Retirement           74976        Undetermined*
    YOLANDA                                  System of the Government of                                     YOLANDA                           System of the Government of
    URB VERDE MAR                            the Commonwealth of Puerto                                      URB VERDE MAR                     the Commonwealth of Puerto
    595 CALLE 20                             Rico                                                            595 CALLE 20                      Rico
    HUMACAO, PR 00741                        17 BK 03566-LTS                                                 HUMACAO, PR 00741                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 47 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
245 PINERO RUIZ, IDA I            05/29/18   Employees Retirement           31020                 $ 44,474.22 PINERO RUIZ, IDA I     05/29/18   Employees Retirement           32713          $ 44,474.22
    PO BOX 1253                              System of the Government of                                      PO BOX 1253                       System of the Government of
    FAJARDO, PR 00738                        the Commonwealth of Puerto                                       FAJARDO, PR 00738                 the Commonwealth of Puerto
                                             Rico                                                                                               Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
246 PINERO RUIZ, IDA I            05/29/18   Employees Retirement           31340                 $ 44,474.22 PINERO RUIZ, IDA I     05/29/18   Employees Retirement           32713          $ 44,474.22
    PO BOX 1253                              System of the Government of                                      PO BOX 1253                       System of the Government of
    FAJARDO, PR 00738                        the Commonwealth of Puerto                                       FAJARDO, PR 00738                 the Commonwealth of Puerto
                                             Rico                                                                                               Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
247 PINET CARRASQUILLO,           05/29/18   Employees Retirement           30685                 $ 37,437.88 PINET CARRASQUILLO,    05/29/18   Employees Retirement           45661          $ 37,437.88
    ALEJANDRINA                              System of the Government of                                      ALEJANDRINA                       System of the Government of
    ALTURAS DE RIO                           the Commonwealth of Puerto                                       BOX 1126                          the Commonwealth of Puerto
    GRANDE                                   Rico                                                             RIO GRANDE, PR 00745              Rico
    DE-69 CALLE 14                           17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    RIO GRANDE, PR 00745

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
248 PINET CARRASQUILLO,           05/29/18   Employees Retirement           42055                 $ 37,437.88 PINET CARRASQUILLO,    05/29/18   Employees Retirement           45661          $ 37,437.88
    ALEJANDRINA                              System of the Government of                                      ALEJANDRINA                       System of the Government of
    ALTURAS DE RIO                           the Commonwealth of Puerto                                       BOX 1126                          the Commonwealth of Puerto
    GRANDE                                   Rico                                                             RIO GRANDE, PR 00745              Rico
    CALLE 14 DE-69                           17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    RIO GRANDE, PR 00745

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
249 PINTADO RODRIGUEZ,            05/31/18   Employees Retirement           30340                $ 35,000.00* PINTADO RODRIGUEZ,     05/31/18   Employees Retirement           30404          $ 35,000.00
    LUZ EUGENIA                              System of the Government of                                      LUZ EUGENIA                       System of the Government of
    PO BOX 4491                              the Commonwealth of Puerto                                       PO BOX 4491                       the Commonwealth of Puerto
    CAROLINA, PR 00984-                      Rico                                                             CAROLINA, PR 00984-               Rico
    4491                                     17 BK 03566-LTS                                                  4491                              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 48 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                  NAME           FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
250 PIZARRO ALVAREZ,              05/29/18   Employees Retirement           32365                 $ 2,569.75* PIZARRO ALVAREZ,       05/29/18   Employees Retirement           40060           $ 2,569.75*
    MARISOL                                  System of the Government of                                      MARISOL                           System of the Government of
    2 RES SAN PATRICIO                       the Commonwealth of Puerto                                       2 RES SAN PATRICIO                the Commonwealth of Puerto
    APT 10                                   Rico                                                             APT 9                             Rico
    LOIZA, PR 00772-1702                     17 BK 03566-LTS                                                  LOIZA, PR 00772-1702              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
251 PLAZA HERNANDEZ,              06/22/18   Employees Retirement           47933              Undetermined* PLAZA HERNANDEZ,        06/25/18   Employees Retirement           90237        Undetermined*
    MARGARITA                                System of the Government of                                     MARGARITA                          System of the Government of
    HC 02 BOX 10500                          the Commonwealth of Puerto                                      HC 02 BOX 10500                    the Commonwealth of Puerto
    YAUCO, PR 00698                          Rico                                                            YAUCO, PR 00698                    Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
252 POMALES POGGI,                06/29/18   Employees Retirement           83976                 $ 44,950.29 POMALES POGGI,         06/29/18   Employees Retirement           84995           $ 44,950.29
    BRENDA L                                 System of the Government of                                      BRENDA L                          System of the Government of
    1300 CALLE ATENAS                        the Commonwealth of Puerto                                       1300 CALLE ATENAS                 the Commonwealth of Puerto
    APT 1108                                 Rico                                                             APT 1108                          Rico
    SAN JUAN, PR 00926                       17 BK 03566-LTS                                                  SAN JUAN, PR 00926                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
253 PONCE DE LEON BERIO,          06/26/18   Employees Retirement           92938              Undetermined* PONCE DE LEON BERIO,    06/26/18   Employees Retirement           112569       Undetermined*
    OLGA Y.                                  System of the Government of                                     OLGA Y.                            System of the Government of
    672 LUIS A. MORALES                      the Commonwealth of Puerto                                      672 LUIS A MORALES                 the Commonwealth of Puerto
    ESTANCIAS DEL GOLF                       Rico                                                            URB. ESTANCIAS DEL                 Rico
    CLUB                                     17 BK 03566-LTS                                                 GOLF CLUB                          17 BK 03566-LTS
    PONCE, PR 00730                                                                                          PONCE, PR 00730

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
254 QUESADA GASTON,               06/27/18   Employees Retirement           110955             Undetermined* QUESADA GASTON,         06/28/18   Employees Retirement           74917        Undetermined*
    EMMA                                     System of the Government of                                     EMMA                               System of the Government of
    URB BELLA VISTA CA.                      the Commonwealth of Puerto                                      URB BUENA VISTA                    the Commonwealth of Puerto
    BONITA # 1314                            Rico                                                            1314 CALLE BONITA                  Rico
    PONCE, PR 00717-2509                     17 BK 03566-LTS                                                 PONCE, PR 00717-2509               17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 49 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME               FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
255 QUINONES ANDREU,              06/27/18   Employees Retirement           56450                 $ 73,000.00 QUINONES ANDREU,          06/27/18   Employees Retirement           58757          $ 73,000.00
    SHARON I.                                System of the Government of                                      SHARON I.                            System of the Government of
    11319 CALLE REINA                        the Commonwealth of Puerto                                       11319 CALLE REINA                    the Commonwealth of Puerto
    VICTORIA                                 Rico                                                             VICTORIA                             Rico
    RIO GRANDE, PR 00745                     17 BK 03566-LTS                                                  RIO GRANDE, PR 00745                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
256 QUINONES BARRIS,              04/21/18   Employees Retirement            6659                $ 116,456.19 QUINONES BARRIS,          04/21/18   Employees Retirement           6638          $ 116,456.19
    EDNA                                     System of the Government of                                      EDNA                                 System of the Government of
    REINA SOFIA I-4                          the Commonwealth of Puerto                                       REINA SOFIA I-4                      the Commonwealth of Puerto
    MANSIONES REALES                         Rico                                                             MANSIONES REALES                     Rico
    GUAYNABO, PR 00969                       17 BK 03566-LTS                                                  GUAYNABO, PR 00969                   17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
257 QUINONES CALDERON,            05/25/18   Employees Retirement           20931                 $ 42,932.47 QUINONES CALDERON,        05/25/18   Employees Retirement           21726         $ 42,932.47*
    DAPHNE A                                 System of the Government of                                      DAPHNE A                             System of the Government of
    PO BOX 19                                the Commonwealth of Puerto                                       PO BOX 19                            the Commonwealth of Puerto
    LOIZA, PR 00772                          Rico                                                             LOIZA, PR 00772                      Rico
                                             17 BK 03566-LTS                                                                                       17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
258 QUINONES ESTRADA,             03/17/18   Employees Retirement            3157                 $ 15,799.34 QUINONES ESTRADA,         03/22/18   Employees Retirement           4049           $ 15,799.34
    SOL J                                    System of the Government of                                      SOL J                                System of the Government of
    P O BOX 9300033                          the Commonwealth of Puerto                                       PO BOX 9300033                       the Commonwealth of Puerto
    SAN JUAN, PR 00928-5433                  Rico                                                             SAN JUAN, PR 00928-5433              Rico
                                             17 BK 03566-LTS                                                                                       17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
259 QUINONES RIVERA,              06/28/18   Employees Retirement           66507                 $ 68,886.88 QUINONES RIVERA,          06/28/18   Employees Retirement           73606          $ 68,886.88
    MARIA T.                                 System of the Government of                                      MARIA T.                             System of the Government of
    VILLA DEL OESTE                          the Commonwealth of Puerto                                       VILLA DEL OESTE                      the Commonwealth of Puerto
    ARIES 610                                Rico                                                             ARIES 610                            Rico
    MAYAGUEZ, PR 00682                       17 BK 03566-LTS                                                  MAYAGUEZ, PR 00682                   17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
260 QUINONES RODRIGUEZ,           05/29/18   Employees Retirement           28569                 $ 56,369.17 QUINONES RODRIGUEZ,       06/05/18   Employees Retirement           52908         $ 56,369.17*
    REBECA                                   System of the Government of                                      REBECA                               System of the Government of
    JARDS DE CAROLINA                        the Commonwealth of Puerto                                       JARDS DE CAROLINA                    the Commonwealth of Puerto
    H19 CALLE I                              Rico                                                             H19 CALLE I                          Rico
    CAROLINA, PR 00987                       17 BK 03566-LTS                                                  CAROLINA, PR 00987                   17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                            Page 50 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
261 QUINONES TROCHE,              06/29/18   Employees Retirement           80743                 $ 52,763.42 QUINONES TROCHE,        07/05/18   Employees Retirement           153893          $ 52,763.42
    ALMA C.                                  System of the Government of                                      ALMA C.                            System of the Government of
    URB. HILL VIEW                           the Commonwealth of Puerto                                       URB HILL VIEW LAKE                 the Commonwealth of Puerto
    CALLE LAKE NUM. 328                      Rico                                                             CALLE 328                          Rico
    YAUCO, PR 00698                          17 BK 03566-LTS                                                  YAUCO, PR 00698-2854               17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
262 QUINONES VARELA,              06/29/18   Employees Retirement           75961                $ 48,047.01* QUINONES VARELA,        06/29/18   Employees Retirement           76072          $ 48,047.01*
    JOSE A.                                  System of the Government of                                      JOSE A.                            System of the Government of
    196 VALLE DE STA.                        the Commonwealth of Puerto                                       196 VALLE DE STA.                  the Commonwealth of Puerto
    OLAYA                                    Rico                                                             OLAYA                              Rico
    BAYAMON, PR 00956-                       17 BK 03566-LTS                                                  BAYAMON, PR 00956-                 17 BK 03566-LTS
    9468                                                                                                      9468

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
263 QUINTANA RIVERA,              06/28/18   Employees Retirement           71319                 $ 63,864.53 QUINTANA RIVERA,        06/29/18   Employees Retirement           128260         $ 63,864.53*
    LOURDES                                  System of the Government of                                      LOURDES                            System of the Government of
    URB. LAGO HORIZONTE                      the Commonwealth of Puerto                                       URB. LAGO HORIZONTE                the Commonwealth of Puerto
    3511 CALLE DIAMANTE                      Rico                                                             3511 CALLE DIAMANTE                Rico
    COTO LAUREL, PR 00780                    17 BK 03566-LTS                                                  COTO LAUREL, PR 00780              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
264 QUIRINDONGO                   06/26/18   Employees Retirement           93634              Undetermined* QUIRINDONGO              06/26/18   Employees Retirement           105116       Undetermined*
    FELICIANO, DAISY                         System of the Government of                                     FELICIANO, DAISY                    System of the Government of
    49B RODOLFO                              the Commonwealth of Puerto                                      49B RODULFO                         the Commonwealth of Puerto
    GONZALES                                 Rico                                                            GONZALES                            Rico
    ADJUNTAS, PR 00601                       17 BK 03566-LTS                                                 ADJUNTAS, PR 00601                  17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
265 RALAT RIVERA, TANIA           06/29/18   Employees Retirement           143006                $ 96,315.14 RALAT RIVERA, TANIA     07/03/18   Employees Retirement           131154          $ 96,315.14
    URB RIO PIEDRAS                          System of the Government of                                      RIO PIEDRAS VALLEY                 System of the Government of
    VALLEY                                   the Commonwealth of Puerto                                       CALLE AZUCENA #1                   the Commonwealth of Puerto
    1 CALLE AZUCENA                          Rico                                                             SAN JUAN, PR 00926                 Rico
    SAN JUAN, PR 00926                       17 BK 03566-LTS                                                                                     17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 51 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
266 RAMIREZ ROSARIO,              05/25/18   Employees Retirement           26752                $ 19,976.62* RAMIREZ ROSARIO,        05/25/18   Employees Retirement           26753         $ 19,976.62*
    JESSICA S.                               System of the Government of                                      JESSICA S.                         System of the Government of
    CALLE 23 V20 RIO                         the Commonwealth of Puerto                                       CALLE 23 U20 RIO                   the Commonwealth of Puerto
    GRANDE ESTATES                           Rico                                                             GRANDE ESTATES                     Rico
    RIO GRANDE, PR 00745                     17 BK 03566-LTS                                                  RIO GRANDE, PR 00745               17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
267 RAMIREZ TORRES,               06/29/18   Employees Retirement           67810                 $ 42,573.72 RAMIREZ TORRES,         06/29/18   Employees Retirement           80627          $ 42,573.72
    AWILDA                                   System of the Government of                                      AWILDA                             System of the Government of
    #P-46 CALLE SAN                          the Commonwealth of Puerto                                       #P-46 CALLE SAN                    the Commonwealth of Puerto
    MIGUEL                                   Rico                                                             MIGUEL                             Rico
    URB. MARIOLGA                            17 BK 03566-LTS                                                  CAGUAS, PR 00725-6435              17 BK 03566-LTS
    CAGUAS, PR 00725

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
268 RAMIREZ VELEZ,                06/27/18   Employees Retirement           39172                 $ 77,260.88 RAMIREZ VELEZ,          07/02/18   Employees Retirement           142194         $ 77,260.88
    MIRIAM                                   System of the Government of                                      MIRIAM                             System of the Government of
    PO BOX 1176                              the Commonwealth of Puerto                                       PO BOX 1176                        the Commonwealth of Puerto
    LUQUILLO, PR 00773                       Rico                                                             LUQUILLO, PR 00773                 Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
269 RAMIREZ VELEZ,                06/26/18   Employees Retirement           51961                 $ 77,260.88 RAMIREZ VELEZ,          07/02/18   Employees Retirement           142194         $ 77,260.88
    MIRIAM                                   System of the Government of                                      MIRIAM                             System of the Government of
    PO BOX 1176                              the Commonwealth of Puerto                                       PO BOX 1176                        the Commonwealth of Puerto
    LUQUILLO, PR 00773                       Rico                                                             LUQUILLO, PR 00773                 Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
270 RAMIREZ VELEZ,                06/26/18   Employees Retirement           52777                 $ 77,260.88 RAMIREZ VELEZ,          07/02/18   Employees Retirement           142194         $ 77,260.88
    MIRIAM                                   System of the Government of                                      MIRIAM                             System of the Government of
    PO BOX 1176                              the Commonwealth of Puerto                                       PO BOX 1176                        the Commonwealth of Puerto
    LUQUILLO, PR 00773                       Rico                                                             LUQUILLO, PR 00773                 Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 52 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME           FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
271 RAMOS FIGUEROA,               07/06/18   Employees Retirement           160502             Undetermined* RAMOS FIGUEROA,       07/06/18   Employees Retirement           165207       Undetermined*
    MARIA L                                  System of the Government of                                     MARIA L                          System of the Government of
    HC 33 BOX 5262                           the Commonwealth of Puerto                                      HC 33 BOX 5262                   the Commonwealth of Puerto
    DORADO, PR 00646                         Rico                                                            DORADO                           Rico
                                             17 BK 03566-LTS                                                 DORADO, PR 00646                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
272 RAMOS GONZALEZ,               06/29/18   Employees Retirement           137627             Undetermined* RAMOS GONZALEZ,       07/05/18   Employees Retirement           152718       Undetermined*
    MYRNA E                                  System of the Government of                                     MYRNA E                          System of the Government of
    URB. EXTENSION                           the Commonwealth of Puerto                                      URB. EXTENSION                   the Commonwealth of Puerto
    ELIZABETH                                Rico                                                            ELIZABETH                        Rico
    5117 CALLE CANTARES                      17 BK 03566-LTS                                                 5117 CALLE CANTARES              17 BK 03566-LTS
    CABO ROJO, PR 00623                                                                                      CABO ROJO, PR 00623

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
273 RAMOS MALAVE,                 06/27/18   Employees Retirement           55405              Undetermined* RAMOS MALAVE,         06/27/18   Employees Retirement           59228        Undetermined*
    EVELYN                                   System of the Government of                                     EVELYN                           System of the Government of
    L31 CALLE 14                             the Commonwealth of Puerto                                      L31 CALLE 14                     the Commonwealth of Puerto
    URB EL                                   Rico                                                            URB EL                           Rico
    CONQUISTADOR                             17 BK 03566-LTS                                                 CONQUISTADOR                     17 BK 03566-LTS
    TRUJILLO ALTO, PR                                                                                        TRUJILLO ALTO, PR
    00976                                                                                                    00976

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
274 RAMOS MENDEZ,                 04/20/18   Employees Retirement            6149                 $ 81,770.99 RAMOS MENDEZ,        05/01/18   Employees Retirement           8696            $ 81,770.99
    IVETTE                                   System of the Government of                                      IVETTE                          System of the Government of
    BO MAIZALES                              the Commonwealth of Puerto                                       HC 1 BOX 4236                   the Commonwealth of Puerto
    HC-01 BOX 4236                           Rico                                                             BO.MAZALES                      Rico
    NAGUABO, PR 00718-                       17 BK 03566-LTS                                                  NAGUABO, PR 00718               17 BK 03566-LTS
    9708

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
275 RAMOS PEREZ,                  06/29/18   Employees Retirement           137019                $ 25,000.00 RAMOS PEREZ,         06/29/18   Employees Retirement           167939          $ 25,000.00
    JEANNETTE                                System of the Government of                                      JEANNETTE                       System of the Government of
    VILLA DEL CARMEN                         the Commonwealth of Puerto                                       VILLA DEL CARMEN /              the Commonwealth of Puerto
    TENDAL #2056                             Rico                                                             TENDAL 2056                     Rico
    PONCE, PR 00716                          17 BK 03566-LTS                                                  PONCE, PR 00716                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 53 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME           FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
276 RAMOS QUILES,                 07/05/18   Employees Retirement           133210                $ 55,054.81 RAMOS QUILES,         06/19/18   Employees Retirement           44654          $ 55,054.81*
    CARLOS L.                                System of the Government of                                      CARLOS L.                        System of the Government of
    PO BOX 1347                              the Commonwealth of Puerto                                       PO BOX 1347                      the Commonwealth of Puerto
    JAYUYA, PR 00664                         Rico                                                             JAYUYA, PR 00664                 Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
277 RAMOS SANJURJO,               05/29/18   Employees Retirement           26525              Undetermined* RAMOS SANJURJO,        05/29/18   Employees Retirement           28440        Undetermined*
    ZAYRA                                    System of the Government of                                     ZAYRA                             System of the Government of
    URB LOS ARBOLES                          the Commonwealth of Puerto                                      452 CALLE BUCARE                  the Commonwealth of Puerto
    452 CALLE BUCARE                         Rico                                                            RIO GRANDE, PR 00745              Rico
    RIO GRANDE, PR 00745                     17 BK 03566-LTS                                                                                   17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
278 RAMOS SANJURJO,               05/29/18   Employees Retirement           27675              Undetermined* RAMOS SANJURJO,        05/29/18   Employees Retirement           28440        Undetermined*
    ZAYRA                                    System of the Government of                                     ZAYRA                             System of the Government of
    URB LOS ARBOLES                          the Commonwealth of Puerto                                      452 CALLE BUCARE                  the Commonwealth of Puerto
    452 CALLE BUCARE                         Rico                                                            RIO GRANDE, PR 00745              Rico
    RIO GRANDE, PR 00745                     17 BK 03566-LTS                                                                                   17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
279 RAMOS SANTIAGO,               05/25/18   Employees Retirement           31719              Undetermined* RAMOS SANTIAGO,        05/25/18   Employees Retirement           33827        Undetermined*
    NOEL                                     System of the Government of                                     NOEL                              System of the Government of
    PO BOX 450                               the Commonwealth of Puerto                                      P O BOX 450                       the Commonwealth of Puerto
    PENUELAS, PR 00624                       Rico                                                            PENUELAS, PR 00624                Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
280 RAMOS SERRANO,                06/22/18   Employees Retirement           37805                $ 64,400.00* RAMOS SERRANO,        06/22/18   Employees Retirement           47768          $ 64,400.00*
    GUARIONEX                                System of the Government of                                      GUARIONEX                        System of the Government of
    URB. VILLA GRANADA                       the Commonwealth of Puerto                                       URB. VILLA GRANADA               the Commonwealth of Puerto
    507 CALLE TERUEL                         Rico                                                             507 CALLE TERUEL                 Rico
    SAN JUAN, PR 00923                       17 BK 03566-LTS                                                  SAN JUAN, PR 00923               17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
281 RAMOS ZAVALA, DIANA           05/25/18   Employees Retirement           32051                 $ 73,039.10 RAMOS ZAVALA, DIANA   05/25/18   Employees Retirement           33323           $ 73,039.10
    VILLA DEL REY 4 HH3                      System of the Government of                                      VILLA DEL REY 4                  System of the Government of
    CALLE 15A                                the Commonwealth of Puerto                                       HH3 CALLE 15                     the Commonwealth of Puerto
    CAGUAS, PR 00727                         Rico                                                             CAGUAS, PR 00725                 Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 54 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME               FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
282 RENDON FIGUEROA,              06/26/18   Employees Retirement           95555                $ 185,000.00 RENDON FIGUEROA,          07/06/18   Employees Retirement           164321        $ 185,000.00
    MANUEL RAMON                             System of the Government of                                      MANUEL RAMON                         System of the Government of
    COND. MIRAMAR                            the Commonwealth of Puerto                                       COND. MIRAMAR                        the Commonwealth of Puerto
    PLAZA APTO. 15-C                         Rico                                                             PLAZA APTO. 15-C                     Rico
    SAN JUAN, PR 00907-0000                  17 BK 03566-LTS                                                  SAN JUAN, PR 00907-0000              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
283 REQUENA VELEZ,                09/18/17   Employees Retirement             232                $ 100,000.00 REQUENA VELEZ,            09/18/17   Employees Retirement            236          $ 100,000.00
    WALESKA                                  System of the Government of                                      WALESKA                              System of the Government of
    BOX 233, VICTORIA                        the Commonwealth of Puerto                                       BOX 233, VICTORIA                    the Commonwealth of Puerto
    STATION                                  Rico                                                             STATION                              Rico
    AGUADILLA, PR 00605                      17 BK 03566-LTS                                                  AGUADILLA, PR 00605                  17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
284 RESTO GONZÁLEZ,               06/12/18   Employees Retirement           40663                 $ 21,631.91 RESTO GONZÁLEZ,           06/13/18   Employees Retirement           41049          $ 21,631.91
    ISABEL                                   System of the Government of                                      ISABEL                               System of the Government of
    P.O. BOX 885                             the Commonwealth of Puerto                                       P.O. BOX 885                         the Commonwealth of Puerto
    JAYUYA, PR 00664                         Rico                                                             JAYUYA, PR 00664                     Rico
                                             17 BK 03566-LTS                                                                                       17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
285 REVEROL SAAVEDRA,             06/29/18   Employees Retirement           79377                 $ 40,000.00 REVEROL SAAVEDRA,         06/29/18   Employees Retirement           106236         $ 40,000.00
    JUAN A                                   System of the Government of                                      JUAN A                               System of the Government of
    41575 SECTOR EL                          the Commonwealth of Puerto                                       41575 SECT EL FOSFORO                the Commonwealth of Puerto
    FOSFORO                                  Rico                                                             QUEBRADILLAS, PR                     Rico
    QUEBRADILLAS, PR                         17 BK 03566-LTS                                                  00678-9311                           17 BK 03566-LTS
    00678

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
286 REVEROL SAAVEDRA,             06/29/18   Employees Retirement           102574                $ 40,000.00 REVEROL SAAVEDRA,         06/29/18   Employees Retirement           106236         $ 40,000.00
    JUAN A                                   System of the Government of                                      JUAN A                               System of the Government of
    41575 SECT EL FOSFORO                    the Commonwealth of Puerto                                       41575 SECT EL FOSFORO                the Commonwealth of Puerto
    QUEBRADILLAS, PR                         Rico                                                             QUEBRADILLAS, PR                     Rico
    00678-9311                               17 BK 03566-LTS                                                  00678-9311                           17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                            Page 55 of 97
                                       Case:17-03283-LTS Doc#:6278-1 Filed:04/15/19 Entered:04/15/19 21:12:54                                              Desc:
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
287 REYES COLON, LYDIA            04/23/18   Employees Retirement            6706                 $ 69,560.00 REYES COLON, LYDIA     04/23/18   Employees Retirement           6857          $ 69,560.00*
    CONDOMINIO PRADOS                        System of the Government of                                      CONDOMINIO PRADOS                 System of the Government of
    DE CUPEY                                 the Commonwealth of Puerto                                       DE CUPEY                          the Commonwealth of Puerto
    450 AVE. PERIFERAL                       Rico                                                             450 AVE PERIFERAL                 Rico
    APTO 109                                 17 BK 03566-LTS                                                  APTO 109                          17 BK 03566-LTS
    TRUJILLO ALTO, PR                                                                                         TRUJILLO ALTO, PR
    00976                                                                                                     00976

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
288 REYES DEL ORBE,               06/29/18   Employees Retirement           77673                   $ 3,717.51 REYES DEL ORBE,       07/09/18   Employees Retirement           152434          $ 3,717.51
    JENNIFER                                 System of the Government of                                       JENNIFER                         System of the Government of
    1 COND LOS                               the Commonwealth of Puerto                                        1 COND LOS                       the Commonwealth of Puerto
    NARANJALES APT323                        Rico                                                              NARANJALES APT 323               Rico
    CAROLINA, PR 00985                       17 BK 03566-LTS                                                   CAROLINA, PR 00985               17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
289 REYES LOPEZ, REBECCA          05/25/18   Employees Retirement           33351                 $ 26,661.53 REYES LOPEZ, REBECCA   05/29/18   Employees Retirement           48735          $ 26,661.53
    COLINAS                                  System of the Government of                                      COLINAS                           System of the Government of
    METROPOLITANAS                           the Commonwealth of Puerto                                       METROPOLITANAS                    the Commonwealth of Puerto
    I8 CALLE TORRECILLAS                     Rico                                                             I8 CALLE TORRECILLAS              Rico
    GUAYNABO, PR 00969                       17 BK 03566-LTS                                                  GUAYNABO, PR 00969                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
290 REYES RODRIGUEZ,              06/29/18   Employees Retirement           97703                 $ 46,244.88 REYES RODRIGUEZ,       06/30/18   Employees Retirement           107943        $ 46,244.88*
    MARYLIZ                                  System of the Government of                                      MARYLIZ                           System of the Government of
    URB. EL PARAISO                          the Commonwealth of Puerto                                       URB EL PARAISO                    the Commonwealth of Puerto
    24 CALLE A                               Rico                                                             24 CALLE A                        Rico
    HUMACAO, PR 00791                        17 BK 03566-LTS                                                  HUMACAO, PR 00791                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
291 REYES SOTO, CARLOS            06/29/18   Employees Retirement           82682                 $ 3,058.08* REYES SOTO, CARLOS     06/29/18   Employees Retirement           79590          $ 3,058.08*
    A.                                       System of the Government of                                      A.                                System of the Government of
    PO BOX 362282                            the Commonwealth of Puerto                                       PO BOX 362282                     the Commonwealth of Puerto
    SAN JUAN, PR 00936                       Rico                                                             SAN JUAN, PR 00936                Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 56 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME              FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
292 REYES TORRES,                 05/25/18   Employees Retirement           22065                 $ 58,009.84 REYES TORRES,           06/13/18   Employees Retirement           59193           $ 58,009.84
    ALBERTO                                  System of the Government of                                      ALBERTO                            System of the Government of
    CALLE 232 HH-8                           the Commonwealth of Puerto                                       CALLE 232 HH-8                     the Commonwealth of Puerto
    URB. COUNTRY CLUB                        Rico                                                             URB COUNTRY CLUB                   Rico
    CAROLINA, PR 00982                       17 BK 03566-LTS                                                  CAROLINA, PR 00982                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
293 REYES VELEZ, LILLIAM          06/28/18   Employees Retirement           117138                $ 5,541.44* REYES VELEZ, LILLIAM    06/28/18   Employees Retirement           120711          $ 5,541.44*
    URB BELLO MONTE                          System of the Government of                                      URB BELLO MONTE                    System of the Government of
    L 40 CALLE 10B                           the Commonwealth of Puerto                                       L 40 CALLE 10B                     the Commonwealth of Puerto
    GUAYNABO, PR 00969                       Rico                                                             GUAYNABO, PR 00969                 Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
294 RIJO CHALAS, DIXIE F          03/28/18   Employees Retirement            5167              Undetermined* RIJO CHALAS, DIXIE F     03/28/18   Employees Retirement           5169         Undetermined*
    920 AVE. JESUS T.                        System of the Government of                                     920 AVE JESUS T PINERO              System of the Government of
    PIÑEIRO                                  the Commonwealth of Puerto                                      APT 904                             the Commonwealth of Puerto
    APART. 904                               Rico                                                            SAN JUAN, PR 00921                  Rico
    SAN JUAN, PR 00921                       17 BK 03566-LTS                                                                                     17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
295 RIOS COTTO, VERONICA          06/28/18   Employees Retirement           63999              Undetermined* RIOS COTTO, VERONICA     06/28/18   Employees Retirement           131244       Undetermined*
    URB. CONDADO                             System of the Government of                                     17 CALLE                            System of the Government of
    MODERNO                                  the Commonwealth of Puerto                                      CAGUAS, PR 00725                    the Commonwealth of Puerto
    17 CALLE                                 Rico                                                                                                Rico
    CAGUAS, PR 00725                         17 BK 03566-LTS                                                                                     17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
296 RIOS COTTO, VERONICA          06/29/18   Employees Retirement           74098              Undetermined* RIOS COTTO, VERONICA     06/29/18   Employees Retirement           113897       Undetermined*
    URB. CONDADO                             System of the Government of                                     URB. CONDADO                        System of the Government of
    MODERNO                                  the Commonwealth of Puerto                                      MODERNO                             the Commonwealth of Puerto
    17 CALLE L 38                            Rico                                                            17 CALLE L-38                       Rico
    CAGUAS, PR 00725                         17 BK 03566-LTS                                                 CAGUAS, PR 00725                    17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 57 of 97
                                       Case:17-03283-LTS Doc#:6278-1 Filed:04/15/19 Entered:04/15/19 21:12:54                                             Desc:
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
297 RIOS COTTO, VERONICA          06/29/18   Employees Retirement           128636             Undetermined* RIOS COTTO, VERONICA   06/30/18   Employees Retirement           96474        Undetermined*
    URB. CONDADO                             System of the Government of                                     URB. CONDADO                      System of the Government of
    MODERNO                                  the Commonwealth of Puerto                                      MODERNO                           the Commonwealth of Puerto
    17 CALLE L-38                            Rico                                                            17 CALLE L-38                     Rico
    CAGUES, PR 00725                         17 BK 03566-LTS                                                 CAGUAS, PR 00725                  17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
298 RIOS COTTO, VERONICA          06/29/18   Employees Retirement           136005             Undetermined* RIOS COTTO, VERONICA   06/30/18   Employees Retirement           89855        Undetermined*
    URB. CONDADO                             System of the Government of                                     URB. CONDADO                      System of the Government of
    MODERNO                                  the Commonwealth of Puerto                                      MODERNO                           the Commonwealth of Puerto
    17 CALLE L-38                            Rico                                                            17 CALLE L-38                     Rico
    CAGUAS, PR 00725                         17 BK 03566-LTS                                                 CAGUAS, PR 00725                  17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
299 RIOS RIOS, MIRTA              07/03/18   Employees Retirement           146578             Undetermined* RIOS RIOS, MIRTA       07/03/18   Employees Retirement           157049       Undetermined*
    URB. VENTURINI                           System of the Government of                                     URB VENTURINI CALLE               System of the Government of
    CALLE 4 C15                              the Commonwealth of Puerto                                      4 C15                             the Commonwealth of Puerto
    SAN SEBASTIAN, PR                        Rico                                                            SAN SEBASTIAN, PR                 Rico
    00685                                    17 BK 03566-LTS                                                 00685                             17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
300 RIVERA ACEVEDO,               07/02/18   Employees Retirement           107009               $ 39,367.20* RIVERA ACEVEDO,       07/02/18   Employees Retirement           119802          $ 39,367.20
    MARITZA                                  System of the Government of                                      MARITZA                          System of the Government of
    HC 69 BOX 16155                          the Commonwealth of Puerto                                       HC 69 BOX 16155                  the Commonwealth of Puerto
    BAYAMON, PR 00956                        Rico                                                             BAYAMON, PR 00956                Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
301 RIVERA ARROYO,                04/18/18   Employees Retirement            5458                 $ 11,186.00 RIVERA ARROYO,        05/07/18   Employees Retirement           10795          $ 11,186.00*
    ENRIQUE                                  System of the Government of                                      ENRIQUE                          System of the Government of
    7 CALLE SAN                              the Commonwealth of Puerto                                       7 CALLE SAN                      the Commonwealth of Puerto
    BARTOLOME                                Rico                                                             BARTOLOME                        Rico
    YABUCOA, PR 00767                        17 BK 03566-LTS                                                  YABUCOA, PR 00767                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
302 RIVERA AYALA, WILMA           06/28/18   Employees Retirement           66169                 $ 17,732.89 RIVERA AYALA, WILMA   06/29/18   Employees Retirement           162348          $ 17,732.89
    HC-4 BOX 5209                            System of the Government of                                      HC-4 BOX 5209                    System of the Government of
    GUAYNABO, PR 00957                       the Commonwealth of Puerto                                       GUAYNABO, PR 00971               the Commonwealth of Puerto
                                             Rico                                                                                              Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 58 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
303 RIVERA BELTRAN,               05/18/18   Employees Retirement           17547                   $ 7,491.45 RIVERA BELTRAN,        05/18/18   Employees Retirement           17576            $ 7,491.45
    SILKA E.                                 System of the Government of                                       SILKA E.                          System of the Government of
    URB. SANTA ELENA                         the Commonwealth of Puerto                                        URB. SANTA ELENA                  the Commonwealth of Puerto
    H20 CALLE 6                              Rico                                                              H20 CALLE 6                       Rico
    BAYAMON, PR 00957                        17 BK 03566-LTS                                                   BAYAMON, PR 00957                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
304 RIVERA BENITEZ, LUZ O         04/10/18   Employees Retirement            7062                $ 48,698.49* RIVERA BENITEZ, LUZ O   04/10/18   Employees Retirement           39160           $ 48,698.49
    HC 2 BOX 15245                           System of the Government of                                      HC-02 BOX 15241                    System of the Government of
    CAROLINA, PR 00985                       the Commonwealth of Puerto                                       CAROLINA, PR 00985                 the Commonwealth of Puerto
                                             Rico                                                                                                Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
305 RIVERA BERRIOS,               06/28/18   Employees Retirement           69439              Undetermined* RIVERA BERRIOS,          07/03/18   Employees Retirement           119509       Undetermined*
    WANDA                                    System of the Government of                                     WANDA                               System of the Government of
    URB BAYAMON                              the Commonwealth of Puerto                                      URB BAYAMON                         the Commonwealth of Puerto
    GARDENS                                  Rico                                                            GARDENS C/19 W1                     Rico
    CALLE 19 W1                              17 BK 03566-LTS                                                 BAYAMON, PR 00957                   17 BK 03566-LTS
    BAYAMON, PR 00957

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
306 RIVERA BLAS, LOURDES          05/25/18   Employees Retirement           20352                   $ 4,093.55 RIVERA BLAS, LOURDES   05/29/18   Employees Retirement           27479            $ 4,093.55
    184 AVE MONTEMAR                         System of the Government of                                       184 AVE MONTEMAR                  System of the Government of
    AGUADILLA, PR 00603                      the Commonwealth of Puerto                                        AGUADILLA, PR 00603               the Commonwealth of Puerto
                                             Rico                                                                                                Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
307 RIVERA BULTRON,               06/29/18   Employees Retirement           81652                $ 11,269.78* RIVERA BULTRON,         06/29/18   Employees Retirement           69327          $ 11,269.78*
    SOLIMAR                                  System of the Government of                                      SOLIMAR                            System of the Government of
    CONDOMINIO CHALETS                       the Commonwealth of Puerto                                       CONDOMINIO CHALETS                 the Commonwealth of Puerto
    DE LA FUENTE 8                           Rico                                                             DE LA FUENTE #8 C/                 Rico
    CALLE FLORIDIANO                         17 BK 03566-LTS                                                  FLORIDIANO APT 807                 17 BK 03566-LTS
    APT 807                                                                                                   CAROLINA, PR 00987
    CAROLINA, PR 00987

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 59 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
308 RIVERA COLON, OMAR            06/27/18   Employees Retirement           52787                 $ 75,000.00 RIVERA COLON, OMAR     06/28/18   Employees Retirement           63807           $ 75,000.00
    URBANIZACION                             System of the Government of                                      URBANIZACION                      System of the Government of
    JARDINES DE COAMO                        the Commonwealth of Puerto                                       JARDINES DE COAMO                 the Commonwealth of Puerto
    CALLE-2, E-1                             Rico                                                             CALLE-2 E-1                       Rico
    COAMO, PR 00769                          17 BK 03566-LTS                                                  COAMO, PR 00769                   17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
309 RIVERA CORNISH,               03/21/18   Employees Retirement            2721              Undetermined* RIVERA CORNISH,         03/21/18   Employees Retirement           4147         Undetermined*
    LAURA                                    System of the Government of                                     LAURA                              System of the Government of
    988 CALLE PEREGRINA                      the Commonwealth of Puerto                                      988 PEREGRINA                      the Commonwealth of Puerto
    SAN JUAN, PR 00987                       Rico                                                            SAN JUAN, PR 00925                 Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
310 RIVERA CRUZ, BEATRIZ          06/29/18   Employees Retirement           75749               $ 100,000.00* RIVERA CRUZ, BEATRIZ   06/29/18   Employees Retirement           78547         $ 100,000.00*
    A                                        System of the Government of                                      A                                 System of the Government of
    SANTA CLARA                              the Commonwealth of Puerto                                       URB. SANTA CLARA                  the Commonwealth of Puerto
    C/PINO X-13                              Rico                                                             X 13 CALLE PINO                   Rico
    GUAYNABO, PR 00969                       17 BK 03566-LTS                                                  GUAYNABO, PR 00969                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
311 RIVERA CRUZ, JAIME            05/17/18   Employees Retirement           16393                $ 23,392.45* RIVERA CRUZ, JAIME     05/24/18   Employees Retirement           26245          $ 23,392.45*
    HC 05                                    System of the Government of                                      HC-5 BOX 54341                    System of the Government of
    BOX 54341                                the Commonwealth of Puerto                                       BO RIO CANAS ARRIBA               the Commonwealth of Puerto
    MAYAGUEZ, PR 00680-                      Rico                                                             MAYAGUEZ, PR 00680                Rico
    0000                                     17 BK 03566-LTS                                                                                    17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
312 RIVERA DAVILA,                06/26/18   Employees Retirement           92103                 $ 86,509.16 RIVERA DAVILA,         06/26/18   Employees Retirement           94097           $ 86,509.16
    ELIZABETH                                System of the Government of                                      ELIZABETH                         System of the Government of
    URB JOSE SEVERO                          the Commonwealth of Puerto                                       C/VICENTE BULTRON                 the Commonwealth of Puerto
    QUINONEZ                                 Rico                                                             J-7                               Rico
    J 7 C/VICENTE BULTRON                    17 BK 03566-LTS                                                  JOSE SEVEN QUINONEZ               17 BK 03566-LTS
    CAROLINA, PR 00985                                                                                        CAROLINA, PR 00985

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 60 of 97
                                       Case:17-03283-LTS Doc#:6278-1 Filed:04/15/19 Entered:04/15/19 21:12:54                                            Desc:
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME          FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
313 RIVERA DE LEON,               05/29/18   Employees Retirement           41864               $ 155,979.28* RIVERA DE LEON,      05/29/18   Employees Retirement           44158         $ 155,979.28*
    JORGE L                                  System of the Government of                                      JORGE L                         System of the Government of
    P O BOX 20245                            the Commonwealth of Puerto                                       PO BOX 20245                    the Commonwealth of Puerto
    SAN JUAN, PR 00928-0245                  Rico                                                             SAN JUAN, PR 00245              Rico
                                             17 BK 03566-LTS                                                                                  17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
314 RIVERA DIEZ, IRMA             05/25/18   Employees Retirement           26480              Undetermined* RIVERA DIEZ, IRMA     05/25/18   Employees Retirement           38676        Undetermined*
    URB ALTOS DE LA                          System of the Government of                                     URB ALTOS DE LA                  System of the Government of
    FUENTE                                   the Commonwealth of Puerto                                      FUENTE                           the Commonwealth of Puerto
    B5 CALLE 5                               Rico                                                            B5 CALLE 5                       Rico
    CAGUAS, PR 00727                         17 BK 03566-LTS                                                 CAGUAS, PR 00727                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
315 RIVERA ESCALERA,              05/25/18   Employees Retirement           21105              Undetermined* RIVERA ESCALERA,      05/25/18   Employees Retirement           21303        Undetermined*
    JEANETTE                                 System of the Government of                                     JEANETTE                         System of the Government of
    #69 AVE. RIVERA                          the Commonwealth of Puerto                                      #69 AVE A RIVERA                 the Commonwealth of Puerto
    MORALES                                  Rico                                                            MORALES                          Rico
    SAN SEBASTIAN, PR                        17 BK 03566-LTS                                                 SAN SEBASTIAN, PR                17 BK 03566-LTS
    00685                                                                                                    00685

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
316 RIVERA FERNANDEZ,             05/29/18   Employees Retirement           41661                 $ 59,606.70 RIVERA FERNANDEZ,    05/29/18   Employees Retirement           43450           $ 59,606.70
    LUIS A.                                  System of the Government of                                      LUIS A.                         System of the Government of
    H C 03 BOX 6979                          the Commonwealth of Puerto                                       H C 03 BOX 6979                 the Commonwealth of Puerto
    CALLE CAGUAS PARC                        Rico                                                             CALLE CAGUAS PARC               Rico
    418                                      17 BK 03566-LTS                                                  418                             17 BK 03566-LTS
    JUNCOS, PR 00777                                                                                          JUNCOS, PR 00777

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
317 RIVERA FLORES,                06/28/18   Employees Retirement           166363             Undetermined* RIVERA FLORES,        06/28/18   Employees Retirement           166656       Undetermined*
    CARLOTA                                  System of the Government of                                     CARLOTA                          System of the Government of
    HC 01 BOX 10201                          the Commonwealth of Puerto                                      HC-01 BOX 10201                  the Commonwealth of Puerto
    COAMO, PR 00769                          Rico                                                            COAMO, PR 00769                  Rico
                                             17 BK 03566-LTS                                                                                  17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 61 of 97
                                       Case:17-03283-LTS Doc#:6278-1 Filed:04/15/19 Entered:04/15/19 21:12:54                                            Desc:
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME           FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
318 RIVERA GAMBARO,               03/16/18   Employees Retirement            3067              Undetermined* RIVERA GAMBARO,       03/16/18   Employees Retirement           3128         Undetermined*
    SONIA I                                  System of the Government of                                     SONIA I                          System of the Government of
    269 CALLE COLTON                         the Commonwealth of Puerto                                      VILLA PALMERAS                   the Commonwealth of Puerto
    SAN JUAN, PR 00915                       Rico                                                            269 CALLE COLTON                 Rico
                                             17 BK 03566-LTS                                                 SAN JUAN, PR 00915               17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
319 RIVERA GAMBARO,               03/16/18   Employees Retirement            3120              Undetermined* RIVERA GAMBARO,       03/16/18   Employees Retirement           3128         Undetermined*
    SONIA I                                  System of the Government of                                     SONIA I                          System of the Government of
    VILLA PALMERAS                           the Commonwealth of Puerto                                      VILLA PALMERAS                   the Commonwealth of Puerto
    269 CALLE COLTON                         Rico                                                            269 CALLE COLTON                 Rico
    SAN JUAN, PR 00915                       17 BK 03566-LTS                                                 SAN JUAN, PR 00915               17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
320 RIVERA GAMBARO,               03/16/18   Employees Retirement            3126              Undetermined* RIVERA GAMBARO,       03/16/18   Employees Retirement           3128         Undetermined*
    SONIA I                                  System of the Government of                                     SONIA I                          System of the Government of
    VILLA PALMERAS                           the Commonwealth of Puerto                                      VILLA PALMERAS                   the Commonwealth of Puerto
    269 CALLE COLTON                         Rico                                                            269 CALLE COLTON                 Rico
    SAN JUAN, PR 00915                       17 BK 03566-LTS                                                 SAN JUAN, PR 00915               17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
321 RIVERA GARCIA,                05/29/18   Employees Retirement           33756                 $ 85,396.50 RIVERA GARCIA,       05/30/18   Employees Retirement           36928          $ 85,396.50*
    HAYDEE                                   System of the Government of                                      HAYDEE                          System of the Government of
    PO BOX 1365                              the Commonwealth of Puerto                                       PO BOX 1365                     the Commonwealth of Puerto
    NAGUABO, PR 00718-                       Rico                                                             NAGUABO, PR 00718-              Rico
    1365                                     17 BK 03566-LTS                                                  1365                            17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
322 RIVERA GARCIA, JOSE           06/29/18   Employees Retirement           101869             Undetermined* RIVERA GARCIA, JOSE   06/29/18   Employees Retirement           148514       Undetermined*
    JUAN                                     System of the Government of                                     JUAN                             System of the Government of
    3617 CALLE EL                            the Commonwealth of Puerto                                      3617 CALLE EL                    the Commonwealth of Puerto
    CADEMUS                                  Rico                                                            CADEMUS                          Rico
    PONCE, PR 00728                          17 BK 03566-LTS                                                 PONCE, PR 00728                  17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 62 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME              FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
323 RIVERA GONZALEZ,              07/06/18   Employees Retirement           132247             Undetermined* RIVERA GONZALEZ,         07/06/18   Employees Retirement           158195       Undetermined*
    ARCELIA                                  System of the Government of                                     ARCELIA                             System of the Government of
    HC 6 BOX 12841                           the Commonwealth of Puerto                                      HC 6 BOX 12841                      the Commonwealth of Puerto
    BO ROBLES                                Rico                                                            BO ROBLES                           Rico
    SAN SEBASTIAN, PR                        17 BK 03566-LTS                                                 SAN SEBASTIAN, PR                   17 BK 03566-LTS
    00685                                                                                                    00685

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
324 RIVERA IRIZARRY,              07/09/18   Employees Retirement           132691                $ 60,000.00 RIVERA IRIZARRY,        07/09/18   Employees Retirement           163302          $ 60,000.00
    NEFTALI                                  System of the Government of                                      NEFTALI                            System of the Government of
    2253 SORREL LANE                         the Commonwealth of Puerto                                       2253 SORREL LANE                   the Commonwealth of Puerto
    WINTERVILLE, NC 28590                    Rico                                                             WINTERVILLE, NC 28590              Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
325 RIVERA LYNN, BRENDA           06/04/18   Employees Retirement           31697                $ 41,161.00* RIVERA LYNN, BRENDA     06/26/18   Employees Retirement           85987          $ 41,161.00*
    URBANIZACION LA                          System of the Government of                                      URBANIZACION LA                    System of the Government of
    MARINA                                   the Commonwealth of Puerto                                       MARINA                             the Commonwealth of Puerto
    CALLE ERIDANO NUM                        Rico                                                             CALLE ERIDANO NUM                  Rico
    43                                       17 BK 03566-LTS                                                  43                                 17 BK 03566-LTS
    CAROLINA, PR 00979                                                                                        CAROLINA, PR 00979

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
326 RIVERA MARRERO, LUIS          06/08/18   Employees Retirement           33071                $ 110,170.60 RIVERA MARRERO, LUIS    06/08/18   Employees Retirement           36329          $ 110,170.60
    P.O. BOX 414                             System of the Government of                                      PO BOX 414                         System of the Government of
    TOA BAJA, PR 00951                       the Commonwealth of Puerto                                       TOA BAJA, PR 00951                 the Commonwealth of Puerto
                                             Rico                                                                                                Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
327 RIVERA MARTINEZ,              04/23/18   Employees Retirement            8035              Undetermined* RIVERA MARTINEZ,         05/07/18   Employees Retirement           10910        Undetermined*
    JOSE A                                   System of the Government of                                     JOSE A                              System of the Government of
    #37 AVE DE DIEGO                         the Commonwealth of Puerto                                      PO BOX 7355                         the Commonwealth of Puerto
    BARRIO MONACILLOS                        Rico                                                            SAN JUAN, PR 00916                  Rico
    SAN JUAN, PR 00919                       17 BK 03566-LTS                                                                                     17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 63 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME               FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
328 RIVERA MELENDEZ, IDA          05/29/18   Employees Retirement           39960                 $ 63,498.97 RIVERA MELENDEZ, IDA      05/29/18   Employees Retirement           50562          $ 63,498.97
    I.                                       System of the Government of                                      I.                                   System of the Government of
    283 (A81) CALLE                          the Commonwealth of Puerto                                       283 (A81) CALLE                      the Commonwealth of Puerto
    VERDOLAGA                                Rico                                                             VARDOLOGA                            Rico
    CANOVANAS, PR 00729-                     17 BK 03566-LTS                                                  CANOVANAS, PR 00729-                 17 BK 03566-LTS
    9842                                                                                                      9842

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
329 RIVERA MELENDEZ,              06/27/18   Employees Retirement           105316               $ 35,000.00* RIVERA MELENDEZ,          07/05/18   Employees Retirement           162752        $ 35,000.00*
    SUSAN                                    System of the Government of                                      SUSAN                                System of the Government of
    HC-2 BOX 2454                            the Commonwealth of Puerto                                       HC-2 BOX 2454                        the Commonwealth of Puerto
    BOQUERON, PR 00622                       Rico                                                             BOQUERON, PR 00622                   Rico
                                             17 BK 03566-LTS                                                                                       17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
330 RIVERA MERCADO,               06/29/18   Employees Retirement           152427                $ 43,964.73 RIVERA MERCADO,           07/06/18   Employees Retirement           158542         $ 43,964.73
    MAYRA L.                                 System of the Government of                                      MAYRA L.                             System of the Government of
    PO BOX 1774                              the Commonwealth of Puerto                                       P.O. BOX 1774                        the Commonwealth of Puerto
    ANASCO, PR 00610-1774                    Rico                                                             ANASCO, PR 00610-1774                Rico
                                             17 BK 03566-LTS                                                                                       17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
331 RIVERA MONTANEZ,              06/29/18   Employees Retirement           67858                $ 59,702.01* RIVERA MONTANEZ,          06/29/18   Employees Retirement           103751        $ 59,702.01*
    ANGEL L.                                 System of the Government of                                      ANGEL L.                             System of the Government of
    VILLAS DE CARRAIZO                       the Commonwealth of Puerto                                       URB. VILLAS DE                       the Commonwealth of Puerto
    CALLE 46                                 Rico                                                             CARRAIZO                             Rico
    BOX 177                                  17 BK 03566-LTS                                                  CALLE 46                             17 BK 03566-LTS
    SAN JUAN, PR 00926-9172                                                                                   BOX 177
                                                                                                              SAN JUAN, PR 00926-9172

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
332 RIVERA MONZON,                05/23/18   Employees Retirement           19382                 $ 35,000.00 RIVERA MONZON,            05/24/18   Employees Retirement           27919          $ 35,000.00
    ANABELLE                                 System of the Government of                                      ANABELLE                             System of the Government of
    VISTAS DE RIO GRANDE                     the Commonwealth of Puerto                                       VISTAS DE RIO GRANDE                 the Commonwealth of Puerto
    I                                        Rico                                                             I                                    Rico
    CALLE FLAMBOYAN 209                      17 BK 03566-LTS                                                  CALLE FLAMBOYAN 209                  17 BK 03566-LTS
    RIO GRANDE, PR 00745                                                                                      RIO GRANDE, PR 00745

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                            Page 64 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME              FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
333 RIVERA MORALES,               06/26/18   Employees Retirement           51496                $ 19,800.00* RIVERA MORALES,          06/26/18   Employees Retirement           52646          $ 19,800.00*
    CECILIA                                  System of the Government of                                      CECILIA                             System of the Government of
    E6 URB SANTIAGO                          the Commonwealth of Puerto                                       E6 URB SANTIAGO                     the Commonwealth of Puerto
    APOSTOL                                  Rico                                                             APOSTOL                             Rico
    SANTA ISABEL, PR 00757                   17 BK 03566-LTS                                                  SANTA ISABEL, PR 00757              17 BK 03566-LTS
                                                                                                              -1823

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
334 RIVERA MORALES,               06/26/18   Employees Retirement           51978                $ 19,800.00* RIVERA MORALES,          06/26/18   Employees Retirement           52646          $ 19,800.00*
    CECILIA                                  System of the Government of                                      CECILIA                             System of the Government of
    URB SANTIAGO                             the Commonwealth of Puerto                                       E6 URB SANTIAGO                     the Commonwealth of Puerto
    APOSTOL                                  Rico                                                             APOSTOL                             Rico
    E 6 CALLE 6                              17 BK 03566-LTS                                                  SANTA ISABEL, PR 00757              17 BK 03566-LTS
    SANTA ISABEL, PR 00757                                                                                    -1823

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
335 RIVERA NEGRON, JOSE           07/06/18   Employees Retirement           131239             Undetermined* RIVERA NEGRON, JOSE       07/06/18   Employees Retirement           133773       Undetermined*
    JUAN                                     System of the Government of                                     JUAN                                 System of the Government of
    HC 33 BOX 5262                           the Commonwealth of Puerto                                      HC 33 BOX 5262                       the Commonwealth of Puerto
    MARISMILLA                               Rico                                                            BO. MARISMILLA                       Rico
    DORADO, PR 00646                         17 BK 03566-LTS                                                 DORADO, PR 00646                     17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
336 RIVERA ORENGO, JULIO          06/25/18   Employees Retirement           71442              Undetermined* RIVERA ORENGO, JULIO      06/25/18   Employees Retirement           81188        Undetermined*
    868 CALLE                                System of the Government of                                     URB COUNTRY CLUB                     System of the Government of
    GROENLANDIA                              the Commonwealth of Puerto                                      868 CALLE                            the Commonwealth of Puerto
    URB COUNTRY CLUB                         Rico                                                            GROENLANDIA                          Rico
    SAN JUAN, PR 00924                       17 BK 03566-LTS                                                 SAN JUAN, PR 00924-1745              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
337 RIVERA ORTIZ, ALMA R.         06/28/18   Employees Retirement           62282                 $ 20,400.00 RIVERA ORTIZ, ALMA R.    06/28/18   Employees Retirement           112670          $ 20,400.00
    COM JUAN J OTERO                         System of the Government of                                      COM JUAN J OTERO                    System of the Government of
    CALLE SUMBADOR #153                      the Commonwealth of Puerto                                       CALLE SUMBADOR #153                 the Commonwealth of Puerto
    MOROVIS, PR 00687                        Rico                                                             MOROVIS, PR 00687                   Rico
                                             17 BK 03566-LTS                                                                                      17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 65 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
338 RIVERA ORTIZ, EVELYN          06/28/18   Employees Retirement           72325                 $ 56,482.02 RIVERA ORTIZ, EVELYN   07/06/18   Employees Retirement           114977          $ 56,482.02
    HC 2 BOX 8407                            System of the Government of                                      HC 2 BOX 8407                     System of the Government of
    FLORIDA, PR 00650                        the Commonwealth of Puerto                                       FLORIDA, PR 00650                 the Commonwealth of Puerto
                                             Rico                                                                                               Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
339 RIVERA ORTIZ, VICTOR          06/27/18   Employees Retirement           52898              Undetermined* RIVERA ORTIZ, VICTOR    06/28/18   Employees Retirement           125895       Undetermined*
    919 CALLE ASTURIAS                       System of the Government of                                     919 CALLE ASTURIA,                 System of the Government of
    URB. VILLA GRANADA                       the Commonwealth of Puerto                                      VILLA GRANADA                      the Commonwealth of Puerto
    SAN JUAN, PR 00923                       Rico                                                            SAN JUAN, PR 00923                 Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
340 RIVERA PASTOR, ELVIN          04/24/18   Employees Retirement            8296              Undetermined* RIVERA PASTOR, ELVIN    04/24/18   Employees Retirement           8384         Undetermined*
    HC04 BOX 9142                            System of the Government of                                     HC04 BOX 9142                      System of the Government of
    CANOVANAS, PR 00729                      the Commonwealth of Puerto                                      CANOVANAS, PR 00729                the Commonwealth of Puerto
                                             Rico                                                                                               Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
341 RIVERA PEREZ, MARIA           06/29/18   Employees Retirement           150751             Undetermined* RIVERA PEREZ, MARIA     06/29/18   Employees Retirement           150938       Undetermined*
    DE LOURDES                               System of the Government of                                     DE LOURDES                         System of the Government of
    107 CALLE ESTEBAN                        the Commonwealth of Puerto                                      107 CALLE ESTEBAN                  the Commonwealth of Puerto
    PADILLA                                  Rico                                                            PADILLA                            Rico
    BAYAMON, PR 00959                        17 BK 03566-LTS                                                 BAYAMON, PR 00959                  17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
342 RIVERA PEREZ,                 06/29/18   Employees Retirement           79303                $ 72,154.50* RIVERA PEREZ,          06/29/18   Employees Retirement           80330           $ 72,154.50
    MARITZA                                  System of the Government of                                      MARITZA                           System of the Government of
    PO BOX 1875                              the Commonwealth of Puerto                                       PO BOX 1875                       the Commonwealth of Puerto
    JUANA DIAZ, PR 00795                     Rico                                                             JUANA DIAZ, PR 00795              Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
343 RIVERA PEREZ,                 06/28/18   Employees Retirement           124312                $ 72,154.50 RIVERA PEREZ,          07/02/18   Employees Retirement           106121          $ 72,154.50
    MARITZA                                  System of the Government of                                      MARITZA                           System of the Government of
    PO BOX 1875                              the Commonwealth of Puerto                                       PO BOX 1875                       the Commonwealth of Puerto
    JUANA DIAZ, PR 00795                     Rico                                                             JUANA DIAZ, PR 00795              Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 66 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
344 RIVERA PEREZ, SONIA           06/26/18   Employees Retirement           52567                 $ 32,000.00 RIVERA PEREZ, SONIA    07/06/18   Employees Retirement           156401         $ 32,000.00
    E.                                       System of the Government of                                      E.                                System of the Government of
    URB. COAMO GARDENS                       the Commonwealth of Puerto                                       URB. COAMO GARDES                 the Commonwealth of Puerto
    #B37 CALLE 4                             Rico                                                             #B37 CALLE 4                      Rico
    COAMO, PR 00769                          17 BK 03566-LTS                                                  COAMO, PR 00769                   17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
345 RIVERA PRATTS,                06/26/18   Employees Retirement           52671                 $ 50,844.24 RIVERA PRATTS,         06/26/18   Employees Retirement           65776          $ 50,844.24
    YANILET                                  System of the Government of                                      YANILET                           System of the Government of
    URB RIO GRANDE                           the Commonwealth of Puerto                                       URB RIO GRANDE                    the Commonwealth of Puerto
    STATE                                    Rico                                                             ESTATE                            Rico
    CC 3 C/ 28                               17 BK 03566-LTS                                                  CC 3 CALLE 28                     17 BK 03566-LTS
    RIO GRANDE, PR 00745                                                                                      RIO GRANDE, PR 00745

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
346 RIVERA RIVERA,                06/29/18   Employees Retirement           81941                 $ 38,000.00 RIVERA RIVERA,         07/05/18   Employees Retirement           157109         $ 38,000.00
    LOURDES C.                               System of the Government of                                      LOURDES C.                        System of the Government of
    URB. BRISAS DE                           the Commonwealth of Puerto                                       URB. BRISAS DE                    the Commonwealth of Puerto
    AIBONITO                                 Rico                                                             AIBONITO                          Rico
    CALLE TRINITARIA #7                      17 BK 03566-LTS                                                  CALLE TRINITARIA #7               17 BK 03566-LTS
    AIBONITO, PR 00705                                                                                        AIBONITO, PR 00705

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
347 RIVERA RIVERA, MARIA          06/18/18   Employees Retirement           39208                $ 37,346.25* RIVERA RIVERA, MARIA   06/18/18   Employees Retirement           41044          $ 37,346.25
    I.                                       System of the Government of                                      I.                                System of the Government of
    HC-01 BOX 2181                           the Commonwealth of Puerto                                       HC-01 BOX 2181                    the Commonwealth of Puerto
    JAYUYA, PR 00664                         Rico                                                             JAYUYA, PR 00664                  Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
348 RIVERA RODRIGUEZ,             04/19/18   Employees Retirement            5787                $ 26,879.95* RIVERA RODRIGUEZ,      04/19/18   Employees Retirement           6027          $ 26,879.95*
    JUANA                                    System of the Government of                                      JUANA                             System of the Government of
    17 SECTOR LOS JUANES                     the Commonwealth of Puerto                                       # 17 SECTOR LOS                   the Commonwealth of Puerto
    NARANJITO, PR 00719-                     Rico                                                             JUANES                            Rico
    7534                                     17 BK 03566-LTS                                                  NARANJITO, PR 00719               17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 67 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                  NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
349 RIVERA RODRIGUEZ,             04/19/18   Employees Retirement            5795                 $ 26,879.95 RIVERA RODRIGUEZ,       04/19/18   Employees Retirement           6027           $ 26,879.95*
    JUANA                                    System of the Government of                                      JUANA                              System of the Government of
    # 17 SECTOR LOS                          the Commonwealth of Puerto                                       # 17 SECTOR LOS                    the Commonwealth of Puerto
    JUANES                                   Rico                                                             JUANES                             Rico
    NARANJITO, PR 00719                      17 BK 03566-LTS                                                  NARANJITO, PR 00719                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
350 RIVERA ROLA, DALMA            05/11/18   Employees Retirement           14319                 $ 77,901.06 RIVERA ROLA, DALMA      05/11/18   Employees Retirement           14624           $ 77,901.06
    E                                        System of the Government of                                      E                                  System of the Government of
    PO BOX 199                               the Commonwealth of Puerto                                       PO BOX 199                         the Commonwealth of Puerto
    LAS PIEDRAS, PR 00771                    Rico                                                             LAS PIEDRAS, PR 00771              Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
351 RIVERA ROMAN,                 06/28/18   Employees Retirement           66590                $ 55,000.00* RIVERA ROMAN,           07/06/18   Employees Retirement           159551         $ 55,000.00*
    NEFTALI                                  System of the Government of                                      NEFTALI                            System of the Government of
    PO BOX 366891                            the Commonwealth of Puerto                                       PO BOX 366891                      the Commonwealth of Puerto
    SAN JUAN, PR 00936-6891                  Rico                                                             JUAN, PR 00936-6891                Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
352 RIVERA RONDON,                06/13/18   Employees Retirement           45606                $ 72,000.00* RIVERA RONDON,          07/06/18   Employees Retirement           159589         $ 72,000.00*
    NOEMI                                    System of the Government of                                      NOEMI                              System of the Government of
    CALLE GALAXIA 16                         the Commonwealth of Puerto                                       CALLE GALAXIA 16                   the Commonwealth of Puerto
    URB VILLA DE LA                          Rico                                                             URB VILLA DE LA                    Rico
    MARINA                                   17 BK 03566-LTS                                                  MARINA                             17 BK 03566-LTS
    CAROLINA, PR 00979                                                                                        CAROLINA, PR 00979

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
353 RIVERA SANTIAGO,              06/11/18   Employees Retirement           63399              Undetermined* RIVERA SANTIAGO,         06/29/18   Employees Retirement           150422       Undetermined*
    DESIREE                                  System of the Government of                                     DESIREE                             System of the Government of
    C8 CALLE 12 BO.                          the Commonwealth of Puerto                                      URB MONTE LINDO                     the Commonwealth of Puerto
    HIGUILLAR                                Rico                                                            C8 CALLE 12                         Rico
    DORADO, PR 00646                         17 BK 03566-LTS                                                 DORADO, PR 00646                    17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 68 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
354 RIVERA SANTIAGO,              06/29/18   Employees Retirement           147159             Undetermined* RIVERA SANTIAGO,         06/29/18   Employees Retirement           150422       Undetermined*
    DESIREE                                  System of the Government of                                     DESIREE                             System of the Government of
    CALLE 12 C-8                             the Commonwealth of Puerto                                      URB MONTE LINDO                     the Commonwealth of Puerto
    MONTE LINDO                              Rico                                                            C8 CALLE 12                         Rico
    DORADO, PR 00646                         17 BK 03566-LTS                                                 DORADO, PR 00646                    17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
355 RIVERA SOTO, DIANA            05/29/18   Employees Retirement           22238                $ 55,000.00* RIVERA SOTO, DIANA      05/31/18   Employees Retirement           45434          $ 55,000.00*
    VILLA FONTANA                            System of the Government of                                      VILLA FONTANA                      System of the Government of
    VIA 6 2SL-137                            the Commonwealth of Puerto                                       2 SL 137 VIA 6                     the Commonwealth of Puerto
    CAROLINA, PR 00983                       Rico                                                             CAROLINA, PR 00983                 Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
356 RIVERA TIRADO,                06/14/18   Employees Retirement           39453                 $ 39,298.14 RIVERA TIRADO,          06/19/18   Employees Retirement           72529          $ 39,298.14*
    JAZMIN                                   System of the Government of                                      JAZMIN                             System of the Government of
    PO BOX 1873                              the Commonwealth of Puerto                                       PO BOX 1873                        the Commonwealth of Puerto
    CANOVANAS, PR 00792                      Rico                                                             CANOVANAS, PR 00729                Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
357 RIVERA TORRES, IRIS           04/16/18   Employees Retirement            7533              Undetermined* RIVERA TORRES, IRIS      04/16/18   Employees Retirement           7535         Undetermined*
    PO BOX 370862                            System of the Government of                                     PO BOX 370862                       System of the Government of
    CAYEY, PR 00737-0862                     the Commonwealth of Puerto                                      CAYEY, PR 00737-0862                the Commonwealth of Puerto
                                             Rico                                                                                                Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
358 RIVERA TORRES,                06/27/18   Employees Retirement           39912                 $ 62,384.31 RIVERA TORRES,          06/27/18   Employees Retirement           53269           $ 62,384.31
    ZULMAREE                                 System of the Government of                                      ZULMAREE                           System of the Government of
    COND. LOS ALMEDROS                       the Commonwealth of Puerto                                       COND. LOS ALMEDROS                 the Commonwealth of Puerto
    C/ SAN JORGE #168 APT                    Rico                                                             C/ SAN JORGE #168 APT              Rico
    15                                       17 BK 03566-LTS                                                  15                                 17 BK 03566-LTS
    SAN JUAN, PR 00911                                                                                        SAN JUAN, PR 00911

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 69 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
359 RIVERA VARGAS,                06/25/18   Employees Retirement           48459                 $ 20,002.63 RIVERA VARGAS,          06/27/18   Employees Retirement           53329           $ 20,002.63
    MIGUEL ANGEL                             System of the Government of                                      MIGUEL ANGEL                       System of the Government of
    LUIS QUINONES ST                         the Commonwealth of Puerto                                       BDA ESPERANZA                      the Commonwealth of Puerto
    NUMBER 37                                Rico                                                             37 CALLE LUIS                      Rico
    GUANICA, PR 00653                        17 BK 03566-LTS                                                  QUINONES                           17 BK 03566-LTS
                                                                                                              GUANICA, PR 00653

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
360 RIVERA VELAZQUEZ,             06/05/18   Employees Retirement           48401              Undetermined* RIVERA VELAZQUEZ,        06/05/18   Employees Retirement           48476        Undetermined*
    WANDA I.                                 System of the Government of                                     WANDA I.                            System of the Government of
    BUZON 76 C/TIBER                         the Commonwealth of Puerto                                      URB VILLA SERENA                    the Commonwealth of Puerto
    SANTA ISABEL, PR 00757                   Rico                                                            BUZON 76 CTIBER                     Rico
                                             17 BK 03566-LTS                                                 SANTA ISABEL, PR 00757              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
361 RIVERA VELEZ, ROSE M          06/28/18   Employees Retirement           64499                 $ 34,085.81 RIVERA VELEZ, ROSE M    07/03/18   Employees Retirement           124607          $ 34,085.81
    HC 61 BOX 6059                           System of the Government of                                      HC 61 BOX 6059                     System of the Government of
    TRUJILLO ALTO, PR                        the Commonwealth of Puerto                                       TRUJILLO ALTO, PR                  the Commonwealth of Puerto
    00976                                    Rico                                                             00976                              Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
362 RIVERA-GONZÁLEZ,              05/25/18   Employees Retirement           23133                $ 38,678.16* RIVERA-GONZÁLEZ,        05/29/18   Employees Retirement           27327          $ 38,678.16*
    SYLVIA I.                                System of the Government of                                      SYLVIA I.                          System of the Government of
    RR6 BOX 9921                             the Commonwealth of Puerto                                       RR6 BOX 9921                       the Commonwealth of Puerto
    SAN JUAN, PR 00926                       Rico                                                             SAN JUAN, PR 00926                 Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
363 ROBLES COLON,                 04/04/18   Employees Retirement            4503                 $ 45,119.00 ROBLES COLON,           04/04/18   Employees Retirement           6751            $ 45,119.00
    VILMARY                                  System of the Government of                                      VILMARY                            System of the Government of
    URB JARDINES DE                          the Commonwealth of Puerto                                       JARDINES DE                        the Commonwealth of Puerto
    CAROLINA                                 Rico                                                             CAROLINA                           Rico
    I-9 CALLE J                              17 BK 03566-LTS                                                  I 9 CALLE J                        17 BK 03566-LTS
    CAROLINA, PR 00987                                                                                        CAROLINA, PR 00987

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 70 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
364 ROBLES COLON,                 04/04/18   Employees Retirement            6549                 $ 45,119.00 ROBLES COLON,          04/04/18   Employees Retirement           6751            $ 45,119.00
    VILMARY                                  System of the Government of                                      VILMARY                           System of the Government of
    URB JARDINES DE                          the Commonwealth of Puerto                                       JARDINES DE                       the Commonwealth of Puerto
    CAROLINA                                 Rico                                                             CAROLINA                          Rico
    CALLE J I-9                              17 BK 03566-LTS                                                  I 9 CALLE J                       17 BK 03566-LTS
    CAROLINA, PR 00987                                                                                        CAROLINA, PR 00987

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
365 ROBLES DE LEON,               06/28/18   Employees Retirement           65727                 $ 90,000.00 ROBLES DE LEON,        06/28/18   Employees Retirement           67260           $ 90,000.00
    GLORIA                                   System of the Government of                                      GLORIA                            System of the Government of
    HC 4 BOX 55308                           the Commonwealth of Puerto                                       HC 4 BOX 55308                    the Commonwealth of Puerto
    UNIBON                                   Rico                                                             UNIBON                            Rico
    MOROVIS, PR 00687                        17 BK 03566-LTS                                                  MOROVIS, PR 00687                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
366 ROBLES MATTA,                 05/30/18   Employees Retirement           43452              Undetermined* ROBLES MATTA,           05/30/18   Employees Retirement           43887        Undetermined*
    LILLIANA                                 System of the Government of                                     LILLIANA                           System of the Government of
    URB BRISAS DE CEIBA                      the Commonwealth of Puerto                                      URB. BRISAS DE CEIBA               the Commonwealth of Puerto
    174 CALLE 7                              Rico                                                            CALLE 7 NUM. 174                   Rico
    CEIBA, PR 00735                          17 BK 03566-LTS                                                 CEIBA, PR 00735                    17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
367 ROBLES RAMIREZ,               07/06/18   Employees Retirement           136180                $ 60,538.82 ROBLES RAMIREZ,        07/06/18   Employees Retirement           153850          $ 60,538.82
    VICTOR                                   System of the Government of                                      VICTOR                            System of the Government of
    COND TORRE DEL                           the Commonwealth of Puerto                                       103-SUR COND. TORRES              the Commonwealth of Puerto
    PARQUE                                   Rico                                                             DEL PARQUE                        Rico
    APT 103 SUR                              17 BK 03566-LTS                                                  BAYAMON, PR 00956                 17 BK 03566-LTS
    FCO MONTILLA 1700
    BAYAMON, PR 00956

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
368 RODRIGUEZ                     06/27/18   Employees Retirement           54203              Undetermined* RODRIGUEZ               06/28/18   Employees Retirement           123245       Undetermined*
    ALMODOVAR, ANGEL                         System of the Government of                                     ALMODOVAR, ANGEL                   System of the Government of
    DAVID                                    the Commonwealth of Puerto                                      DAVID                              the Commonwealth of Puerto
    82 CALLE MONTAVA                         Rico                                                            82 CALLE MONTALVA                  Rico
    ENSENA, PR 00647                         17 BK 03566-LTS                                                 ENSENADA, PR 00647                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 71 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT               NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
369 RODRIGUEZ BONILLA,            05/14/18   Employees Retirement           12975                $ 64,394.31* RODRIGUEZ BONILLA,    05/14/18   Employees Retirement           14833          $ 64,394.31*
    CLARIBEL                                 System of the Government of                                      CLARIBEL                         System of the Government of
    URB VERDUN II                            the Commonwealth of Puerto                                       VERDUM                           the Commonwealth of Puerto
    840 CALLE ORQUIDEA                       Rico                                                             11 FELIX RAMOS                   Rico
    HORMIGUEROS, PR                          17 BK 03566-LTS                                                  HORMIGUEROS, PR                  17 BK 03566-LTS
    00660                                                                                                     00660

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
370 RODRIGUEZ BONILLA,            05/14/18   Employees Retirement           13472                $ 64,394.31* RODRIGUEZ BONILLA,    05/14/18   Employees Retirement           14833          $ 64,394.31*
    CLARIBEL                                 System of the Government of                                      CLARIBEL                         System of the Government of
    URB VERDUN II                            the Commonwealth of Puerto                                       VERDUM                           the Commonwealth of Puerto
    840 CALLE ORQUIDEA                       Rico                                                             11 FELIX RAMOS                   Rico
    HORMIGUEROS, PR                          17 BK 03566-LTS                                                  HORMIGUEROS, PR                  17 BK 03566-LTS
    00660-1859                                                                                                00660

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
371 RODRIGUEZ BONILLA,            05/14/18   Employees Retirement           14497                 $ 64,394.31 RODRIGUEZ BONILLA,    05/14/18   Employees Retirement           14833          $ 64,394.31*
    CLARIBEL                                 System of the Government of                                      CLARIBEL                         System of the Government of
    URB VERDUN II                            the Commonwealth of Puerto                                       VERDUM                           the Commonwealth of Puerto
    840 CALLE ORQUIDEA                       Rico                                                             11 FELIX RAMOS                   Rico
    HORMIGUEROS, PR                          17 BK 03566-LTS                                                  HORMIGUEROS, PR                  17 BK 03566-LTS
    00660                                                                                                     00660

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
372 RODRIGUEZ BONILLA,            05/14/18   Employees Retirement           14737                 $ 64,394.31 RODRIGUEZ BONILLA,    05/14/18   Employees Retirement           14833          $ 64,394.31*
    CLARIBEL                                 System of the Government of                                      CLARIBEL                         System of the Government of
    URB VERDUN BOX 11                        the Commonwealth of Puerto                                       VERDUM                           the Commonwealth of Puerto
    CALLE FELIX RAMOS H                      Rico                                                             11 FELIX RAMOS                   Rico
    SAN GERMAN, PR 00660                     17 BK 03566-LTS                                                  HORMIGUEROS, PR                  17 BK 03566-LTS
                                                                                                              00660

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
373 RODRIGUEZ                     06/28/18   Employees Retirement           111126              $ 185,100.80* RODRIGUEZ             06/28/18   Employees Retirement           118783        $ 185,100.80*
    CABALLERO, VIOLA                         System of the Government of                                      CABALLERO, VIOLA                 System of the Government of
    URB JARDINES DE                          the Commonwealth of Puerto                                       JARDINES DE CAPARRA              the Commonwealth of Puerto
    CAPARRA                                  Rico                                                             U8 CALLE 27                      Rico
    U 8 CALLE 27                             17 BK 03566-LTS                                                  BAYAMON, PR 00959                17 BK 03566-LTS
    BAYAMON, PR 00959

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 72 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
374 RODRIGUEZ                     06/28/18   Employees Retirement           113029              $ 185,100.80* RODRIGUEZ             06/28/18   Employees Retirement           118783        $ 185,100.80*
    CABALLERO, VIOLA                         System of the Government of                                      CABALLERO, VIOLA                 System of the Government of
    URB JARDINES DE                          the Commonwealth of Puerto                                       JARDINES DE CAPARRA              the Commonwealth of Puerto
    CAPARRA                                  Rico                                                             U8 CALLE 27                      Rico
    U 8 CALLE 27                             17 BK 03566-LTS                                                  BAYAMON, PR 00959                17 BK 03566-LTS
    BAYAMON, PR 00959

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
375 RODRIGUEZ                     06/28/18   Employees Retirement           116374              $ 185,100.80* RODRIGUEZ             06/28/18   Employees Retirement           118783        $ 185,100.80*
    CABALLERO, VIOLA                         System of the Government of                                      CABALLERO, VIOLA                 System of the Government of
    CALLE 6 AC-18                            the Commonwealth of Puerto                                       JARDINES DE CAPARRA              the Commonwealth of Puerto
    JARDINES DE CAPARRA                      Rico                                                             U8 CALLE 27                      Rico
    BAYAMON PR 00959                         17 BK 03566-LTS                                                  BAYAMON, PR 00959                17 BK 03566-LTS
    SAN JUAN, PR 00959

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
376 RODRIGUEZ                     06/28/18   Employees Retirement           79855               $ 185,100.80* RODRIGUEZ             06/28/18   Employees Retirement           113129        $ 185,100.80*
    CABALLERO, VIOLA L.                      System of the Government of                                      CABALLERO, VIOLA L.              System of the Government of
    JARDINES DE CAPARRA                      the Commonwealth of Puerto                                       JARDINES DE CAPARRA              the Commonwealth of Puerto
    CALLE 27 U 8                             Rico                                                             CALLE 6 AC 18                    Rico
    BAYAMON, PR 00959                        17 BK 03566-LTS                                                  BAYAMON, PR 00959                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
377 RODRIGUEZ                     06/27/18   Employees Retirement           56297              Undetermined* RODRIGUEZ              06/27/18   Employees Retirement           58984        Undetermined*
    CARABALLO, ROSA                          System of the Government of                                     CARABALLO, ROSA                   System of the Government of
    ESTHER                                   the Commonwealth of Puerto                                      ESTHER                            the Commonwealth of Puerto
    HC 01 BOX 7091                           Rico                                                            HC 01 BOX 7091                    Rico
    YAUCO, PR 00698-9718                     17 BK 03566-LTS                                                 YAUCO, PR 00698-9718              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
378 RODRIGUEZ CARMONA,            06/07/18   Employees Retirement           63366              Undetermined* RODRIGUEZ CARMONA,     06/29/18   Employees Retirement           150427       Undetermined*
    MARTA L.                                 System of the Government of                                     MARTA L.                          System of the Government of
    PO BOX 7890                              the Commonwealth of Puerto                                      PO BOX 7890                       the Commonwealth of Puerto
    PONCE, PR 00732                          Rico                                                            PONCE, PR 00732                   Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 73 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
379 RODRIGUEZ CASADO,             04/17/18   Employees Retirement            5407              Undetermined* RODRIGUEZ CASADO,        04/17/18   Employees Retirement           7600         Undetermined*
    ADELA                                    System of the Government of                                     ADELA                               System of the Government of
    J2 CALLE GALGO JR                        the Commonwealth of Puerto                                      PARQ ECUESTRE                       the Commonwealth of Puerto
    CAROLINA, PR 00987                       Rico                                                            J2 CALLE GALGO JR                   Rico
                                             17 BK 03566-LTS                                                 CAROLINA, PR 00987-                 17 BK 03566-LTS
                                                                                                             8530

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
380 RODRIGUEZ CEDENO,             06/27/18   Employees Retirement           101146             Undetermined* RODRIGUEZ CEDENO,        06/27/18   Employees Retirement           103825       Undetermined*
    MARIA I                                  System of the Government of                                     MARIA I                             System of the Government of
    SECTOR LA LOMA #218                      the Commonwealth of Puerto                                      SECTOR LA LOMA #218                 the Commonwealth of Puerto
    MAYAGUEZ, PR 00680                       Rico                                                            MAYAGUEZ, PR 00680                  Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
381 RODRIGUEZ CLAUDIO,            05/07/18   Employees Retirement            9412                 $ 71,967.06 RODRIGUEZ CLAUDIO,      05/07/18   Employees Retirement           9886           $ 71,967.06*
    JEANNETTE                                System of the Government of                                      JEANNETTE                          System of the Government of
    URB SANJUANERA                           the Commonwealth of Puerto                                       URB SANJUANERA                     the Commonwealth of Puerto
    118 VIA MATINAL                          Rico                                                             118 VIA MATINAL                    Rico
    CAGUAS, PR 00727-3013                    17 BK 03566-LTS                                                  CAGUAS, PR 00727-3013              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
382 RODRIGUEZ CLAUDIO,            05/18/18   Employees Retirement           17069              Undetermined* RODRIGUEZ CLAUDIO,       05/18/18   Employees Retirement           19618        Undetermined*
    REBECA                                   System of the Government of                                     REBECA                              System of the Government of
    CALLE 9 I-25                             the Commonwealth of Puerto                                      CALLE 9 I 25                        the Commonwealth of Puerto
    VILLA DEL CARMEN                         Rico                                                            VILLA DEL CARMEN                    Rico
    GURABO, PR 00778                         17 BK 03566-LTS                                                 GURABO, PR 00778                    17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
383 RODRIGUEZ CLAUDIO,            05/18/18   Employees Retirement           19350              Undetermined* RODRIGUEZ CLAUDIO,       05/18/18   Employees Retirement           19618        Undetermined*
    REBECA                                   System of the Government of                                     REBECA                              System of the Government of
    CALLE 9 I 25 VILLA DEL                   the Commonwealth of Puerto                                      CALLE 9 I 25                        the Commonwealth of Puerto
    CARMEN                                   Rico                                                            VILLA DEL CARMEN                    Rico
    GURABO, PR 00778                         17 BK 03566-LTS                                                 GURABO, PR 00778                    17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 74 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
384 RODRIGUEZ CORTES,             05/23/18   Employees Retirement           31265                 $ 69,000.00 RODRIGUEZ CORTES,      05/23/18   Employees Retirement           32579           $ 69,000.00
    MARIA                                    System of the Government of                                      MARIA V.                          System of the Government of
    PO BOX 10                                the Commonwealth of Puerto                                       P.O. BOX 10                       the Commonwealth of Puerto
    YAUCO, PR 00698                          Rico                                                             YAUCO, PR 00698-0010              Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
385 RODRIGUEZ CORTES,             05/23/18   Employees Retirement           25037                 $ 66,000.00 RODRIGUEZ CORTES,      05/23/18   Employees Retirement           32516           $ 66,000.00
    MARIA I                                  System of the Government of                                      MARIA I                           System of the Government of
    URB HORIZONTES                           the Commonwealth of Puerto                                       URB HORIZONTES                    the Commonwealth of Puerto
    C CELESTE D13                            Rico                                                             D 13 CALLE CELESTE                Rico
    GURABO, PR 00778                         17 BK 03566-LTS                                                  GURABO, PR 00778                  17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
386 RODRIGUEZ CORTES,             05/29/18   Employees Retirement           32204                 $ 38,000.00 RODRIGUEZ CORTES,      05/29/18   Employees Retirement           35651           $ 38,000.00
    WANDA E                                  System of the Government of                                      WANDA E                           System of the Government of
    URB LOS                                  the Commonwealth of Puerto                                       URB LOS                           the Commonwealth of Puerto
    FLAMBOYANES                              Rico                                                             FLAMBOYANES                       Rico
    386 CALLE                                17 BK 03566-LTS                                                  386 CALLE                         17 BK 03566-LTS
    EMAJAGUILLA                                                                                               EMAJAGUILLA
    GURABO, PR 00778                                                                                          GURABO, PR 00778

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
387 RODRIGUEZ COTTO,              06/29/18   Employees Retirement           128886             Undetermined* RODRIGUEZ COTTO,        06/29/18   Employees Retirement           142754       Undetermined*
    AMARILIS                                 System of the Government of                                     AMARILIS                           System of the Government of
    URB. VILLA CRISTINA                      the Commonwealth of Puerto                                      URB. VILLA CRISTINA                the Commonwealth of Puerto
    D-9 CALLE 2                              Rico                                                            CALLE 2 D-9                        Rico
    COAMO, PR 00769                          17 BK 03566-LTS                                                 COAMO, PR 00769                    17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
388 RODRÍGUEZ                     06/30/18   Employees Retirement           68532                $ 55,000.00* RODRÍGUEZ              06/30/18   Employees Retirement           167272         $ 55,000.00*
    CUADRADO, SONIA E.                       System of the Government of                                      CUADRADO, SONIA E.                System of the Government of
    PO BOX 786                               the Commonwealth of Puerto                                       PO BOX 786                        the Commonwealth of Puerto
    YABUCOA, PR 00767                        Rico                                                             YABUCOA, PR 00767                 Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 75 of 97
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                                                                            Twenty-Ninth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
389 RODRIGUEZ DE LOPEZ,          06/25/18   Employees Retirement           41047                 $ 16,918.32 RODRIGUEZ DE LOPEZ,   06/25/18   Employees Retirement           49807           $ 16,918.32
    NANCY                                   System of the Government of                                      NANCY                            System of the Government of
    PO BOX 4014                             the Commonwealth of Puerto                                       PO BOX 4014                      the Commonwealth of Puerto
    CAROLINA, PR 00984                      Rico                                                             CAROLINA, PR 00984               Rico
                                            17 BK 03566-LTS                                                                                   17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
390 RODRIGUEZ GANDIA,            06/29/18   Employees Retirement           86112                 $ 48,736.00 RODRIGUEZ GANDIA,     07/03/18   Employees Retirement           145651          $ 48,736.00
    MARIBEL                                 System of the Government of                                      MARIBEL                          System of the Government of
    URB LA RIVIERA                          the Commonwealth of Puerto                                       URB LA RIVIERA                   the Commonwealth of Puerto
    1407 CALLE 48 S.O.                      Rico                                                             1407 CALLE 48 S.O.               Rico
    SAN JUAN, PR 00921                      17 BK 03566-LTS                                                  SAN JUAN, PR 00921               17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
391 RODRIGUEZ GONZALEZ,          05/23/18   Employees Retirement           24638              Undetermined* RODRIGUEZ GONZALEZ,    05/23/18   Employees Retirement           25467        Undetermined*
    EDDIE                                   System of the Government of                                     EDDIE                             System of the Government of
    URB LAS LEANDRAS                        the Commonwealth of Puerto                                      URB LAS LEANDRAS                  the Commonwealth of Puerto
    JJ5 CALLE 21                            Rico                                                            JJ5 CALLE 21                      Rico
    HUMACAO, PR 00791-                      17 BK 03566-LTS                                                 HUMACAO, PR 00791                 17 BK 03566-LTS
    3052

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
392 RODRIGUEZ                    06/27/18   Employees Retirement           102093               $ 30,000.00* RODRIGUEZ             06/27/18   Employees Retirement           138594          $ 30,000.00
    HERNANDEZ, MARIA L                      System of the Government of                                      HERNANDEZ, MARIA L               System of the Government of
    BDA ISLA VERDE                          the Commonwealth of Puerto                                       BARRADA ISLA VERDE               the Commonwealth of Puerto
    A27                                     Rico                                                             A - 27                           Rico
    COAMO, PR 00769                         17 BK 03566-LTS                                                  COAMO, PR 00769                  17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
393 RODRIGUEZ                    06/28/18   Employees Retirement           111947             Undetermined* RODRIGUEZ              06/28/18   Employees Retirement           138216       Undetermined*
    HERNANDEZ, PEDRO                        System of the Government of                                     HERNANDEZ, PEDRO                  System of the Government of
    J 27 B REPTO                            the Commonwealth of Puerto                                      J27 B REPTO.                      the Commonwealth of Puerto
    MONTELLANO                              Rico                                                            MONTELLANO                        Rico
    CAYEY, PR 00736                         17 BK 03566-LTS                                                 CAYEY, PR 00736                   17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 76 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME              FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
394 RODRIGUEZ                     07/05/18   Employees Retirement           155921               $ 53,082.94* RODRIGUEZ               07/05/18   Employees Retirement           165423         $ 53,082.94
    LARRACUENTA, BENNY                       System of the Government of                                      LARRACUENTA, BENNY                 System of the Government of
    PO BOX 1011                              the Commonwealth of Puerto                                       PO BOX 1011                        the Commonwealth of Puerto
    SAN LORENZO, PR 00754                    Rico                                                             SAN LORENZO, PR 00754              Rico
    -1011                                    17 BK 03566-LTS                                                                                     17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
395 RODRIGUEZ LOPEZ,              05/31/18   Employees Retirement           29539                 $ 98,000.00 RODRIGUEZ LOPEZ,        05/31/18   Employees Retirement           31039         $ 98,000.00*
    CAROLYN                                  System of the Government of                                      CAROLYN                            System of the Government of
    13A K 21 N12                             the Commonwealth of Puerto                                       13A K 21 N12                       the Commonwealth of Puerto
    EXT REXVILLE                             Rico                                                             EXT REXVILLE                       Rico
    BAYAMON, PR 00957                        17 BK 03566-LTS                                                  BAYAMON, PR 00957                  17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
396 RODRIGUEZ                     06/01/18   Employees Retirement           45814               $ 122,582.87* RODRIGUEZ               06/01/18   Employees Retirement           54642         $ 122,582.87
    MARANTES, ERNESTO L.                     System of the Government of                                      MARANTES, ERNESTO L.               System of the Government of
    TEGUCIGALPA 1029                         the Commonwealth of Puerto                                       TEGUCIGALPA 1029, LAS              the Commonwealth of Puerto
    LAS AMERICAS                             Rico                                                             AMERICAS                           Rico
    RIO PIEDRAS, PR 00921                    17 BK 03566-LTS                                                  RIO PIERDAS, PR 00921              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
397 RODRIGUEZ MARTINEZ,           06/28/18   Employees Retirement           142687                $ 70,948.86 RODRIGUEZ MARTINEZ,     06/29/18   Employees Retirement           127270        $ 70,948.86*
    ZULMA                                    System of the Government of                                      ZULMA                              System of the Government of
    URB. JARDINES 2 CALLE                    the Commonwealth of Puerto                                       URB JARDINES 2 E23                 the Commonwealth of Puerto
    GARDENIA E-23                            Rico                                                             CALLE GARDENIA E-23                Rico
    CAYEY, PR 00736                          17 BK 03566-LTS                                                  CAYEY, PR 00736                    17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
398 RODRIGUEZ MATIAS,             05/25/18   Employees Retirement           15461                 $ 48,167.91 RODRIGUEZ MATIAS,       05/29/18   Employees Retirement           42215         $ 48,167.91*
    IGNACIO                                  System of the Government of                                      IGNACIO                            System of the Government of
    APARTADO 1046                            the Commonwealth of Puerto                                       APORTADO 1046                      the Commonwealth of Puerto
    TOA BAJA, PR 00951                       Rico                                                             TOA BAJA, PR 00951                 Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 77 of 97
                                       Case:17-03283-LTS Doc#:6278-1 Filed:04/15/19 Entered:04/15/19 21:12:54                                               Desc:
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
399 RODRIGUEZ MERCED,             06/08/18   Employees Retirement           49896                $ 101,702.50 RODRIGUEZ MERCED,       06/08/18   Employees Retirement           79103          $ 101,702.50
    GRISELLE                                 System of the Government of                                      GRISELLE                           System of the Government of
    SIERRA BAYAMON                           the Commonwealth of Puerto                                       SIERRA BAYAMON                     the Commonwealth of Puerto
    700 AVE WESTMAIN APT                     Rico                                                             700 AVE WESTMAIN APT               Rico
    26                                       17 BK 03566-LTS                                                  26                                 17 BK 03566-LTS
    BAYAMON, PR 00961-                                                                                        BAYAMON, PR 00961-
    4206                                                                                                      4206

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
400 RODRIGUEZ MERCED,             06/08/18   Employees Retirement           63313                $ 101,702.50 RODRIGUEZ MERCED,       06/08/18   Employees Retirement           79103          $ 101,702.50
    GRISELLE                                 System of the Government of                                      GRISELLE                           System of the Government of
    SIERRA BAYAMON APT                       the Commonwealth of Puerto                                       SIERRA BAYAMON                     the Commonwealth of Puerto
    1826 AVE. WEST MAIN                      Rico                                                             700 AVE WESTMAIN APT               Rico
    700                                      17 BK 03566-LTS                                                  26                                 17 BK 03566-LTS
    BAYAMON, PR 00961                                                                                         BAYAMON, PR 00961-
                                                                                                              4206

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
401 RODRIGUEZ MORALES,            06/29/18   Employees Retirement           78638                   $ 5,000.00 RODRIGUEZ MORALES,     07/05/18   Employees Retirement           149935           $ 5,000.00
    ILEANA                                   System of the Government of                                       ILEANA                            System of the Government of
    HC 02 BOX 14552                          the Commonwealth of Puerto                                        HC 02 BOX 14552                   the Commonwealth of Puerto
    GUAYANILLA, PR 00656                     Rico                                                              GUAYANILLA, PR 00656              Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
402 RODRIGUEZ MUNIZ,              06/29/18   Employees Retirement           147048             Undetermined* RODRIGUEZ MUNIZ,         06/29/18   Employees Retirement           149888       Undetermined*
    ARCANGEL                                 System of the Government of                                     ARCANGEL                            System of the Government of
    HC-01 BOX 6915                           the Commonwealth of Puerto                                      BO. QUEBRADA HONDA                  the Commonwealth of Puerto
    GUAYANILLA, PR 00656                     Rico                                                            SECTOR CASANOVA                     Rico
                                             17 BK 03566-LTS                                                 HC 01 BOX 6915                      17 BK 03566-LTS
                                                                                                             GUAYANILLA, PR 00656

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
403 RODRIGUEZ NAZARIO,            06/28/18   Employees Retirement           74660                 $ 73,793.96 RODRIGUEZ NAZARIO,      06/28/18   Employees Retirement           72857           $ 73,793.96
    MIRIAM                                   System of the Government of                                      MIRIAM                             System of the Government of
    5156 BO. DAGUAO                          the Commonwealth of Puerto                                       5156 BO. DAGUAO                    the Commonwealth of Puerto
    NAGUABO, PR 00718-                       Rico                                                             NAGUABO, PR 00718-                 Rico
    2998                                     17 BK 03566-LTS                                                  2998                               17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 78 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME              FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
404 RODRIGUEZ OJEDA,              07/05/18   Employees Retirement           155788                $ 57,424.98 RODRIGUEZ OJEDA,        07/05/18   Employees Retirement           157153         $ 57,424.98*
    LILLIAN I                                System of the Government of                                      LILLIAN I                          System of the Government of
    PO BOX 400                               the Commonwealth of Puerto                                       PO BOX 400                         the Commonwealth of Puerto
    SABANA SECA, PR 00952                    Rico                                                             SABANA SECA, PR 00952              Rico
                                             17 BK 03566-LTS                                                  -0000                              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
405 RODRIGUEZ ORTIZ,              04/24/18   Employees Retirement            8081              Undetermined* RODRIGUEZ ORTIZ,         05/16/18   Employees Retirement           16001        Undetermined*
    ABIMAEL                                  System of the Government of                                     ABIMAEL                             System of the Government of
    CALLE 28 J20 URB.                        the Commonwealth of Puerto                                      CALLE 28 J-20 URB.                  the Commonwealth of Puerto
    ROYAL TOWN                               Rico                                                            ROYAL TOWN                          Rico
    BAYAMON, PR 00956                        17 BK 03566-LTS                                                 BAYAMON, PR 00956                   17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
406 RODRIGUEZ ORTIZ,              06/13/18   Employees Retirement           42526                $ 28,153.67* RODRIGUEZ ORTIZ,        06/28/18   Employees Retirement           148974         $ 28,153.67*
    EDWIN                                    System of the Government of                                      EDWIN                              System of the Government of
    CALLE MARUJA                             the Commonwealth of Puerto                                       CALLE MARUJA                       the Commonwealth of Puerto
    CENTRAL A-F5                             Rico                                                             CENTRAL A-F5                       Rico
    CUARTA SECCION DE                        17 BK 03566-LTS                                                  CUARTA SECCION DE                  17 BK 03566-LTS
    LEVITTOWN                                                                                                 LEVITTOWN
    TOA BAJA, PR 00949                                                                                        TOA BAJA, PR 00949

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
407 RODRIGUEZ ORTIZ,              03/22/18   Employees Retirement            4010                $ 22,474.47* RODRIGUEZ ORTIZ,        03/22/18   Employees Retirement           4185           $ 22,474.47*
    ELIANA                                   System of the Government of                                      ELIANA                             System of the Government of
    PARCELA CASTILLO                         the Commonwealth of Puerto                                       PARC CASTILLO                      the Commonwealth of Puerto
    A-50 CALLE HIPOLITO                      Rico                                                             A50 HIPOLITO ARROYO                Rico
    ARROYO                                   17 BK 03566-LTS                                                  MAYAGUEZ, PR 00680                 17 BK 03566-LTS
    MAYAGUEZ, PR 00682

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
408 RODRIGUEZ OTERO,              06/27/18   Employees Retirement           112677                $ 38,024.61 RODRIGUEZ OTERO,        06/27/18   Employees Retirement           135210          $ 38,024.61
    ELBA                                     System of the Government of                                      ELBA                               System of the Government of
    PO BOX 3603                              the Commonwealth of Puerto                                       PO BOX 3603                        the Commonwealth of Puerto
    GUAYNABO, PR 00970                       Rico                                                             GUAYNABO, PR 00970                 Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 79 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME              FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
409 RODRIGUEZ RAMOS,              06/27/18   Employees Retirement           53309                 $ 75,000.00 RODRIGUEZ RAMOS,         06/28/18   Employees Retirement           134957          $ 75,000.00
    GLADYS                                   System of the Government of                                      GLADYS                              System of the Government of
    PRADERAS DEL RIO 3074                    the Commonwealth of Puerto                                       PRADERA DEL RIO 3074                the Commonwealth of Puerto
    CALLE RIO GUAYABO                        Rico                                                             CALLE RIO GUAYABO                   Rico
    TOA ALTA, PR 00953                       17 BK 03566-LTS                                                  TOA ALTA, PR 00953                  17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
410 RODRIGUEZ                     03/19/18   Employees Retirement            2411                 $ 76,815.78 RODRIGUEZ                04/03/18   Employees Retirement           6028            $ 76,815.78
    RODRIGUEZ, MAYDA                         System of the Government of                                      RODRIGUEZ, MAYDA                    System of the Government of
    HC-01 BOX 8020                           the Commonwealth of Puerto                                       HC 01 BOX 8020                      the Commonwealth of Puerto
    HORMIGUEROS, PR                          Rico                                                             HORMIGUEROS, PR                     Rico
    00660-9723                               17 BK 03566-LTS                                                  00660-9723                          17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
411 RODRIGUEZ ROSARIO,            06/29/18   Employees Retirement           127568             Undetermined* RODRIGUEZ ROSARIO,        06/29/18   Employees Retirement           132943       Undetermined*
    EVELYN                                   System of the Government of                                     EVELYN                               System of the Government of
    URB. BRISAS DEL                          the Commonwealth of Puerto                                      BUZON 557 CALLE                      the Commonwealth of Puerto
    CAMPANERO                                Rico                                                            ISAIAS                               Rico
    CALLE ISAIAS E-7                         17 BK 03566-LTS                                                 URB. BRISAS DEL                      17 BK 03566-LTS
    BUZON 557                                                                                                CAMPANERO I
    TOA BAJA, PR 00949-2229                                                                                  TOA BAJA, PR 00949-2229

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
412 RODRIGUEZ SCHMIDT,            06/28/18   Employees Retirement           127743              $ 148,948.53* RODRIGUEZ SCHMIDT,       06/28/18   Employees Retirement           150820        $ 148,948.53*
    HERNAN                                   System of the Government of                                      HERNAN                              System of the Government of
    #273 CALLE EUCALIPTO                     the Commonwealth of Puerto                                       #273 CALLE EUCALIPTO                the Commonwealth of Puerto
    CIUDAD JARDIN III                        Rico                                                             CIUDAD JARDIN III                   Rico
    TOA ALTA, PR 00953                       17 BK 03566-LTS                                                  TOA ALTA, PR 00953                  17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
413 RODRIGUEZ                     06/27/18   Employees Retirement           43931                   $ 3,957.00 RODRIGUEZ               06/27/18   Employees Retirement           43780            $ 3,957.00
    SEPULVEDA, SHEILA                        System of the Government of                                       SEPULVEDA, SHEILA                  System of the Government of
    BARRIO BELGICA                           the Commonwealth of Puerto                                        BARRIO BELGICA                     the Commonwealth of Puerto
    2183 CALLE CAMPOS                        Rico                                                              2183 CALLE CAMPOS                  Rico
    PONCE, PR 00717                          17 BK 03566-LTS                                                   PONCE, PR 00717                    17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 80 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
414 RODRIGUEZ SOSA,               07/06/18   Employees Retirement           123256               $ 34,416.11* RODRIGUEZ SOSA,        07/06/18   Employees Retirement           159894        $ 34,416.11*
    MARY                                     System of the Government of                                      MARY                              System of the Government of
    HC 6 BOX 67855                           the Commonwealth of Puerto                                       HC 6 BOX 67855                    the Commonwealth of Puerto
    AGUADILLA, PR 00603                      Rico                                                             AGUADILLA, PR 00603               Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
415 RODRIGUEZ TORRES,             03/12/18   Employees Retirement            2033                 $ 53,268.24 RODRIGUEZ TORRES,      04/02/18   Employees Retirement           3328           $ 53,268.24
    ABIGAIL                                  System of the Government of                                      ABIGAIL                           System of the Government of
    RR1 BOX 4365                             the Commonwealth of Puerto                                       BOX 4365                          the Commonwealth of Puerto
    CIDRA, PR 00739                          Rico                                                             CIDRA, PR 00739-9619              Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
416 RODRIGUEZ TORRES,             06/29/18   Employees Retirement           70385                 $ 65,500.00 RODRIGUEZ TORRES,      06/29/18   Employees Retirement           76559          $ 65,500.00
    JOSE M                                   System of the Government of                                      JOSE M                            System of the Government of
    PO BOX 224                               the Commonwealth of Puerto                                       PO BOX 224                        the Commonwealth of Puerto
    COAMO, PR 00769                          Rico                                                             COAMO, PR 00769                   Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
417 RODRIGUEZ TORRES,             05/21/18   Employees Retirement           13072                $ 62,790.16* RODRIGUEZ TORRES,      06/28/18   Employees Retirement           59441         $ 62,790.16*
    MELVIES                                  System of the Government of                                      MELVIES                           System of the Government of
    200 PARK WEST                            the Commonwealth of Puerto                                       200 PARK WEST                     the Commonwealth of Puerto
    APT 69 EDIF 14                           Rico                                                             APT. 69 EDIF.14                   Rico
    BAYAMON, PR 00961                        17 BK 03566-LTS                                                  BAYAMON, PR 00961                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
418 RODRIGUEZ TORRES,             05/21/18   Employees Retirement           14336                $ 62,790.16* RODRIGUEZ TORRES,      06/28/18   Employees Retirement           60536         $ 62,790.16*
    MELVIES                                  System of the Government of                                      MELVIES                           System of the Government of
    200 PARK WEST                            the Commonwealth of Puerto                                       200 PARK WEST                     the Commonwealth of Puerto
    APT 69 EDIF 14                           Rico                                                             APT 69 EDIF 14                    Rico
    BAYAMON, PR 00961                        17 BK 03566-LTS                                                  BAYAMON, PR 00961                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
419 RODRIGUEZ VEGA,               06/13/18   Employees Retirement           64081                 $ 79,238.00 RODRIGUEZ VEGA,        06/21/18   Employees Retirement           76367          $ 79,238.00
    RAMON L.                                 System of the Government of                                      RAMON L.                          System of the Government of
    CALLE ROMAN 124                          the Commonwealth of Puerto                                       124 CALLE ROMAN                   the Commonwealth of Puerto
    ISABELA, PR 00662                        Rico                                                             ISABELA, PR 00662                 Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 81 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME           FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
420 ROJAS GUZMAN,                 06/27/18   Employees Retirement           104399             Undetermined* ROJAS GUZMAN,          06/28/18   Employees Retirement           116967       Undetermined*
    JEANETTE                                 System of the Government of                                     JEANETTE                          System of the Government of
    HC 5 BOX 5807                            the Commonwealth of Puerto                                      HC-05 BOX 5807                    the Commonwealth of Puerto
    JUANA DIAZ, PR 00795                     Rico                                                            JUANA DIAZ, PR 00795              Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
421 ROLDAN LUCCA,                 06/29/18   Employees Retirement           141737               $ 39,832.85* ROLDAN LUCCA,         06/29/18   Employees Retirement           143313         $ 39,832.85*
    ARGENIS                                  System of the Government of                                      ARGENIS                          System of the Government of
    PO BOX 294                               the Commonwealth of Puerto                                       PO BOX 294                       the Commonwealth of Puerto
    JAYUYA, PR 00664                         Rico                                                             JAYUYA, PR 00664                 Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
422 ROMAN ACOSTA,                 06/29/18   Employees Retirement           68693                $ 20,000.00* ROMAN ACOSTA,         06/30/18   Employees Retirement           101203         $ 20,000.00*
    BRUNILDA                                 System of the Government of                                      BRUNILDA                         System of the Government of
    L-R-15 VIA 17 VILLA                      the Commonwealth of Puerto                                       DALMA ROMAN                      the Commonwealth of Puerto
    FONTANA                                  Rico                                                             ACOSTA                           Rico
    CAROLINA, PR 00983                       17 BK 03566-LTS                                                  L-R-15 VIA 17 VILLA              17 BK 03566-LTS
                                                                                                              FONTANA
                                                                                                              CAROLINA, PR 00983

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
423 ROMAN HEREDIA,                07/03/18   Employees Retirement           126424             Undetermined* ROMAN HEREDIA,         07/03/18   Employees Retirement           148291       Undetermined*
    JOSEPH                                   System of the Government of                                     JOSEPH                            System of the Government of
    HC-06-BOX 10046                          the Commonwealth of Puerto                                      HC-06 BOX 10046                   the Commonwealth of Puerto
    HATILLO, PR 00659                        Rico                                                            HATILLO, PR 00659                 Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
424 ROMAN NAZARIO,                05/25/18   Employees Retirement           15813                 $ 63,954.57 ROMAN NAZARIO,        05/25/18   Employees Retirement           22832           $ 63,954.57
    LEONCIO                                  System of the Government of                                      LEONCIO                          System of the Government of
    HC 8666 BOX 7237                         the Commonwealth of Puerto                                       HC 8666 BOX 7237                 the Commonwealth of Puerto
    FAJARDO, PR 00738                        Rico                                                             FAJARDO, PR 00738                Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
425 ROMAN OCASIO, JOSE            05/02/18   Employees Retirement            8872              Undetermined* ROMAN OCASIO, JOSE     05/08/18   Employees Retirement           12444        Undetermined*
    PO BOX 371883                            System of the Government of                                     PO BOX 371883                     System of the Government of
    CAYEY, PR 00737-1883                     the Commonwealth of Puerto                                      CAYEY, PR 00736                   the Commonwealth of Puerto
                                             Rico                                                                                              Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 82 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME              FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
426 ROMAN RODRIGUEZ,              05/29/18   Employees Retirement           30422              Undetermined* ROMAN RODRIGUEZ,         05/29/18   Employees Retirement           36675        Undetermined*
    MARGARITA                                System of the Government of                                     MARGARITA                           System of the Government of
    PO BOX 912                               the Commonwealth of Puerto                                      PO BOX 912                          the Commonwealth of Puerto
    TRUJILLO ALTO, PR                        Rico                                                            TRUJILLO ALTO, PR                   Rico
    00977                                    17 BK 03566-LTS                                                 00977                               17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
427 ROMAN RODRIGUEZ,              05/29/18   Employees Retirement           32985              Undetermined* ROMAN RODRIGUEZ,         05/29/18   Employees Retirement           36675        Undetermined*
    MARGARITA                                System of the Government of                                     MARGARITA                           System of the Government of
    PO BOX 912                               the Commonwealth of Puerto                                      PO BOX 912                          the Commonwealth of Puerto
    TRUJILLO ALTO, PR                        Rico                                                            TRUJILLO ALTO, PR                   Rico
    00977                                    17 BK 03566-LTS                                                 00977                               17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
428 ROMERO AGUIRRE,               06/29/18   Employees Retirement           87072              Undetermined* ROMERO AGUIRRE,          07/23/18   Employees Retirement           159775       Undetermined*
    AIDA                                     System of the Government of                                     AIDA                                System of the Government of
    HC-01 BOX 5253                           the Commonwealth of Puerto                                      HC-01 BOX 5253                      the Commonwealth of Puerto
    SANTA ISABEL, PR 00757                   Rico                                                            SANTA ISABEL, PR 00757              Rico
    -9789                                    17 BK 03566-LTS                                                                                     17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
429 ROMERO DUPREY,                05/07/18   Employees Retirement           10694              Undetermined* ROMERO DUPREY,           05/08/18   Employees Retirement           12406        Undetermined*
    ANGEL                                    System of the Government of                                     ANGEL                               System of the Government of
    BDA ISRAEL                               the Commonwealth of Puerto                                      CALLE FRANCIA FINAL                 the Commonwealth of Puerto
    91 CALLE FRANCIA                         Rico                                                            #91                                 Rico
    FINAL                                    17 BK 03566-LTS                                                 SAN JUAN, PR 00917                  17 BK 03566-LTS
    SAN JUAN, PR 00917

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
430 ROMERO DUPREY,                05/07/18   Employees Retirement           11040              Undetermined* ROMERO DUPREY,           05/08/18   Employees Retirement           12406        Undetermined*
    ANGEL                                    System of the Government of                                     ANGEL                               System of the Government of
    BDA ISRAEL                               the Commonwealth of Puerto                                      CALLE FRANCIA FINAL                 the Commonwealth of Puerto
    91 CALLE FRANCIA                         Rico                                                            #91                                 Rico
    FINAL                                    17 BK 03566-LTS                                                 SAN JUAN, PR 00917                  17 BK 03566-LTS
    SAN JUAN, PR 00917

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 83 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME           FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
431 ROMERO LOPEZ,                 06/13/18   Employees Retirement           50136              Undetermined* ROMERO LOPEZ,          06/13/18   Employees Retirement           64222        Undetermined*
    MARITZA                                  System of the Government of                                     MARITZA                           System of the Government of
    2H 31 CALLE 38                           the Commonwealth of Puerto                                      URB METROPOLIS                    the Commonwealth of Puerto
    CAROLINA, PR 00987                       Rico                                                            2H 31 CALLE 38                    Rico
                                             17 BK 03566-LTS                                                 CAROLINA, PR 00987                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
432 ROMERO PEREZ,                 05/16/18   Employees Retirement           15631                   $ 8,000.00 ROMERO PEREZ,        05/16/18   Employees Retirement           15677            $ 8,000.00
    ROBERTO                                  System of the Government of                                       ROBERTO                         System of the Government of
    THE PERROM LAW                           the Commonwealth of Puerto                                        THE PERROM LAW                  the Commonwealth of Puerto
    OFFICE LLC                               Rico                                                              OFFICE LLC                      Rico
    954 W WASHINGTON                         17 BK 03566-LTS                                                   954 W WASHINGTON                17 BK 03566-LTS
    BLVD STE 625                                                                                               BLVD STE 625
    CHICAGO, IL 60607                                                                                          CHICAGO, IL 60607

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
433 ROSA LOZADA,                  05/25/18   Employees Retirement           23422                 $ 48,598.01 ROSA LOZADA,          05/25/18   Employees Retirement           26682           $ 48,598.01
    MARITZA                                  System of the Government of                                      MARITZA                          System of the Government of
    TOA ALTA HEIGHTS                         the Commonwealth of Puerto                                       URB TOA ALTA                     the Commonwealth of Puerto
    AE 7 CALLE 27                            Rico                                                             HEIGHTS                          Rico
    TOA ALTA, PR 00953                       17 BK 03566-LTS                                                  AE 7 CALLE 27                    17 BK 03566-LTS
                                                                                                              TOA ALTA, PR 00953

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
434 ROSA PENNISTOWN,              06/27/18   Employees Retirement           54628                $ 75,000.00* ROSA PENNISTOWN,      06/27/18   Employees Retirement           54987          $ 75,000.00*
    LITZA M.                                 System of the Government of                                      LITZA M.                         System of the Government of
    CALLE 37 EE-12                           the Commonwealth of Puerto                                       CALLE 37 EE-12                   the Commonwealth of Puerto
    JARDINES DE CAPARRA                      Rico                                                             JARDINES DE CAPARRA              Rico
    BAYAMÓN, PR 00959                        17 BK 03566-LTS                                                  BAYAMÓN, PR 00959                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
435 ROSA TORRES, DIANA            06/26/18   Employees Retirement           98085                 $ 53,746.72 ROSA TORRES, DIANA    06/26/18   Employees Retirement           98102           $ 53,746.72
    BO CAMPANILLA                            System of the Government of                                      BO CAMPANILLA                    System of the Government of
    364 CALLE FORTALEZA                      the Commonwealth of Puerto                                       364 CALLE FORTALEZA              the Commonwealth of Puerto
    TOA BAJA, PR 00949                       Rico                                                             TOA BAJA, PR 00949               Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 84 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME              FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
436 ROSADO BARRETO,               04/17/18   Employees Retirement            7641                 $ 48,460.29 ROSADO BARRETO,         04/17/18   Employees Retirement           7658            $ 48,460.29
    MAGDALENA                                System of the Government of                                      MAGDALENA                          System of the Government of
    HC70 BOX 26032                           the Commonwealth of Puerto                                       HC 70 BOX 26032                    the Commonwealth of Puerto
    SAN LORENZO, PR 00754                    Rico                                                             SAN LORENZO, PR 00754              Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
437 ROSADO BARRETO,               04/17/18   Employees Retirement            7645                 $ 48,460.29 ROSADO BARRETO,         04/17/18   Employees Retirement           7658            $ 48,460.29
    MAGDALENA                                System of the Government of                                      MAGDALENA                          System of the Government of
    HC70 BOX 26032                           the Commonwealth of Puerto                                       HC 70 BOX 26032                    the Commonwealth of Puerto
    SAN LORENZO, PR 00754                    Rico                                                             SAN LORENZO, PR 00754              Rico
    -9647                                    17 BK 03566-LTS                                                                                     17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
438 ROSADO GREEN, JANICE          06/29/18   Employees Retirement           67245                 $ 22,658.18 ROSADO GREEN, JANICE    06/29/18   Employees Retirement           85082           $ 22,658.18
    MARIE                                    System of the Government of                                      MARIE                              System of the Government of
    TERR. BORINQUEN                          the Commonwealth of Puerto                                       TERR. BORINQUEN 2                  the Commonwealth of Puerto
    2 CALLE CANUELAS                         Rico                                                             CALLE CANUELAS                     Rico
    CAGUAS, PR 00725-9842                    17 BK 03566-LTS                                                  CAGUAS, PR 00725-9842              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
439 ROSADO NAVARRO,               06/28/18   Employees Retirement           55112                 $ 28,552.33 ROSADO NAVARRO,         06/28/18   Employees Retirement           56814           $ 28,552.33
    DAMARIS                                  System of the Government of                                      DAMARIS                            System of the Government of
    URB. TERESITA AD-19                      the Commonwealth of Puerto                                       URB. TERESITA C/32                 the Commonwealth of Puerto
    CALLE 32                                 Rico                                                             AD-19                              Rico
    BAYAMON, PR 00961                        17 BK 03566-LTS                                                  BAYAMON, PR 00961                  17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
440 ROSADO SANTIAGO,              05/31/18   Employees Retirement           29190              Undetermined* ROSADO SANTIAGO,         05/31/18   Employees Retirement           29265        Undetermined*
    IDALIZ                                   System of the Government of                                     IDALIZ                              System of the Government of
    RR1 BOX 13061                            the Commonwealth of Puerto                                      RR1 BOX 13061                       the Commonwealth of Puerto
    MANATI, PR 00674                         Rico                                                            MANATI, PR 00674                    Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
441 ROSARIO AVILES, LUIS          06/28/18   Employees Retirement           72425                $ 26,927.69* ROSARIO AVILES, LUIS    06/28/18   Employees Retirement           77586          $ 26,927.69*
    HC 1 BOX 3627                            System of the Government of                                      HC 01 BOX 3627                     System of the Government of
    AIBONITO, PR 00705                       the Commonwealth of Puerto                                       AIBONITO, PR 00705                 the Commonwealth of Puerto
                                             Rico                                                                                                Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 85 of 97
                                       Case:17-03283-LTS Doc#:6278-1 Filed:04/15/19 Entered:04/15/19 21:12:54                                              Desc:
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
442 ROSARIO CASTRO,               05/22/18   Employees Retirement           24597              Undetermined* ROSARIO CASTRO,         06/29/18   Employees Retirement           74930        Undetermined*
    DALICE                                   System of the Government of                                     DALICE                             System of the Government of
    VILLA BLANCA                             the Commonwealth of Puerto                                      VILLA BLANCA                       the Commonwealth of Puerto
    43 TOPACIO                               Rico                                                            43 TOPACIO                         Rico
    CAGUAS, PR 00725                         17 BK 03566-LTS                                                 CAGUAS, PR 00725                   17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
443 ROSARIO CASTRO,               05/22/18   Employees Retirement           25214              Undetermined* ROSARIO CASTRO,         06/29/18   Employees Retirement           74930        Undetermined*
    DALICE                                   System of the Government of                                     DALICE                             System of the Government of
    VILLA BLANCA                             the Commonwealth of Puerto                                      VILLA BLANCA                       the Commonwealth of Puerto
    43 CALLE TOPACIO                         Rico                                                            43 TOPACIO                         Rico
    CAGUAS, PR 00725                         17 BK 03566-LTS                                                 CAGUAS, PR 00725                   17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
444 ROSARIO DIAZ, MARIA           05/29/18   Employees Retirement           17206                $ 64,805.51* ROSARIO DIAZ, MARIA    05/29/18   Employees Retirement           26593          $ 64,805.51*
    D                                        System of the Government of                                      D                                 System of the Government of
    PO BOX 14182                             the Commonwealth of Puerto                                       PO BOX 14182                      the Commonwealth of Puerto
    BO OBRERO                                Rico                                                             BO OBRERO                         Rico
    SAN JUAN, PR 00916                       17 BK 03566-LTS                                                  SAN JUAN, PR 00916                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
445 ROSARIO ROSARIO,              06/29/18   Employees Retirement           137555               $ 41,027.36* ROSARIO ROSARIO,       06/29/18   Employees Retirement           145510         $ 41,027.36*
    CARMEN I                                 System of the Government of                                      CARMEN I                          System of the Government of
    URB VILLA DEL REY IV                     the Commonwealth of Puerto                                       GG2 CALLE 14                      the Commonwealth of Puerto
    SECC                                     Rico                                                             CAGUAS, PR 00725                  Rico
    GG2 CALLE 14                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    CAGUAS, PR 00725

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
446 ROSARIO TORRES,               06/28/18   Employees Retirement           56014                 $ 54,738.55 ROSARIO TORRES,        06/28/18   Employees Retirement           62522           $ 54,738.55
    MELBA J.                                 System of the Government of                                      MELBA J.                          System of the Government of
    HC 2 BOX 8734                            the Commonwealth of Puerto                                       HC 2 BOX 8734                     the Commonwealth of Puerto
    GUAYANILLA, PR 00656                     Rico                                                             GUAYANILLA, PR 00656              Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 86 of 97
                                       Case:17-03283-LTS Doc#:6278-1 Filed:04/15/19 Entered:04/15/19 21:12:54                                              Desc:
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
447 ROSARIO VAZQUEZ,              06/26/18   Employees Retirement           48091              Undetermined* ROSARIO VAZQUEZ,        07/06/18   Employees Retirement           158193       Undetermined*
    ELBA ENID                                System of the Government of                                     ELBA ENID                          System of the Government of
    VISTA AZUL CALLE 8 C3                    the Commonwealth of Puerto                                      VISTA AZUL CALLE 8 C3              the Commonwealth of Puerto
    ARECIBO, PR 00612                        Rico                                                            ARECIBO, PR 00612                  Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
448 ROSAS PEREZ, KEYLA            05/17/18   Employees Retirement           16663              Undetermined* ROSAS PEREZ, KEYLA      05/17/18   Employees Retirement           17845        Undetermined*
    URB. VILLA REAL I-9                      System of the Government of                                     VILLA REAL                         System of the Government of
    CABO ROJO, PR 00623                      the Commonwealth of Puerto                                      I9                                 the Commonwealth of Puerto
                                             Rico                                                            CABO ROJO, PR 00623                Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
449 RUBIO CORDERO,                05/04/18   Employees Retirement            8538               $ 110,149.13* RUBIO CORDERO,         05/29/18   Employees Retirement           28005          $ 110,149.13
    DINORAH                                  System of the Government of                                      DINORAH                           System of the Government of
    C4 F1                                    the Commonwealth of Puerto                                       C4 F1                             the Commonwealth of Puerto
    LAGOS DE PLATA                           Rico                                                             LAGOS DE PLATA                    Rico
    TOA BAJA, PR 00949                       17 BK 03566-LTS                                                  TOA BAJA, PR 00949                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
450 RUBIO CORDERO,                05/04/18   Employees Retirement            8561               $ 110,149.13* RUBIO CORDERO,         05/29/18   Employees Retirement           28005          $ 110,149.13
    DINORAH                                  System of the Government of                                      DINORAH                           System of the Government of
    URB. LAGOS DE PLATA                      the Commonwealth of Puerto                                       C4 F1                             the Commonwealth of Puerto
    CALLE 4 F 1                              Rico                                                             LAGOS DE PLATA                    Rico
    TOA BAJA, PR 00949                       17 BK 03566-LTS                                                  TOA BAJA, PR 00949                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
451 RUBIO CORDERO,                05/04/18   Employees Retirement            9276               $ 110,149.13* RUBIO CORDERO,         05/29/18   Employees Retirement           28005          $ 110,149.13
    DINORAH                                  System of the Government of                                      DINORAH                           System of the Government of
    CALLE 4 F 1 URB LAGOS                    the Commonwealth of Puerto                                       C4 F1                             the Commonwealth of Puerto
    DE PLATA                                 Rico                                                             LAGOS DE PLATA                    Rico
    TOA BAJA, PR 00949                       17 BK 03566-LTS                                                  TOA BAJA, PR 00949                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
452 RUBIO CORDERO,                05/15/18   Employees Retirement           13582                $ 110,149.13 RUBIO CORDERO,         05/29/18   Employees Retirement           28005          $ 110,149.13
    DINORAH                                  System of the Government of                                      DINORAH                           System of the Government of
    C4 F1                                    the Commonwealth of Puerto                                       C4 F1                             the Commonwealth of Puerto
    LAGOS DE PLATA                           Rico                                                             LAGOS DE PLATA                    Rico
    TOA BAJA, PR 00949                       17 BK 03566-LTS                                                  TOA BAJA, PR 00949                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 87 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
453 RUBIO CORDERO,                05/29/18   Employees Retirement           27606                $ 110,149.13 RUBIO CORDERO,         05/29/18   Employees Retirement           28005          $ 110,149.13
    DINORAH                                  System of the Government of                                      DINORAH                           System of the Government of
    C4 F1                                    the Commonwealth of Puerto                                       C4 F1                             the Commonwealth of Puerto
    LAGOS DE PLATA                           Rico                                                             LAGOS DE PLATA                    Rico
    TOA BAJA, PR 00949                       17 BK 03566-LTS                                                  TOA BAJA, PR 00949                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
454 RUIZ BONILLA, ASTRID          05/31/18   Employees Retirement           26830                $ 75,000.00* RUIZ BONILLA, ASTRID   05/31/18   Employees Retirement           24261          $ 75,000.00*
    M                                        System of the Government of                                      M                                 System of the Government of
    URB ISABEL LA                            the Commonwealth of Puerto                                       URB ISABEL LA                     the Commonwealth of Puerto
    CATOLICA                                 Rico                                                             CATOLICA                          Rico
    A-3 CALLE 5                              17 BK 03566-LTS                                                  A-3 CALLE 5                       17 BK 03566-LTS
    AGUADA, PR 00602                                                                                          AGUADA, PR 00602

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
455 RUIZ GOMEZ, LUIS M.           06/29/18   Employees Retirement           129196               $ 45,000.00* RUIZ GOMEZ, LUIS M.    07/05/18   Employees Retirement           157361         $ 45,000.00*
    4 RIACHUELO URB.                         System of the Government of                                      4 RIACHUELO URB.                  System of the Government of
    VALLE DEL PARAISO                        the Commonwealth of Puerto                                       VALLE DEL PARAISO                 the Commonwealth of Puerto
    TOA ALTA, PR 00953                       Rico                                                             TOA ALTA, PR 00953                Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
456 RUIZ LOZADA, CARMEN           06/05/18   Employees Retirement           48259                $ 63,456.08* RUIZ LOZADA, CARMEN    06/05/18   Employees Retirement           51685          $ 63,456.08*
    G.                                       System of the Government of                                      G.                                System of the Government of
    L-4 CALLE 7                              the Commonwealth of Puerto                                       URB MOUNTAIN VIEW                 the Commonwealth of Puerto
    MOUNTAIN VIEW                            Rico                                                             L4 CALLE 7                        Rico
    CAROLINA, PR 00987                       17 BK 03566-LTS                                                  CAROLINA, PR 00987                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
457 RUIZ QUINTANA,                05/18/18   Employees Retirement           14615              Undetermined* RUIZ QUINTANA,          05/22/18   Employees Retirement           21746        Undetermined*
    MERCEDES                                 System of the Government of                                     MERCEDES                           System of the Government of
    HC 06 BOX 13149                          the Commonwealth of Puerto                                      HC 06 BOX 13149                    the Commonwealth of Puerto
    SAN SEBASTIÁN, PR                        Rico                                                            SAN SEBASTIAN, PR                  Rico
    00685                                    17 BK 03566-LTS                                                 00685                              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 88 of 97
                                       Case:17-03283-LTS Doc#:6278-1 Filed:04/15/19 Entered:04/15/19 21:12:54                                              Desc:
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
458 RUIZ REYES, KARENLY           05/08/18   Employees Retirement            9540                 $ 31,150.03 RUIZ REYES, KARENLY    05/11/18   Employees Retirement           10214           $ 31,150.03
    BJ-683 CALLE 51                          System of the Government of                                      BJ-683 CALLE 51                   System of the Government of
    RIO GRANDE, PR 00745                     the Commonwealth of Puerto                                       RIO GRANDE, PR 00745              the Commonwealth of Puerto
                                             Rico                                                                                               Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
459 RUIZ REYES, KARENLY           05/09/18   Employees Retirement           10496                 $ 31,150.03 RUIZ REYES, KARENLY    05/11/18   Employees Retirement           10214           $ 31,150.03
    JARDS DE RIO GRANDE                      System of the Government of                                      BJ-683 CALLE 51                   System of the Government of
    BJ683 CALLE 51                           the Commonwealth of Puerto                                       RIO GRANDE, PR 00745              the Commonwealth of Puerto
    RIO GRANDE, PR 00745                     Rico                                                                                               Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
460 RUIZ REYES, KARENLY           05/08/18   Employees Retirement           11219                 $ 31,150.03 RUIZ REYES, KARENLY    05/11/18   Employees Retirement           10214           $ 31,150.03
    BJ-683 CALLE 51                          System of the Government of                                      BJ-683 CALLE 51                   System of the Government of
    JARDINES                                 the Commonwealth of Puerto                                       RIO GRANDE, PR 00745              the Commonwealth of Puerto
    RIO GRANDE, PR 00745                     Rico                                                                                               Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
461 RUIZ RODRIGUEZ,               06/22/18   Employees Retirement           43720              Undetermined* RUIZ RODRIGUEZ,         07/06/18   Employees Retirement           160322       Undetermined*
    VALENTIN                                 System of the Government of                                     VALENTIN                           System of the Government of
    HC 09 BOX 1708                           the Commonwealth of Puerto                                      HC 09 BOX 1708                     the Commonwealth of Puerto
    PONCE, PR 00731                          Rico                                                            PONCE, PR 00731                    Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
462 RUIZ SANTIAGO,                06/27/18   Employees Retirement           79548              Undetermined* RUIZ SANTIAGO,          06/27/18   Employees Retirement           122762       Undetermined*
    MARGARITA                                System of the Government of                                     MARGARITA                          System of the Government of
    URB LLANOS DEL SUR                       the Commonwealth of Puerto                                      LLANOS DEL SUR #239                the Commonwealth of Puerto
    239 CALLE ESMERALDA                      Rico                                                            ESMERALDA                          Rico
    COTO LAUREL, PR 00780                    17 BK 03566-LTS                                                 COTO LAUREL, PR 00780              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
463 RUIZ, EDWIN                   05/21/18   Employees Retirement           13081                 $ 65,564.63 RUIZ, EDWIN            05/21/18   Employees Retirement           15220           $ 65,564.63
    33 CALLE NUEVA                           System of the Government of                                      33 CALLE NUEVA                    System of the Government of
    CATANO, PR 00962                         the Commonwealth of Puerto                                       CATANO, PR 00962                  the Commonwealth of Puerto
                                             Rico                                                                                               Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 89 of 97
                                       Case:17-03283-LTS Doc#:6278-1 Filed:04/15/19 Entered:04/15/19 21:12:54                                               Desc:
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
464 RUIZ, EDWIN                   05/21/18   Employees Retirement           13414                 $ 65,564.63 RUIZ, EDWIN             05/21/18   Employees Retirement           15220           $ 65,564.63
    33 CALLE NUEVA                           System of the Government of                                      33 CALLE NUEVA                     System of the Government of
    CATANO, PR 00962                         the Commonwealth of Puerto                                       CATANO, PR 00962                   the Commonwealth of Puerto
                                             Rico                                                                                                Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
465 SALAMAN                       05/24/18   Employees Retirement           32950                   $ 5,921.27 SALAMAN                05/24/18   Employees Retirement           33648            $ 5,921.27
    COUVERTIER, ISARIS P                     System of the Government of                                       COUVERTIER, ISARIS P              System of the Government of
    URB. VILLA CAROLINA                      the Commonwealth of Puerto                                        URB VILLA CAROLINA                the Commonwealth of Puerto
    D-27 CALLE 2                             Rico                                                              D 27 CALLE 2                      Rico
    CAROLINA, PR 00985                       17 BK 03566-LTS                                                   CAROLINA, PR 00985                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
466 SALIM SANTIAGO,               06/12/18   Employees Retirement           63802                 $ 45,000.00 SALIM SANTIAGO,         06/14/18   Employees Retirement           70180           $ 45,000.00
    SAMIRA                                   System of the Government of                                      SAMIRA                             System of the Government of
    PO BOX 1392                              the Commonwealth of Puerto                                       PO BOX 1392                        the Commonwealth of Puerto
    CANOVANAS, PR 00729                      Rico                                                             CANOVANAS, PR 00729                Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
467 SANABRIA LOPEZ,               06/22/18   Employees Retirement           37650              Undetermined* SANABRIA LOPEZ,          07/06/18   Employees Retirement           160704       Undetermined*
    ELIZABETH                                System of the Government of                                     ELIZABETH                           System of the Government of
    HC 06 BOX 45040                          the Commonwealth of Puerto                                      HC 06 BOX 45040                     the Commonwealth of Puerto
    COTO LAUREL                              Rico                                                            COTO LAUREL                         Rico
    PONCE, PR 00780                          17 BK 03566-LTS                                                 PONCE, PR 00780                     17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
468 SANCHEZ ALEQUIN,              06/28/18   Employees Retirement           62908                $ 125,000.00 SANCHEZ ALEQUIN,        06/28/18   Employees Retirement           124843         $ 125,000.00
    EDWARD                                   System of the Government of                                      EDWARD                             System of the Government of
    CALLE SAN BERNARDO                       the Commonwealth of Puerto                                       CALLE SAN BERNARDO                 the Commonwealth of Puerto
    46                                       Rico                                                             46 URB. BRISAS DEL                 Rico
    URB. BRISAS DEL                          17 BK 03566-LTS                                                  PARQUE 1                           17 BK 03566-LTS
    PARQUE 1                                                                                                  CAGUAS, PR 00725
    CAGUAS, PR 00725

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 90 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
469 SANCHEZ CARTAGENA,            05/23/18   Employees Retirement           35323                 $ 38,447.91 SANCHEZ CARTAGENA,     05/24/18   Employees Retirement           18896          $ 38,447.91
    JULIO E.                                 System of the Government of                                      JULIO E.                          System of the Government of
    P O BOX 1119                             the Commonwealth of Puerto                                       P.O. BOX 1119                     the Commonwealth of Puerto
    COAMO, PR 00769                          Rico                                                             COAMO, PR 00769                   Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
470 SANCHEZ COTTO,                06/26/18   Employees Retirement           48002                 $ 47,366.00 SANCHEZ COTTO,         06/26/18   Employees Retirement           97790          $ 47,366.00
    VANESSA                                  System of the Government of                                      VANESSA                           System of the Government of
    9D COOP LA HACIENDA                      the Commonwealth of Puerto                                       9 D COOP LA HACIENDA              the Commonwealth of Puerto
    SANTA JUANITA                            Rico                                                             SANTA JUANITA                     Rico
    BAYAMON, PR 00956                        17 BK 03566-LTS                                                  BAYAMON, PR 00956                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
471 SANCHEZ COTTO,                06/26/18   Employees Retirement           95171                 $ 47,366.00 SANCHEZ COTTO,         06/26/18   Employees Retirement           97790          $ 47,366.00
    VANESSA                                  System of the Government of                                      VANESSA                           System of the Government of
    9 D COOP LA HACIENDA                     the Commonwealth of Puerto                                       9 D COOP LA HACIENDA              the Commonwealth of Puerto
    SANTA JUANITA                            Rico                                                             SANTA JUANITA                     Rico
    BAYAMON, PR 00956                        17 BK 03566-LTS                                                  BAYAMON, PR 00956                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
472 SANCHEZ COTTO,                06/26/18   Employees Retirement           97080                 $ 47,366.00 SANCHEZ COTTO,         06/26/18   Employees Retirement           97790          $ 47,366.00
    VANESSA                                  System of the Government of                                      VANESSA                           System of the Government of
    9 D COOP LA HACIENDA                     the Commonwealth of Puerto                                       9 D COOP LA HACIENDA              the Commonwealth of Puerto
    APTO D                                   Rico                                                             SANTA JUANITA                     Rico
    BAYAMON, PR 00956                        17 BK 03566-LTS                                                  BAYAMON, PR 00956                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
473 SANCHEZ DESARDEN,             06/29/18   Employees Retirement           77315                 $ 75,000.00 SANCHEZ DESARDEN,      06/29/18   Employees Retirement           84359          $ 75,000.00
    NOEMI                                    System of the Government of                                      NOEMI                             System of the Government of
    URB LAGO DE PLAT A                       the Commonwealth of Puerto                                       URB LAGO DE PLAT A                the Commonwealth of Puerto
    N4 CALLE 14                              Rico                                                             N4 CALLE 14                       Rico
    LEVITT OWN, PR 00949-                    17 BK 03566-LTS                                                  LEVITTOWN, PR 00949-              17 BK 03566-LTS
    3233                                                                                                      3233

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 91 of 97
                                       Case:17-03283-LTS Doc#:6278-1 Filed:04/15/19 Entered:04/15/19 21:12:54                                              Desc:
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
474 SANCHEZ DESARDEN,             06/29/18   Employees Retirement           77895                 $ 75,000.00 SANCHEZ DESARDEN,      06/29/18   Employees Retirement           84359          $ 75,000.00
    NOEMI                                    System of the Government of                                      NOEMI                             System of the Government of
    URB LAGO DE PLAT A                       the Commonwealth of Puerto                                       URB LAGO DE PLAT A                the Commonwealth of Puerto
    N4 CALLE 14                              Rico                                                             N4 CALLE 14                       Rico
    LEVITT OWN, PR 00949-                    17 BK 03566-LTS                                                  LEVITTOWN, PR 00949-              17 BK 03566-LTS
    3233                                                                                                      3233

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
475 SANCHEZ GONZALEZ,             06/28/18   Employees Retirement           62778                 $ 27,761.73 SANCHEZ GONZALEZ,      07/12/18   Employees Retirement           161321        $ 27,761.73*
    SULYMAR                                  System of the Government of                                      SULYMAR                           System of the Government of
    CALLE 530 BLOQ. 195-51                   the Commonwealth of Puerto                                       CALLE 530 BLOQ 19551              the Commonwealth of Puerto
    URB. VILLA CAROLINA                      Rico                                                             URB VILLA CAROLINA                Rico
    CAROLINA, PR 00985                       17 BK 03566-LTS                                                  CAROLINA, PR 00985                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
476 SANCHEZ GONZALEZ,             06/29/18   Employees Retirement           76275                 $ 27,761.73 SANCHEZ GONZALEZ,      07/12/18   Employees Retirement           161321        $ 27,761.73*
    SULYMAR                                  System of the Government of                                      SULYMAR                           System of the Government of
    CALLE 530 BLOQ 19551                     the Commonwealth of Puerto                                       CALLE 530 BLOQ 19551              the Commonwealth of Puerto
    URB VILLA CAROLINA                       Rico                                                             URB VILLA CAROLINA                Rico
    CAROLINA, PR 00985                       17 BK 03566-LTS                                                  CAROLINA, PR 00985                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
477 SANCHEZ PAGAN,                06/27/18   Employees Retirement           56329                $ 66,387.74* SANCHEZ PAGAN,         06/28/18   Employees Retirement           52068          $ 66,387.74
    RAQUEL                                   System of the Government of                                      RAQUEL                            System of the Government of
    PO BOX 1197                              the Commonwealth of Puerto                                       P. O. BOX 1197                    the Commonwealth of Puerto
    CIALES, PR 00638                         Rico                                                             CIALES, PR 00638                  Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
478 SANCHEZ RODRIGUEZ,            06/28/18   Employees Retirement           73842                 $ 23,330.71 SANCHEZ RODRIGUEZ,     06/30/18   Employees Retirement           105320         $ 23,330.71
    GUILLERMO E.                             System of the Government of                                      GUILLERMO E.                      System of the Government of
    PO BOX 6523                              the Commonwealth of Puerto                                       PO BOX 6523                       the Commonwealth of Puerto
    MAYAGUEZ, PR 00681                       Rico                                                             MAYAGUEZ, PR 00681-               Rico
                                             17 BK 03566-LTS                                                  6523                              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 92 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
479 SANCHEZ RUIZ, CECILIA         06/07/18   Employees Retirement           61378              Undetermined* SANCHEZ RUIZ, CECILIA   06/28/18   Employees Retirement           156074       Undetermined*
    11 CALLE 1 BO. OLIMPO                    System of the Government of                                     #11 CALLE 1 BO.                    System of the Government of
    GUAYAMA, PR 00784                        the Commonwealth of Puerto                                      OLIMPO                             the Commonwealth of Puerto
                                             Rico                                                            GUAYAMA, PR 00784                  Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
480 SANTANA MATOS,                06/27/18   Employees Retirement           53964                 $ 40,570.71 SANTANA MATOS,         06/27/18   Employees Retirement           53772           $ 40,570.71
    MAYDA GLISETTE                           System of the Government of                                      MAYDA GLISETTE                    System of the Government of
    A8 - CALLE #1                            the Commonwealth of Puerto                                       A-8 CALLE #1                      the Commonwealth of Puerto
    URBANIZACION MONTE                       Rico                                                             URBANIZACION MONTE                Rico
    TRUJILLO                                 17 BK 03566-LTS                                                  TRUJILLO                          17 BK 03566-LTS
    TRUJILLO ALTO, PR                                                                                         TRUJILLO ALTO, PR
    00976                                                                                                     00976

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
481 SANTANA MORALES,              07/05/18   Employees Retirement           132517                $ 60,102.23 SANTANA MORALES,       07/05/18   Employees Retirement           135450          $ 60,102.23
    LUIS J                                   System of the Government of                                      LUIS J                            System of the Government of
    JARDIN CENTRAL                           the Commonwealth of Puerto                                       JARDIN CENTRAL                    the Commonwealth of Puerto
    6 CALLE COLOSO                           Rico                                                             6 CALLE COLOSO                    Rico
    HUMACAO, PR 00791                        17 BK 03566-LTS                                                  HUMACAO, PR 00791                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
482 SANTIAGO AGOSTO,              03/19/18   Employees Retirement            3435              Undetermined* SANTIAGO AGOSTO,        03/19/18   Employees Retirement           3594         Undetermined*
    RUTH                                     System of the Government of                                     RUTH                               System of the Government of
    950 CALLE JUAN BORIA                     the Commonwealth of Puerto                                      950 CALLE JUAN BORIA               the Commonwealth of Puerto
    DORADO, PR 00646                         Rico                                                            DORADO, PR 00646-5046              Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
483 SANTIAGO AROCHO,              03/22/18   Employees Retirement            2114                 $ 14,986.64 SANTIAGO AROCHO,       03/22/18   Employees Retirement           4050            $ 14,986.64
    LUIS M                                   System of the Government of                                      LUIS M                            System of the Government of
    PARC CASTILLO                            the Commonwealth of Puerto                                       PARCELAS CASTILLO                 the Commonwealth of Puerto
    A50 CALLE HIPOLITO                       Rico                                                             A50 CALLE HIPOLITO                Rico
    ARROYO                                   17 BK 03566-LTS                                                  ARROYO                            17 BK 03566-LTS
    MAYAGUEZ, PR 00682-                                                                                       MAYAGUEZ, PR 00682
    1307

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 93 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME           FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
484 SANTIAGO CATALA,              06/22/18   Employees Retirement           70248                 $ 38,535.89 SANTIAGO CATALA,     06/22/18   Employees Retirement           84806           $ 38,535.89
    IDITH                                    System of the Government of                                      IDITH                           System of the Government of
    HC 3 BOX 8935                            the Commonwealth of Puerto                                       HC 3 BOX 8935                   the Commonwealth of Puerto
    GUAYNABO, PR 00971                       Rico                                                             GUAYNABO                        Rico
                                             17 BK 03566-LTS                                                  SAN JUAN, PR 00971              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
485 SANTIAGO DAVILA,              04/06/18   Employees Retirement            4262              Undetermined* SANTIAGO DAVILA,      04/06/18   Employees Retirement           6250         Undetermined*
    CARMEN M                                 System of the Government of                                     CARMEN M                         System of the Government of
    PO BOX 224                               the Commonwealth of Puerto                                      PO BOX 224                       the Commonwealth of Puerto
    LOIZA, PR 00772-1721                     Rico                                                            6 BELEN BLANCO                   Rico
                                             17 BK 03566-LTS                                                 LOIZA, PR 00772                  17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
486 SANTIAGO DAVILA,              04/06/18   Employees Retirement            4264              Undetermined* SANTIAGO DAVILA,      04/06/18   Employees Retirement           6250         Undetermined*
    CARMEN M                                 System of the Government of                                     CARMEN M                         System of the Government of
    6 CALLE BELEN                            the Commonwealth of Puerto                                      PO BOX 224                       the Commonwealth of Puerto
    BLANCO                                   Rico                                                            6 BELEN BLANCO                   Rico
    BOX 224                                  17 BK 03566-LTS                                                 LOIZA, PR 00772                  17 BK 03566-LTS
    LOIZA, PR 00772-1721

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
487 SANTIAGO FIGUEROA,            06/19/18   Employees Retirement           42111                $ 36,570.21* SANTIAGO FIGUEROA,   06/26/18   Employees Retirement           53936          $ 36,570.21*
    JOSE                                     System of the Government of                                      JOSE                            System of the Government of
    COND TORRES DE                           the Commonwealth of Puerto                                       COND. TORRES DE                 the Commonwealth of Puerto
    CERVANTES                                Rico                                                             CERVANTES                       Rico
    240 CALLE 49 APT 1114A                   17 BK 03566-LTS                                                  CALLE 49 #240                   17 BK 03566-LTS
    SAN JUAN, PR 00924                                                                                        APT 1114-A
                                                                                                              SAN JUAN, PR 00924

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
488 SANTIAGO FIGUEROA,            06/26/18   Employees Retirement           53522                $ 36,570.21* SANTIAGO FIGUEROA,   06/26/18   Employees Retirement           53936          $ 36,570.21*
    JOSE                                     System of the Government of                                      JOSE                            System of the Government of
    COND TORRES DE                           the Commonwealth of Puerto                                       COND. TORRES DE                 the Commonwealth of Puerto
    CERVANTES                                Rico                                                             CERVANTES                       Rico
    240 CALLE 49 APT 1114A                   17 BK 03566-LTS                                                  CALLE 49 #240                   17 BK 03566-LTS
    SAN JUAN, PR 00924                                                                                        APT 1114-A
                                                                                                              SAN JUAN, PR 00924

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 94 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
489 SANTIAGO FIGUEROA,            06/26/18   Employees Retirement           93988              Undetermined* SANTIAGO FIGUEROA,      06/28/18   Employees Retirement           129547       Undetermined*
    SONIA                                    System of the Government of                                     SONIA                              System of the Government of
    PO BOX 7815                              the Commonwealth of Puerto                                      HC. 64                             the Commonwealth of Puerto
    PATILLAS, PR 00723                       Rico                                                            PO BOX 7815                        Rico
                                             17 BK 03566-LTS                                                 PATILLAS, PR 00723                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
490 SANTIAGO GARCIA,              05/25/18   Employees Retirement           22312                $ 61,066.37* SANTIAGO GARCIA,       06/13/18   Employees Retirement           61492           $ 61,066.37
    ANGEL                                    System of the Government of                                      ANGEL                             System of the Government of
    EDIF.13 APT. 121                         the Commonwealth of Puerto                                       EDIF. 13 APT. 121                 the Commonwealth of Puerto
    RES. MANUAL A. PEREZ                     Rico                                                             RES. MANUEL A. PEREZ              Rico
    SAN JUAN, PR 00923                       17 BK 03566-LTS                                                  SAN JUAN, PR 00923                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
491 SANTIAGO GONZALEZ,            05/17/18   Employees Retirement           13552                $ 71,463.01* SANTIAGO GONZALEZ,     05/17/18   Employees Retirement           13932           $ 71,463.01
    RAMON A                                  System of the Government of                                      RAMON A                           System of the Government of
    20 CALLE 13                              the Commonwealth of Puerto                                       20 CALLE 13                       the Commonwealth of Puerto
    BDA POLVORIN                             Rico                                                             BDA. POLVORIN                     Rico
    CAYEY, PR 00736                          17 BK 03566-LTS                                                  CAYEY, PR 00736                   17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
492 SANTIAGO GREEN,               06/28/18   Employees Retirement           71226              Undetermined* SANTIAGO GREEN,         07/06/18   Employees Retirement           126631       Undetermined*
    CARMEN H                                 System of the Government of                                     CARMEN H                           System of the Government of
    URB JDNES DE COAMO                       the Commonwealth of Puerto                                      URB JDNES DE COAMO                 the Commonwealth of Puerto
    F 4 CALLE 6                              Rico                                                            F 4 CALLE 6                        Rico
    COAMO, PR 00769                          17 BK 03566-LTS                                                 COAMO, PR 00769                    17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
493 SANTIAGO GUZMAN,              05/30/18   Employees Retirement           28996                $ 48,853.44* SANTIAGO GUZMAN,       05/29/18   Employees Retirement           42073          $ 48,853.44*
    AIDA                                     System of the Government of                                      AIDA                              System of the Government of
    F-8 CALLE 4                              the Commonwealth of Puerto                                       F-8 CALLE 4                       the Commonwealth of Puerto
    VILLALBA, PR 00766                       Rico                                                             VILLALBA, PR 00766                Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 95 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
494 SANTIAGO MARTINEZ,            05/29/18   Employees Retirement           37779              Undetermined* SANTIAGO MARTINEZ,      05/29/18   Employees Retirement           41077        Undetermined*
    BELKIS                                   System of the Government of                                     BELKIS                             System of the Government of
    ESTANCIAS DE LA                          the Commonwealth of Puerto                                      ESTANCIAS DE LA                    the Commonwealth of Puerto
    FUENTE                                   Rico                                                            FUENTE                             Rico
    3 CALLE DUCADO                           17 BK 03566-LTS                                                 3 CALLE DUCADO                     17 BK 03566-LTS
    TOA ALTA, PR 00953-                                                                                      TOA ALTA, PR 00953-
    3602                                                                                                     3602

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
495 SANTIAGO MATTEI,              06/29/18   Employees Retirement           135849             Undetermined* SANTIAGO MATTEI,        06/29/18   Employees Retirement           164229       Undetermined*
    JUAN                                     System of the Government of                                     JUAN                               System of the Government of
    CALLE FATIMA 171 URB                     the Commonwealth of Puerto                                      CALLE FATIMA 171                   the Commonwealth of Puerto
    LAS MOJITAS                              Rico                                                            URB. LAS MONJITAS                  Rico
    PONCE, PR 00730                          17 BK 03566-LTS                                                 PONCE, PR 00730                    17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
496 SANTIAGO MELENDEZ,            06/29/18   Employees Retirement           79780                 $ 27,485.75 SANTIAGO MELENDEZ,     06/29/18   Employees Retirement           111930          $ 27,485.75
    JUAN ALBERTO                             System of the Government of                                      JUAN ALBERTO                      System of the Government of
    HC 1 BOX 3289                            the Commonwealth of Puerto                                       HC1 BOX 3289                      the Commonwealth of Puerto
    ARROYO, PR 00714                         Rico                                                             ARROYO, PR 00714                  Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
497 SANTIAGO MERCADO,             06/23/18   Employees Retirement           39536                $ 39,945.42* SANTIAGO MERCADO,      06/25/18   Employees Retirement           114131         $ 39,945.42*
    MARIBEL                                  System of the Government of                                      MARIBEL                           System of the Government of
    PO BOX 127                               the Commonwealth of Puerto                                       PO BOX 127                        the Commonwealth of Puerto
    JUANA DIAZ, PR 00795                     Rico                                                             JUANA DIAZ, PR 00795              Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
498 SANTIAGO MERCADO,             06/25/18   Employees Retirement           70710                $ 39,945.42* SANTIAGO MERCADO,      06/25/18   Employees Retirement           114131         $ 39,945.42*
    MARIBEL                                  System of the Government of                                      MARIBEL                           System of the Government of
    PO BOX 127                               the Commonwealth of Puerto                                       PO BOX 127                        the Commonwealth of Puerto
    JUANA DIAZ, PR 00795                     Rico                                                             JUANA DIAZ, PR 00795              Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 96 of 97
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                                                                             Twenty-Ninth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                               REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                    DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT               NAME           FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
499 SANTIAGO MIRANDA,             06/29/18   Employees Retirement           125952             Undetermined* SANTIAGO MIRANDA,    06/29/18   Employees Retirement           129592       Undetermined*
    DEBORAH                                  System of the Government of                                     DEBORAH                         System of the Government of
    URB LOMAS VERDES                         the Commonwealth of Puerto                                      LOMAS VERDES                    the Commonwealth of Puerto
    3 C 27 CALLE LIRIO                       Rico                                                            3 C 27 CALLE LIRIO              Rico
    BAYAMON, PR 00956                        17 BK 03566-LTS                                                 BAYAMON, PR 00956               17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
500 SANTIAGO MOULIER,             06/29/18   Employees Retirement           84139                 $ 54,864.00 SANTIAGO MOULIER,   07/03/18   Employees Retirement           117917          $ 54,864.00
    MAYRA                                    System of the Government of                                      MAYRA                          System of the Government of
    12480 SW 151ST APT 143                   the Commonwealth of Puerto                                       12480 SW 151 ST                the Commonwealth of Puerto
    MIAMI, FL 33186                          Rico                                                             APT 143                        Rico
                                             17 BK 03566-LTS                                                  MIAMI, FL 33186                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                      Page 97 of 97
